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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

In re MULTIPLAN HEALTH INSURANCE
PROVIDER LITIGATION                       Case No. 1:24-cv-06795

                                          MDL No. 3121
This Document Relates To:
ALL DIRECT ACTION PLAINTIFF               Hon. Matthew F. Kennelly
ACTIONS




     CONSOLIDATED MASTER DIRECT ACTION PLAINTIFF COMPLAINT
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I.        Introduction and Nature of the Action

          1.       For years, the companies that set the prices for out-of-network healthcare goods

and services in the United States have been running a cartel. The goal of that buyers’ cartel is to

pay doctors and hospitals as little as possible for their life-saving and life-sustaining out-of-

network care—and to generate huge fees for the cartel members.

          2.       The cartel members do this by agreeing to stop competing against each other on

pricing for out-of-network goods and services, stop using their independent judgment on how

much to pay for such goods and services, and instead pool their non-public pricing data and their

pricing decisions in one entity—MultiPlan, Inc. (“MultiPlan”). MultiPlan uses the cartel’s

commingled competitively sensitive pricing data, a common pricing methodology, a coordinated

regime of pricing caps, and regular meetings and communications so that the cartel members can

do in concert what none of them could do by competing independently—force ever-decreasing,

below-market pricing on providers for out-of-network goods and services. All providers of out-of-

network goods and services are harmed by the actions of this buyers’ cartel. As a result of the

cartel, they were paid less than they would have been paid for the same out-of-network goods and

services absent the cartel.

          3.       That should sound familiar. The cartel members, commercial third-party healthcare

payors for out-of-network goods and services (“payors”), are antitrust recidivists.1 Payors have

colluded previously with one another to underpay doctors and hospitals for out-of-network goods

and services in the past, and enforcers have caught them red-handed doing so. Rather than learning

from their wrongdoing, the payors repeated it by colluding with another payor, MultiPlan, to slash

the prices they pay for out-of-network goods and services.



1
    The term “payor” is further defined in ¶ 88.
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       4.      From about 1996 to 2008, the country’s major payors conspired to fix the prices of

out-of-network goods and services through the use of a common pricing methodology, called

Ingenix, owned and operated by one of their own: UnitedHealthcare.

       5.      In 2008, the payors got caught. After major investigations, the payors entered into

settlements with the New York Attorney General and private plaintiffs. As part of those

settlements, the payors had to abandon the Ingenix conspiracy and use an independent database,

known as FAIR Health, and their own business judgment to set prices for out-of-network goods

and services for a period of five years.

       6.      But the payors’ motivations to fix and suppress prices for out-of-network services

did not evaporate merely because they got caught. As the settlement of their Ingenix scheme was

sunsetting, the payors sought out a new means to fix the prices of out-of-network services.

       7.      Enter MultiPlan. MultiPlan is a payor for out-of-network goods and services.

MultiPlan told other payors that it had come up with a better way to conspire—an “alternative” to

Ingenix—in which MultiPlan offered to serve as a “liability shield.” Thus, as each payor’s

settlement concerning the Ingenix conspiracy expired, that payor joined a cartel with its

competitors to set the prices for out-of-network services via MultiPlan. MultiPlan formed that

cartel using a series of written contracts, plus regular meetings and communications designed to

ensure all the payors were using a common pricing method—MultiPlan’s—to set prices for out-

of-network goods and services and to coordinate a series of downward-trending pricing caps

among the cartel members (the “MultiPlan Cartel”).

       8.      The operation of the MultiPlan Cartel is straightforward. MultiPlan and competing

payors have agreed to stop competing on the prices that they pay to providers for providers’ out-

of-network goods and services. Instead of exercising their independent pricing discretion, as they




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did prior to the cartel, MultiPlan and its competitors agreed to use MultiPlan’s common pricing

methodology to set the prices they pay for out-of-network goods and services. This common

pricing methodology has three key parts: (1) payors send providers’ bills for out-of-network

healthcare to MultiPlan, (2) MultiPlan applies an agreed-upon pricing formula to those bills to set

prices for those out-of-network goods and services, and (3) MultiPlan applies maximum price caps

to the prices generated by its formulas. Because payors agreed to use a common pricing

methodology, competitive forces no longer prevented the members of the MultiPlan Cartel from

setting out-of-network prices well below the prices that would have existed for those goods and

services absent the cartel.

        9.      The cartel did not stop there. The cartel members also agreed to share petabytes of

granular, real-time, and competitively sensitive healthcare claims data with MultiPlan. MultiPlan

commingled that data into a massive dataset that it used to price out-of-network goods and services.

        10.     MultiPlan and the other payors agree on the maximum amount they will pay for

certain out-of-network goods and services. MultiPlan implements these out-of-network price caps

(called “overrides”) to ensure all cartel members are aligned on the prices they set for out-of-

network goods and services. These overrides are just price-fixing. MultiPlan and a competing

payor agree on the price that a payor will charge for a particular out-of-network good or service

often with the understanding that the override price will be the price charged for that good or

service nearly all of the time. MultiPlan uses the same overrides when setting out-of-network

prices for its health plans.

        11.     The MultiPlan Cartel has put healthcare providers in a chokehold. MultiPlan

imposes the cartel’s prices on healthcare providers, giving providers only hours to respond to

MultiPlan’s offers. “Offer” is a misnomer. While a provider is not technically required to accept




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the prices that MultiPlan sets for out-of-network goods and services, providers have no choice but

to do so.

        12.    That is the case because the cartel members agree that MultiPlan will police the

payors’ cartel agreement by acting as the sole enforcer of out-of-network prices if a provider

pushes back on the cartel’s low-ball prices. MultiPlan likes to refer to these tactics as a

“negotiation.” They are anything but a negotiation. Because it has the pool of commingled

confidential pricing data from all the cartel members and because MultiPlan is handling the pricing

for all members, none of the normal pressures or dynamics of a negotiation in a market without

collusion exist. Using its massive and commingled pricing database, MultiPlan forces providers to

accept the cartel’s low-ball pricing. MultiPlan can do this because the cartel holds a predominant

market share in the market for out-of-network goods and services sold to payors (“Out-of-Network

Goods and Services Market”). See infra ¶¶ 514-573. Thus, when a provider attempts to push back

against one of the cartel’s underpayments, the provider is not just negotiating with a single payor,

they are negotiating against the entire industry. MultiPlan wields the cartel’s collective market

power to force providers to knuckle under and accept the cartel’s rigged pricing. MultiPlan

bombards providers with thousands of pricing communications. It uses high-pressure tactics and

deception to force providers to respond to pricing communications in a matter of hours and it

deceives providers into accepting below-market prices for their out-of-network care by attempting

to hide the fact that prices were set by the cartel. If that does not work, MultiPlan threatens to push

the price even lower if the provider does not capitulate and accept the cartel’s prices. In other

words, MultiPlan tells providers that it is the only game in town, that it is making an offer that they

cannot refuse, and that if the providers do not play ball with the cartel, business will get worse for

them.




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       13.     MultiPlan knows it can get away with acting, in the words of an analyst, “like a

mafia enforcer for insurers,” because virtually every payor has agreed to use its pricing

methodology for out-of-network goods and services. MultiPlan can use these strong-arm tactics

because, by virtue of the cartel, it knows the payor will not be competitively disadvantaged by

pushing the pricing lower and the provider cannot effectively push back with other competitive

pricing from other payors. As a result, healthcare providers cannot push back as they would in a

market without collusion by telling the payor its pricing is far below what other payors pay.

Providers are left with no practical option but to accept the pricing that the MultiPlan Cartel

imposes. And that collusive pricing is recursive: every time MultiPlan forces a provider to accept

the cartel’s below-market pricing, that data goes into the pool of information MultiPlan draws on

to price out-of-network services for other cartel members, ensuring that every price set for a cartel

member is based on cartel pricing that allows the cartel to push pricing lower and lower.

       14.     In addition to acting as the cartel’s enforcer, MultiPlan facilitates the cartel by

holding frequent private and off-record meetings with the other cartel members where MultiPlan

presents non-public and competitively sensitive pricing data to reach agreements among the payors

about ways that the cartel can pay even less for out-of-network goods and services. MultiPlan held,

and continues to hold, events designed to facilitate industry-wide agreement to use MultiPlan’s

pricing methodology, including “client advisory board” meetings at luxury resorts and “road

shows,” where MultiPlan executives meet with the executives of competing payors to discuss how

well the MultiPlan Cartel is suppressing out-of-network pricing competition.

       15.     MultiPlan and the payor split the spoils generated by the cartel. MultiPlan charges

the payor a bounty for each underpayment the cartel generates. The payors charge the employer

groups that subscribe to their health plans a percentage fee—in effect a tax—on all out-of-network




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bills that are routed through the buyers’ cartel.

       16.     MultiPlan also serves as the go-between to communicate with individual cartel

members—often in one-to-one meetings among executives—on downward pricing moves and

maximum pricing caps to keep cartel members in alignment as they collectively suppress pricing

for out-of-network goods and services to lower and lower levels. The purpose of these meetings is

to provide assurances that cartel members could use a common pricing methodology and pursue a

common pricing goal without fear that doing so would put them at a competitive disadvantage if

other cartel members abandoned the common pricing scheme and used independent discretion to

set prices for out-of-network goods and services at a higher level.

       17.     MultiPlan further solidifies the cartel by issuing secret “whitepapers” to its

competitors explaining how MultiPlan’s pricing methodology suppresses out-of-network pricing

competition.

       18.     MultiPlan also perpetuates and strengthens the cartel by recruiting more payors to

join the cartel. MultiPlan directly communicates with competing payors to solicit those payors to

join the conspiracy. In these communications, MultiPlan tells its competitors the prices that other

payors are paying for out-of-network goods and services relative to Medicare prices for those

services (in the industry, these percentages of Medicare prices are known as a percentage “of

CMS”). MultiPlan tells its competitors how much money they could make by setting those lower

prices. MultiPlan assures its competitors that if they set these lower prices, they will be in

alignment with the prices that other payors are setting for the same out-of-network goods and

services. Thus, MultiPlan gives each of its competitors the blueprint for conspiring—(a) the prices

they need to set, (b) the financial motivation for setting those lower prices, and (c) the assurance

that competitors would be setting the same prices, not undermining the cartel.




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       19.     MultiPlan’s efforts to enlist its competitors in this scheme have been spectacularly

successful. In a tight three-and-a-half year window when the Ingenix settlement obligations that

several major payors had to set out-of-network prices in a fair and transparent manner expired,

they signed written contracts to begin using MultiPlan’s pricing methodology to set prices for out-

of-network goods and services. By 2018, MultiPlan had reached agreements with nearly every

other significant payor in the U.S. to use MultiPlan’s pricing methodology to collectively suppress

pricing competition and underpay providers for out-of-network goods and services.

       20.     The ease of recruitment makes sense. The cartel has a massive financial motive to

suppress pricing competition with respect to out-of-network goods and services. By underpaying

doctors and hospitals, cartel members not only save money on costs but also takes home billions

of dollars in profits annually through fees that they charge to health plan subscribers each time

they underpay a doctor or hospital. Under this structure, MultiPlan and the payors charge massive

fees to health plan subscribers based on a percentage of the underpayments generated by the cartel.

As a result of this structure, MultiPlan and other cartel members make billions of dollars in profits

while harming everyone else in the U.S. healthcare system. The cartel underpays doctors and

hospitals. Subscribers are forced to pay massive fees. Patients find themselves in the middle—

dealing with healthcare providers who are cutting back services due to shrinking margins and

health plans that are constantly getting more expensive as payors pass through the massive fees

associated with the MultiPlan Cartel.

       21.     The MultiPlan Cartel is so successful because the cartel members have been

successful at covering their tracks, at least until now. MultiPlan executives and their co-

conspirators know that what they are doing is illegal, or at the very least legally dubious. They

take steps to hide their meetings, including limiting the number of participants at meetings, not




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taking notes of what is discussed in meetings, and switching from email discussions to telephone

discussions and text messages that occur outside of corporate email servers.

          22.     The agreements that MultiPlan and its competitors have reached are horizontal

agreements that restrained pricing competition for out-of-network goods and services. Each of the

cartel members, including MultiPlan itself, are payors for out-of-network goods and services. They

compete with one another through setting prices for out-of-network goods and services.

          23.     MultiPlan’s executives have stated on multiple occasions that MultiPlan competes

against other companies that set prices for out-of-network goods and services. Although MultiPlan

refers to those competitors as “clients,” that is a distinction that makes no difference. As

MultiPlan’s then-CEO Dale White2 put it at a November 2023 investor conference: “Our clients

are our competitors; our competitors are our clients.” One of the most significant ways that

MultiPlan competed against other payors prior to the cartel was in using its independent business

judgment to set prices for out-of-network healthcare.

          24.     While direct evidence of an agreement to restrain trade is extremely rare in antitrust

cases even after extensive discovery, it is present here in spades. MultiPlan and the other payors

have admitted that: (1) MultiPlan and the other payors that price out-of-network goods and services

are competitors, (2) the agreements between MultiPlan and other payors exist, and (3) these

agreements have bilked healthcare providers out of billions of dollars of payments for out-of-

network goods and services.

          25.     MultiPlan and its competitors admit that they have entered into agreements with

one another to stop using their independent discretion to price out-of-network goods and services.

They have filed copies of those agreements with state insurance commissioners. They have


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    White is currently the Executive Chairman of MultiPlan’s board of directors.



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admitted that they enter into these agreements in filings with the Securities and Exchange

Commission (“SEC”). They have admitted that these agreements exist in testimony offered under

penalty of perjury in other litigation. They have admitted that these agreements exist in disclosures

to health plan subscribers, explanations of benefits sent to patients, and communications sent to

healthcare providers.

        26.     As recently as September 16, 2024, MultiPlan has been transparent about its goal

to fix industry-wide pricing. During an interview on the DataFramed podcast, MultiPlan CEO

Travis Dalton stated, “So part of what we’re trying to do collectively, . . . with machine learning

and other capabilities . . . is to determine [] an appropriate cost for [out-of-network goods and

services.].” (emphasis added). The problem for Dalton is that what he describes is illegal—

competing payors cannot collectively decide what the appropriate cost paid for a good or service

is. That’s a buyers’ cartel.

        27.     The MultiPlan Cartel has decimated competition and harmed healthcare providers,

patients, and health plan subscribers. The agreements between MultiPlan and its competitors to

stop competing on out-of-network pricing harm competition and each of the Direct Action

Plaintiffs (“DAPs”). Prior to the cartel, payors could, and did, pay providers competitive rates for

their out-of-network goods and services. When there was a disagreement over the proper value of

out-of-network goods and services, providers could negotiate the price for those goods and

services in a market where payors independently set prices for out-of-network goods and services

based on the competitive conditions in the market—including each payor’s need to compete with

the other payors with respect to access to out-of-network goods and services for patients.

        28.     The cartel’s efforts to end pricing competition among payors were so pervasive that

by 2020 MultiPlan was setting the prices for over 370,000 out-of-network claims per day on behalf




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of payors that represented over 80% of all payments for out-of-network goods and services,

resulting in a total underpayment of approximately $19 billion in 2020 alone. The cartel’s

anticompetitive effects have only metastasized since 2020. In a November 5, 2024, investor

conference, MultiPlan’s current CEO, Travis Dalton, reported that the company had a “record

quarterly achievement” by generating up to $6.4 billion in underpayments in the third quarter of

2024 alone.

       29.     Since the DAPs filed the first complaint in this litigation, major news outlets have

raised the alarm about the MultiPlan Cartel. An exhaustive investigation by The New York Times

that included interviewing 100 witnesses and evaluating tens of thousands of pages of confidential

internal records recently concluded that MultiPlan runs a “lucrative, little-known alliance” of

healthcare payors that underpays healthcare providers and undermines the value of commercial

insurance. On May 1, 2024, The New York Times published an article specifically focused on

MultiPlan’s price-fixing. Entitled “Collusion in Health Care Pricing? Regulators Are Asked to

Investigate,” the article noted that “[a] data analytics firm [MultiPlan] has helped big health

insurers cut payments to doctors, raising concerns about possible price fixing.” The article quotes

Barak Orbach, a law professor at the University of Arizona, as saying “[t]his should trigger an

investigation by the agencies. There seems to be a really strong case.”

       30.     The MultiPlan Cartel has sparked calls for a federal investigation as well. On April

29, 2024, U.S. Senator Amy Klobuchar sent a letter to Assistant Attorney General Jonathan Kanter

and Federal Trade Commission (“FTC”) Chair Lina Khan asking them to investigate whether

MultiPlan facilitates collusion between payors. She expressed concern that MultiPlan’s

“algorithmic tools are processing data gathered across numerous competitors to subvert

competition among insurance companies.”




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       31.     On April 9, 2024, the American Hospital Association called for a federal

government investigation into MultiPlan’s conduct.

       32.     On May 9, 2024, the Department of Justice (“DOJ”) announced the formation of

the Task Force on Health Care Monopolies and Collusion. One of the Task Force’s stated goals is

investigating “dominant intermediaries” that “gobble[] up” healthcare spending in the U.S. It will

explicitly consider “competition concerns shared by . . . health care professionals,” including issues

related to “medical billing.” The Task Force was formed just over a week after Senator Klobuchar

called on the DOJ and FTC to open an investigation into MultiPlan.

       33.     On May 22, 2024, Senators Ron Wyden, Chairman of the Senate Finance

Committee, and Bernie Sanders, Chairman of the Senate Health, Education, Labor, and Pensions

(“HELP”) Committee, sent a letter to MultiPlan’s CEO Travis Dalton. In it, the Senators warned

that their committees “are engaged in ongoing legislative work to put a stop to practices by plan

service providers that drive up health care costs for consumers while padding their own profits.”

The Senators went on to say: “In the early 2000s, it appears your company negotiated with health

care providers to reach these rates, but now through the Data iSight product, appears to use an

opaque process to set recommended payments for out-of-network services. Because your company

is paid more when it reaches lower payment amounts, the payments to health care providers are

often far lower than the billed amount, with some describing these amounts as ‘crazy low.’ When

the plan is only willing to pay this low amount, patients are on the hook for the remaining bill,

which in extreme cases can total hundreds of thousands of dollars.”

       34.     MultiPlan’s out-of-network pricing scheme is the subject of multiple investigations

by the U.S. Department of Labor and U.S. Congress. MultiPlan’s senior executives, counsel, and

lobbyists have met with investigators multiple times and produced documents in connection with




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these investigations.

        35.     Recognizing that the MultiPlan Cartel is illegal, multiple payors are either exiting

the cartel or considering doing so. In October 2024, after Cigna was sued for its part in the

MultiPlan Cartel, Cigna ceased using MultiPlan’s common pricing methodology for out-of-

network goods and services.

        36.     It is little wonder why MultiPlan’s conduct is the subject of multiple federal

investigations and its co-conspirators are looking for the exit. The MultiPlan Cartel is blatantly

illegal. It is per se illegal for competitors to fix the prices that they will pay for goods and services

by agreeing to use a common pricing methodology. It is per se illegal to fix the maximum price

that competitors will pay for a particular good or service. It is per se illegal for competitors to fix

the starting point for supposed pricing negotiations. And even if MultiPlan’s pricing enforcement

activities can be thought of as a “negotiation,” it is per se illegal for competitors to agree that one

company will handle pricing negotiations on their behalf. Each of those agreements is

independently illegal and the agreements in totality are also illegal.

        37.     And, even if this conduct were somehow not illegal per se, it is certainly illegal

under the rule of reason. The cartel dominates the Out-of-Network Goods and Services Market. It

harms competition and injures providers by systematically underpaying them for out-of-network

care in comparison to the prices that would have been paid absent the cartel. There are no

redeeming procompetitive virtues to underpaying doctors and hospitals for life-saving out-of-

network care. Even if there were somehow a procompetitive benefit to underpaying America’s

front-line healthcare workers (there is not), that benefit could easily have been achieved by less

restrictive means, such as using existing unilateral pricing methods to set out-of-network prices.

        38.     DAPs have suffered damages due to the MultiPlan Cartel in an amount totaling




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billions of dollars. The DAPs suffered damages each time that they were underpaid for out-of-

network goods or services relative to what they would have been paid for those same goods and

services in a market without the cartel because of the MultiPlan Cartel. MultiPlan and each of the

members of its buyers’ cartel are jointly and severally liable for all of the damages caused by those

agreements to underpay healthcare providers for their out-of-network goods and services.

         39.    As set forth below, DAPs challenge the MultiPlan Cartel under five alternative

theories of liability pursuant to Section 1 of the Sherman Act.3

         40.    Horizontal agreements in restraint of trade. First, because MultiPlan is a

horizontal competitor with the other payors of out-of-network goods and services that participate

in the MultiPlan Cartel, MultiPlan’s agreements with other payors to use a common pricing

methodology to set prices, fix maximum prices, and use a single pricing enforcer for out-of-

network goods and services are horizontal restraints of trade and a per se violation of Section 1 of

the Sherman Act. Even if MultiPlan is not a payor, it has still facilitated a horizontal cartel

agreement among rival payors to underpay providers for out-of-network goods and services.

         41.    Hub-and-spoke agreement in restraint of trade. Second, even if MultiPlan did not

compete against the other payors participating in the cartel, the agreements among MultiPlan and

the other cartel members would still be a per se violation of Section 1 of the Sherman Act because

MultiPlan serves as the “hub” of a hub-and-spoke cartel. The “spokes” of that cartel are the

agreements that MultiPlan has entered into with payors to use MultiPlan’s pricing methodology,

pool their pricing data and decisions through MultiPlan, and use MultiPlan to price out-of-network

goods and services. The “rim” of the conspiracy is an agreement between the payors to use


3
  DAPs assert parallel theories of liability under applicable state antitrust laws for recovery of damages
solely in the alternative only if and to the extent those DAPs are deemed not to be directly injured parties
for purposes of seeking damages under the Clayton Act.



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MultiPlan’s pricing methodology and data rather than compete against each other and make

independent decisions regarding pricing for of out-of-network claims. Each payor agrees to use

MultiPlan for its out-of-network pricing knowing its competitors are doing the same and with the

intent that they will all work collectively through MultiPlan to lower prices for out-of-network

goods and services for all of the cartel members.

       42.     Agency liability. Third, even if MultiPlan were not a competitor of the other payors

participating in the MultiPlan Cartel, its agreements with its co-conspirators would still violate

Section 1 of the Sherman Act because MultiPlan acted as an agent, facilitator, and conduit of the

other members of the MultiPlan Cartel and materially aided their anticompetitive goals. The

members of the MultiPlan Cartel delegated virtually every aspect of the out-of-network pricing

process to MultiPlan, including the authority to set prices, communicate them to providers, and

dispose of any attempt by a provider to push back on those prices. In addition, MultiPlan served

as a crucial messenger and conduit between the other members of the MultiPlan Cartel, helping

them share confidential information with each other that made it easier for them to artificially

suppress out-of-network pricing competition through coordinated action.

       43.     Vertical agreements in restraint of trade. Fourth, even if MultiPlan was not the

hub of a hub-and-spoke conspiracy or an agent of its co-conspirators, its pricing agreements with

payors would still be an unreasonable restraint of trade under Section 1 of the Sherman Act because

those agreements have had, and continue to have, anticompetitive effects throughout the Out-of-

Network Goods and Services Market, as well as with respect to out-of-network goods and services

sold to particular payors. Those vertical agreements have no redeeming procompetitive benefits.

They do not generate any savings for patients or subscribers. They only serve to harm providers,

patients, and subscribers by increasing the cost of care, reducing access to care, and, in some cases,




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reducing the quality of care. The cost of health insurance keeps going up, while the payors, their

investors, and their executives line their pockets with money that should have been paid to doctors

and nurses providing life-saving care. As a result, each of those agreements violates Section 1 of

the Sherman Act as a vertical agreement in restraint of out-of-network pricing competition.

       44.     Agreements to engage in anticompetitive information exchange. Fifth, even if

MultiPlan and the other payors did not come to an agreement to fix, decrease, peg, or stabilize

prices for out-of-network goods and services, MultiPlan and the other payors agreed to exchange

extensive, current, granular, confidential, and competitively sensitive information with one another

with the purpose of decreasing the prices they each set for out-of-network goods and services. That

agreement to exchange information had no procompetitive effects. It only served to suppress

pricing competition for out-of-network goods and services. Even if that agreement had some

procompetitive effects (it did not), those effects could have been achieved by less restrictive means,

such as using publicly-available data to make independent pricing decisions.

       45.     With respect to the DAPs’ antitrust claims under Section 1 of the Sherman Act,

regardless of how you conceptualize this case, the result is the same. MultiPlan and other payors

entered into agreements. Those agreements unreasonably restrained trade by ending pricing

competition for out-of-network goods and services. As a result of those agreements, MultiPlan and

the other payors cheated doctors and hospitals out of billions of dollars each year.

       46.     Non-Sherman Act claims. Finally, the DAPs seek to hold each Defendant liable

under applicable state unfair business practices laws and for unjust enrichment based on their

collusive, deceptive, and strongarm scheme to drive pricing for out-of-network goods and services

to levels far below the prices that would have prevailed absent the cartel. Even if it were not in

violation of the antitrust laws, Defendants’ scheme is immoral, unethical, oppressive, and




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unscrupulous, and the severe harm it inflicts on the DAPs is not outweighed by any supposed

benefits. The severe, sub-market rates Defendants force on the DAPs put the availability of a robust

choice of healthcare providers at risk for millions of patients, as some DAPs will no longer be able

to provide services on an out-of-network basis given the financial constraints—and some,

especially in already underserved rural areas, may go out of business altogether.

II.    Purpose and Nature of this Master Complaint

       47.     The DAPs file this Consolidated Master Complaint (“Master Complaint”) as an

administrative device to set forth the potential claims and facts that individual DAPs may assert in

this multidistrict proceeding against Defendants.

       48.     The Master Complaint does not necessarily include all claims or allegations that

have been or will be asserted in each DAP action filed. Individual DAPs may adopt the allegations

and claims in this Master Complaint through a separate Short Form Complaint. Individual

plaintiffs may supplement or add allegations, claims, or defendants to their respective Short Form

Complaints. A copy of a draft Short Form Complaint is attached as Exhibit A.

III.   The Parties

       A.      Plaintiffs

       49.     This Master Complaint is filed on behalf of DAPs that file a Short Form Complaint,

each of which is a provider of out-of-network goods and services for which they have been

underpaid (and, thereby, suffered injury, including antitrust injury) as a direct and proximate result

of the unlawful conduct of the Defendants and their co-conspirators or as an association whose

members include such providers. By operation of an anticipated Court order, all allegations pled

in this Master Complaint are deemed pled in any Short Form Complaint as to the Defendants and

claims identified therein.




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         B.      Defendants and Co-Conspirators4

         50.     MultiPlan. MultiPlan, Inc. is a New York corporation. Its principal place of

business is located at 115 Fifth Avenue, 7th Floor, New York, NY 10003. MultiPlan, Inc. is wholly

owned by MultiPlan Holding Corporation. The ultimate parent company of MultiPlan Holding

Corporation is MultiPlan Corporation. MultiPlan Corporation is a publicly traded entity.

         51.     In 2010, MultiPlan acquired Viant, Inc. (“Viant”), a healthcare cost management

company incorporated in Delaware and headquartered in Illinois.

         52.     In 2011, MultiPlan acquired National Care Network, LP and its affiliate National

Care Network, LLC, healthcare cost management companies incorporated in Delaware and

headquartered in Texas.

         53.     In October 2020, Churchill Capital Corp. III and its related entities acquired

MultiPlan, Inc. and its related entities. Churchill Capital Corp. III is a special-purpose acquisition

company created to raise funds to take a private company public. It is incorporated in Delaware

and headquartered in New York. After completing the acquisition of MultiPlan, Inc. and its related

companies, Churchill Capital Corp. III changed its name to MultiPlan Corporation. Unless

otherwise specified, this Complaint refers to MultiPlan, Inc., MultiPlan Holding Corporation,

MultiPlan Corporation, MultiPlan, Inc., Churchill Capital III, Viant, Inc., Viant Payment Systems,

Inc., National Care Network, LP, and National Care Network, LLC collectively as “MultiPlan.”



4
  In their short-form complaints, each DAP will specify which entities it is naming as Defendants and the
causes of action that it is asserting against those defendants. Each DAP will also list the names and corporate
identities of the DAPs that bring their claims against Defendants in their Short Form Complaints. Each
defendant and co-conspirator named in this complaint acted directly or through each of that entity’s
executives, employees, directors, and majority-owned subsidiaries. For example, UnitedHealth Group Inc.
acted directly or through, among others, the following majority-owned subsidiaries: United Healthcare
Insurance Company, and its affiliates; United Healthcare Services Inc.; United Healthcare Service LLC;
Oxford Benefit Management, Inc.; UMR, Inc.; Sierra Health and Life Insurance Company, Inc.; Sierra
Health-Care Options, Inc.; Health Plan of Nevada, Inc.; and United Healthcare of Florida, Inc.



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       54.     According to MultiPlan’s website, MultiPlan has an office located in Naperville,

Illinois with over 300 employees. MultiPlan’s Naperville, Illinois office is its largest office by

employee count. In filings with Secretaries of State, MultiPlan lists its mailing address as 535 E.

Diehle Road, Naperville, Illinois 60563. MultiPlan operates as a single integrated business with a

single board and executive team, a single set of financial statements, and a single corporate entity

overseeing its Preferred Provider Organization (“PPO”) networks and its claims-suppression

business.

       55.     Aetna. Aetna, Inc. (“Aetna”) is a subsidiary of CVS Health Corporation. It is a

Pennsylvania corporation that is headquartered in Hartford, Connecticut. Aetna is one of the largest

payors in the U.S. It has a commercial insurance network that pays in-network and out-of-network

claims from healthcare providers in all 50 states and the District of Columbia. Aetna is the parent

company, or otherwise affiliated or related company, to various commercial health insurance plans

and prescription drug plans that operate in the U.S. Those plans issue insurance or provide

administrative services concerning healthcare claims in the form of: (1) fully insured commercial

health insurance plans, (2) self-funded administrative service only health plans, (3) hybrid-funded

health plans, (4) Medicare Advantage plans, and/or (5) Medicaid plans.

       56.     Blue Shield of California. Blue Shield of California Life & Health Insurance

Company (“BSCA”) is a California corporation with its principal place of business in Oakland,

California. BSCA is a licensee of the Blue Cross Blue Shield Association, a joint venture of

insurance companies that work together to offer their members access to a nationwide network of

healthcare providers. BSCA licensed to market health insurance plans using Blue Cross Blue

Shield trademarks in California. BSCA issues insurance or provides administrative services

concerning healthcare claims in the form of: (1) fully insured commercial health insurance plans,




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(2) self-funded administrative service only health plans, (3) hybrid-funded health plans,

(4) Medicare Advantage plans, and/or (5) Medicaid plans.

       57.     Blue Cross Blue Shield of Massachusetts. Blue Cross and Blue Shield of

Massachusetts, Inc. (“BCBSMA”) is a Massachusetts corporation with its principal place of

business in Boston, Massachusetts. BCBSMA is a licensee of the Blue Cross Blue Shield

Association. BCBSMA is licensed to market health insurance plans using Blue Cross Blue Shield

trademarks in Massachusetts. BCBSMA issues insurance or provides administrative services

concerning healthcare claims that include: (1) fully insured commercial health insurance plans, (2)

self-funded administrative service only health plans, and/or (3) hybrid-funded health plans.

       58.     Blue Cross Blue Shield of Michigan. Blue Cross Blue Shield of Michigan Mutual

Insurance Company (“BCBSMI”) is a Michigan mutual insurance company with its principal place

of business in Michigan. BCBSMI is a licensee of the Blue Cross Blue Shield Association.

BCBSMI is licensed to market health insurance plans using Blue Cross Blue Shield trademarks in

Michigan. BCBSMI issues insurance or provides administrative services concerning healthcare

claims in the form of: (1) fully insured commercial health insurance plans, (2) self-funded

administrative service only health plans, (3) hybrid-funded health plans, (4) Medicare Advantage

plans, and/or (5) Medicaid plans.

       59.     Blue Cross Blue Shield of Minnesota. Aware Integrated, Inc. and BCBSM, Inc.

d/b/a Blue Cross Blue Shield of Minnesota (collectively, “Blue Cross Blue Shield of Minnesota”)

are Minnesota corporations. Their principal place of business is in Minneapolis, Minnesota. Blue

Cross Blue Shield of Minnesota is the parent company, or otherwise affiliated or related company,

to various commercial health insurance plans and prescription drug plans that operate in the U.S.

The plans issue insurance or provide administrative services concerning healthcare claims in the




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form of: (1) fully insured commercial health insurance plans, (2) self-funded administrative service

only health plans, (3) hybrid-funded health plans, (4) Medicare Advantage plans, and/or (5)

Medicaid plans.

       60.     Cambia. Cambia Health Solutions, Inc. (“Cambia”) f/k/a The Regence Group is an

Oregon non-profit corporation with its principal place of business in Oregon. Cambia is the parent

company of several wholly owned subsidiaries including Regence Blue Shield of Oregon, Regence

Blue Shield of Utah, Regence Blue Shield of Washington, Asuris Northwest Health, and

BridgeSpan Health. Cambia is a licensee of the Blue Cross Blue Shield Association. Cambia is

licensed to market health insurance plans using Blue Cross Blue Shield trademarks in Oregon,

Idaho, Utah, and Washington. Cambia, through its wholly-owned subsidiaries, issues insurance or

provides administrative services concerning healthcare claims in the form of: (1) fully insured

commercial health insurance plans, (2) self-funded administrative service only health plans, (3)

hybrid-funded health plans, (4) Medicare Advantage plans, and/or (5) Medicaid plans.

       61.     CareFirst, Inc. CareFirst, Inc. (“CareFirst”) is a Maryland corporation with its

principal place of business in Owings Mill, Maryland. CareFirst, through its wholly-owned

subsidiaries and affiliates, Group Hospitalization and Medical Services, Inc.; CareFirst of

Maryland, Inc.; and CareFirst Blue Choice, Inc., collectively do business as CareFirst Blue Cross

Blue Shield. CareFirst is a licensee of the Blue Cross Blue Shield Association. CareFirst is licensed

to market health insurance plans using Blue Cross Blue Shield trademarks in the District of

Columbia and the counties in Northern Virginia and Maryland that makeup the Washington, D.C.

suburbs. CareFirst’s insurance plans issue insurance or provide administrative services concerning

healthcare claims that include: (1) fully insured commercial health insurance plans, (2) self-funded

administrative service only health plans, and/or (3) hybrid-funded health plans.




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       62.     Centene. Centene Corporation (“Centene”) is a Delaware corporation with its

principal place of business in St. Louis, Missouri. Centene is the parent company, or otherwise

affiliated or related company, to various commercial health insurance plans and prescription drug

plans that operate in the U.S. Those plans issue insurance or provide administrative services

concerning healthcare claims in the form of: (1) fully insured commercial health insurance plans,

(2) self-funded administrative service only health plans, (3) hybrid-funded health plans, (4)

Medicare Advantage plans, and/or (5) Medicaid plans.

       63.     Cigna. The Cigna Group (“Cigna”) is a Delaware corporation with its principal

place of business in Broomfield, Connecticut. Cigna is the parent company, or otherwise affiliated

or related company, to various commercial health insurance plans and prescription drug plans that

operate in the U.S. Those plans issue insurance or provide administrative services concerning

healthcare claims in the form of: (1) fully insured commercial health insurance plans, (2) self-

funded administrative service only health plans, (3) hybrid-funded health plans, (4) Medicare

Advantage plans, and/or (5) Medicaid plans.

       64.     Elevance. Elevance Health, Inc. (formerly known as Anthem, Inc.) (“Elevance”) is

an Indiana corporation with a principal place of business in Indianapolis, Indiana. Elevance is a

member of the Blue Cross Blue Shield Association. Elevance licenses certain trademarks and

service marks from the Blue Cross Blue Shield Association in 14 states: California, Colorado,

Connecticut, Georgia, Indiana, Kentucky, Maine, most of Missouri, Nevada, New Hampshire,

parts of New York, Ohio, Virginia (except the Washington, D.C. Suburbs), and Wisconsin.

Elevance does business under several names, including: Anthem Blue Cross Life and Health

Insurance Company, Blue Cross of California, Blue Cross of Southern California, Blue Cross of

Northern California, Blue Cross Blue Shield of Georgia, Anthem Health Plans, Inc. d/b/a Anthem




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Blue Cross Blue Shield of Connecticut, Rocky Mountain Hospital & Medical Service, Inc. d/b/a

Anthem Blue Cross Blue Shield of Colorado, Anthem Blue Cross Blues Shield of Nevada, Anthem

Insurance Companies, Inc. d/b/a Anthem Blue Cross Blue Shield of Indiana, Anthem Health Plans

of Kentucky, Inc. d/b/a Anthem Blue Cross Blue Shield of Kentucky, Anthem Health Plans of

Maine, Inc. d/b/a Anthem Blue Cross Blue Shield of Maine, Anthem Blue Cross Blue Shield of

Missouri, RightCHOICE Managed Care, Inc., Healthy Alliance Life Insurance Company and

HMO Missouri Inc., Anthem Health Plans of New Hampshire, Inc. d/b/a Anthem Blue Cross Blue

Shield of New Hampshire, Empire HealthChoice Assurance, Inc. d/b/a Empire Blue Cross Blue

Shield, Community Insurance Company d/b/a Anthem Blue Cross Blue Shield of Ohio, Anthem

Health Plans of Virginia, Inc. d/b/a Anthem Blue Cross and Blue Shield of Virginia, Anthem Blue

Cross Blue Shield of Wisconsin, and Compcare Health Services Insurance Corporation. Elevance

is the parent company, or otherwise affiliated or related company, to various commercial health

insurance plans and prescription drug plans that operate in the U.S. Those plans issue insurance or

provide administrative services concerning healthcare claims in the form of: (1) fully insured

commercial health insurance plans, (2) self-funded administrative service only health plans, (3)

hybrid-funded health plans, (4) Medicare Advantage plans, and/or (5) Medicaid plans.

       65.     HCSC. Health Care Service Corporation (“HCSC”) is organized as a mutual

reserve company under the laws of the state of Illinois, with a principal place of business in

Chicago, Illinois. HCSC is the parent company, or otherwise affiliated or related company, to

various commercial health insurance plans and prescription drug plans that operate in the U.S.,

including in Illinois, Montana, New Mexico, Oklahoma, and Texas. Those plans issue insurance

or provide administrative services concerning healthcare claims in the form of: (1) fully insured

commercial health insurance plans, (2) self-funded administrative service only health plans, (3)




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hybrid-funded health plans, (4) Medicare Advantage plans, and/or (5) Medicaid plans.

       66.     Highmark. Highmark Health (“Highmark”) is a Pennsylvania non-profit company

with its principal place of business in Pennsylvania. Highmark is the ultimate parent company of

several entities including Highmark, Inc.; Highmark BCBSD Inc.; Highmark West Virginia Inc.;

and Highmark Western and Northwestern New York. Highmark is a licensee of the Blue Cross

Blue Shield Association. Highmark is licensed to market health insurance plans using Blue Cross

Blue Shield trademarks in Pennsylvania, West Virginia, Delaware, and certain counties in Ohio.

Highmark, through its wholly owned subsidiaries, issues insurance or provides administrative

services concerning healthcare claims in the form of: (1) fully insured commercial health insurance

plans, (2) self-funded administrative service only health plans, (3) hybrid-funded health plans,

(4) Medicare Advantage plans, and/or (5) Medicaid plans.

       67.     Horizon Blue Cross Blue Shield of New Jersey. Horizon Healthcare Services, Inc.

d/b/a Horizon Blue Cross Blue Shield of New Jersey (“Horizon”) is a New Jersey corporation with

its principal place of business in Newark, New Jersey. Horizon is a licensee of the Blue Cross Blue

Shield Association. Horizon is licensed to market health insurance plans using Blue Cross Blue

Shield trademarks in New Jersey. Horizon, through its wholly owned subsidiaries, issues insurance

or provides administrative services concerning healthcare claims in the form of: (1) fully insured

commercial health insurance plans, (2) self-funded administrative service only health plans, (3)

hybrid-funded health plans, (4) Medicare Advantage plans, and/or (5) Medicaid plans.

       68.     Humana. Humana Inc. (“Humana”) is a Delaware corporation with its principal

place of business in Louisville, Kentucky. Humana is the parent company, or otherwise affiliated

or related company, to various commercial health insurance plans and prescription drug plans that

operate in the U.S. The plans issue insurance or provide administrative services concerning




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healthcare claims in the form of: (1) fully insured commercial health insurance plans, (2) self-

funded administrative service only health plans, (3) hybrid-funded health plans, (4) Medicare

Advantage plans, and/or (5) Medicaid plans.

       69.     Kaiser. Kaiser Foundation Health Plan, Inc. (“Kaiser”) is a California non-profit

public benefit corporation with a principal place of business in Oakland, California. Kaiser is the

ultimate parent company of several entities including Kaiser Foundation Health Plan of Colorado;

Kaiser Foundation Health Plan of the Mid-Atlantic States, Inc.; Kaiser Foundation Health Plan of

Washington; and Kaiser Foundation Health Plan of the Northwest. Kaiser, through its wholly

owned subsidiaries, issues insurance or provides administrative services concerning healthcare

claims in the form of: (1) fully insured commercial health insurance plans, (2) self-funded

administrative service only health plans, (3) hybrid-funded health plans, (4) Medicare Advantage

plans, and/or (5) Medicaid plans.

       70.     Molina. Molina Healthcare, Inc. (“Molina”) is a Delaware corporation with a

principal place of business in Long Beach, California. Molina is the parent company, or otherwise

affiliated or related company, to various commercial health insurance plans and prescription drug

plans that operate in the U.S. Those plans issue insurance or provide administrative services

concerning healthcare claims in the form of: (1) fully insured commercial health insurance plans,

(2) self-funded administrative service only health plans, (3) hybrid-funded health plans, (4)

Medicare Advantage plans, and/or (5) Medicaid plans.

       71.     Sanford     Health     Plan.    Sanford    Health     Plan    (“Sanford”)    is   a

corporation organized under the laws of South Dakota with a principal place of business in Sioux

Falls, South Dakota. It is one of the largest rural health plans in the country serving 200,000

members. Its network includes 25,000 regional providers, 700,000 national providers, and 349




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hospitals. Sanford Health Plan’s insurance plans issue insurance or provide administrative services

concerning healthcare claims that include: (1) fully insured commercial health insurance plans, (2)

self-funded administrative service only health plans, and/or (3) hybrid-funded health plans.

       72.     United. UnitedHealth Group Inc. (“United”) is a Delaware corporation with a

principal place of business in Minnetonka, Minnesota. United has two divisions:

UnitedHealthcare, which provides health benefits plans and is the largest payor in the U.S., and

Optum, which provides health services, including pharmacy benefit manager services. United is a

vertically integrated healthcare enterprise with a portfolio of wholly owned subsidiaries

comprising a massive healthcare ecosystem. United has a commercial insurance network that pays

in-network and out-of-network claims from healthcare providers in all 50 states and the District of

Columbia. United’s insurance plans issue insurance or provide administrative services concerning

healthcare claims in the form of: (1) fully insured commercial health insurance plans, (2) self-

funded administrative service only health plans, (3) hybrid-funded health plans, (4) Medicare

Advantage plans, and/or (5) Medicaid plans.

       73.     Allied National. Allied National, LLC (“Allied National”) is a Missouri limited

liability company with its principal place of business in Kansas. Allied National is one of the oldest

and largest third-party administrators (“TPAs”) in the U.S. As a TPA, Allied National performs

administrative tasks for health insurance plans, including claims processing and pricing, billing,

enrollment, and customer service.

       74.     Benefit Plans Administrators. Benefit Plans Administrators of Eau Claire, LLC

(“Benefit Plans Administrators”) is a Wisconsin limited liability company with a principal place

of business in Wisconsin. Benefit Plans Administrators is a TPA. As a TPA, Benefit Plans

Administrators performs administrative tasks for health insurance plans, including claims




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processing and pricing, billing, enrollment, and customer service.

         75.    Central States. Central States Southeast and Southwest Areas Health and Welfare

Fund (“Central States”)5 is a non-profit labor health fund and is administered from its principal

and exclusive offices located in Chicago, Illinois. Central States provides third-party medical

coverage under the trade name “Team Care.” Central States performs administrative tasks for a

health plan for current and former union members, including claims processing and pricing,

billing, enrollment, and customer service.

         76.    Consociate. Consociate, Inc. d/b/a Consociate Health (“Consociate Health”) is an

Illinois corporation that has a principal place of business in Illinois. Consociate Health is a TPA.

As a TPA, Consociate Health performs administrative tasks for health plans, including claims

processing and pricing, billing, enrollment, and customer service. Consociate Health also offers

its own PPO network that other payors may use as a complementary network and that Consociate

Health offers directly to subscriber groups as a primary network.

         77.    Healthcare Highways. Healthcare Highways Health Plan (ASO), LLC

(“Healthcare Highways”) is a Texas limited liability company with its principal place of business

in Texas. Healthcare Highways is a TPA. As a TPA, Healthcare Highways performs administrative

tasks for health insurance plans, including claims processing and pricing, billing, enrollment, and

customer service. Healthcare Highways also offers its own PPO network that other payors may

use as a complementary network and that Healthcare Highways offers directly to subscriber groups

as a primary network.

         78.    Secure Health. Secure Health Plans of Georgia, L.L.C. d/b/a Secure Health



5
 In prior constituent Direct Action Plaintiff complaints Central States was incorrectly named as “Central
States, Southeast and Southwest Areas Pension Fund.”



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(“Secure Health”) is a Georgia limited liability company with its principal place of business in

Georgia. Secure Health is one of the largest TPAs in the U.S. As a TPA, Secure Health performs

administrative tasks for health insurance plans, including claims processing and pricing, billing,

enrollment, and customer service. Secure Health also offers its own PPO network that other payors

may use as a complementary network and that Secure Health offers directly to subscriber groups

as a primary network.

       79.     Aetna, BSCA, BCBSMA, BCBSMI, Blue Cross Blue Shield of Minnesota,

Cambia, CareFirst, Centene, Cigna, Elevance, HCSC, Highmark, Horizon, Humana, Kaiser,

Molina, Sanford, United, Allied National, Benefit Plans Administrators, Central States, Consociate

Health, Healthcare Highways, Secure Health, and each payor that has executed an out-of-network

pricing agreement with MultiPlan (the “competing payors” or “Co-Conspirators”), have all

abdicated out-of-network pricing authority to MultiPlan, and have performed other acts and made

other statements in furtherance of the conspiracy. Each member of the MultiPlan Cartel is jointly

and severally liable for all of the acts and omissions of its Co-Conspirators whether named or not

in this complaint.

IV.    Jurisdiction, Venue, and Interstate Commerce

       80.     This Court has subject matter jurisdiction over various constituent cases in this

multidistrict litigation pursuant to 28 U.S.C. §§ 1331 and 1337, as those actions raise federal

questions under Section 1 of the Sherman Act (15 U.S.C. § 1) and Sections 4 and 16 of the Clayton

Act (15 U.S.C. §§ 15 and 26).

       81.     This Court also has subject matter jurisdiction over constituent cases in this

multidistrict litigation pursuant to 28 U.S.C. § 1332(a) because Plaintiffs and Defendants in such

cases are residents of different states, and the amount in controversy exceeds $75,000.

       82.     This Court has supplemental jurisdiction under 28 U.S.C. § 1367(a) over DAPs’


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state law claims in constituent cases in this multidistrict litigation because all claims alleged in this

complaint form the same case or controversy.

         83.    Venue is proper in this District Court pursuant to the Order of the Judicial Panel on

Multidistrict Litigation transferring related actions to this District (“Related Actions”). See In re

MultiPlan Health Insurance Provider Litigation, MDL No. 3121, Dkt. 98 (J.P.M.L. Aug. 1, 2024).

         84.    This Court has personal jurisdiction over each Defendant to the same extent that

the transferor court had personal jurisdiction in each Related Action, prior to transfer to the MDL

court.

         85.    For Related Actions originally filed in the U.S. District Court for the Southern

District of New York, the transferor court has personal jurisdiction over Defendants. MultiPlan’s,

principal place of business is in New York. The U.S. District Court for the Southern District of

New York has personal jurisdiction over Defendants under Section 12 of the Clayton Antitrust

Act, 15 U.S.C. § 22, and New York’s long-arm statute, N.Y. C.P.L.R. § 302(a)(1). Defendants,

directly or through their divisions, subsidiaries, predecessors, agents, or affiliates, may be found

in and transact business in New York, including by offering health plans in the state; sending

confidential, proprietary claims data concerning claims for out-of-network goods and services

provided in New York to MultiPlan for pricing using MultiPlan’s pricing methodology; using

MultiPlan’s common pricing methodology to set prices and pay claims for out-of-network goods

and services provided in New York; entering into agreements with counterparties located in New

York to set prices for out-of-network goods and services using a common pricing methodology;

holding meetings in furtherance of the MultiPlan Cartel with counterparties in New York; and

engaging in an antitrust conspiracy, which has a direct, foreseeable, and intended effect of causing

injury to the business and property of persons and entities residing in, located in, or doing business




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throughout the U.S., including in the state of New York.

        86.     This Court has personal jurisdiction and venue over direct action cases that were

originally filed in the U.S. District Court for the Northern District of Illinois. A substantial portion

of MultiPlan’s operations are located in Naperville, Illinois—including employees who are

involved in operating MultiPlan’s common pricing methodology for out-of-network goods and

services. The acts and omissions alleged herein occurred substantially at MultiPlan’s offices in

Naperville, Illinois. Venue is proper in this court under Section 12 of the Clayton Antitrust Act,

15 U.S.C. § 22, and 28 U.S.C. § 1391, because one or more of Defendants maintain business

facilities, have agents, transact business, and are otherwise found within the Northern District of

Illinois. The Court has personal jurisdiction over Defendants under Section 12 of the Clayton

Antitrust Act, 15 U.S.C. § 22, and Illinois’ long-arm statute, 735 Ill. Comp. Stat. 5/2-209(a).

Defendants, directly or through their divisions, subsidiaries, predecessors, agents, or affiliates, may

be found in and transact business in Illinois, including by offering health plans in the state; sending

confidential, proprietary claims data concerning claims for out-of-network goods and services

provided in Illinois to MultiPlan for pricing using MultiPlan’s pricing methodology; using

MultiPlan’s common pricing methodology to set prices and pay claims for out-of-network goods

and services provided in Illinois; entering into agreements with counterparties located in Illinois

to set prices for out-of-network goods and services using a common pricing methodology; holding

meetings in furtherance of the MultiPlan Cartel with counterparties in Illinois; and engaging in an

antitrust conspiracy, which has a direct, foreseeable, and intended effect of causing injury to the

business and property of persons and entities residing in, located in, or doing business throughout

the U.S., including in the state of Illinois.

        87.     Defendants’ wrongful activities have substantially affected and are within the flow




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of interstate commerce. Healthcare providers that are paid by MultiPlan and its Co-Conspirators

provide goods and services to persons who reside in other states. In addition, Defendants and their

Co-Conspirators operate PPO networks throughout the U.S. that set prices for out-of-network

goods and services. The activities of MultiPlan and the members of the MultiPlan Cartel were

within the flow of, were intended to, and did have direct, substantial, and reasonably foreseeable

effects on the interstate commerce of the U.S.

V.       The MultiPlan Cartel is a Horizontal Price-Fixing Conspiracy

         A.     MultiPlan Competes Against Other Payors

                i.       There are Several Types of Competing Payors in the United States

         88.    Each of the Defendants and/or Co-Conspirators in this litigation are payors. Payors

set the prices for healthcare goods and services utilized by patients covered by the payors’ health

plans, and then cause payments to be made for those healthcare goods and services. There are

several types of payors for healthcare in the U.S., including large national insurance companies,

Blue Cross and Blue Shield health plans, independent health plans, third-party administrators, bill

review companies, Taft-Hartley health plans, and other entities that pay medical bills. MultiPlan

has identified each of those types of entities as payors in its 2021, 2022, 2023, and 2024 annual

reports filed with the SEC.6

         89.    As of 2020, approximately 298 million individuals out of a total U.S. population of

approximately 326 million (91.4%) had some form of third-party payment coverage for healthcare

costs. Of those with coverage, 66.5% had private coverage from a commercial third-party payor

and 33.5% had coverage from a government payor, such as Medicare or Medicaid.

         90.    Commercial health insurance is one common type of a payor. Commercial health


6
  MultiPlan uses the same definition of “payor” in its registration statement and quarterly reports filed with
the SEC.



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insurance is a contract in which a third-party payor agrees to pay certain future healthcare costs

for a subscriber. Health insurance is one of the most common, but not the only form of commercial

third-party payment arrangement utilized by payors.

         91.     Preferred Provider Organization health plans, or PPOs, are the most common type

of commercial third-party payment plans offered in the U.S. A PPO is a third-party payment plan

that contracts with doctors and medical facilities, such as hospitals, to create a network of

participating providers. PPOs generally do not require the selection of a primary care physician or

a referral to see a specialist. PPO plans are generally more expensive for subscribers, but they offer

greater choice of in-network and out-of-network doctors and hospitals.7

         92.     There are two types of funding models for commercial health insurance plans: risk-

based (also called “fully insured”) and administrative services only (“ASO,” also called “self-

funded”).

         93.     Under a risk-based model, the insurance company collects premiums and pays bills

for healthcare goods and services submitted by providers (known as “claims”). If the premiums

exceed the claims, the insurance company profits, but if the claims exceed the premiums, the

insurance company carries the risk of loss.

         94.     Under an ASO model, an employer group carries the risk instead—and is

responsible for paying providers for its employees’ claims. But employers do not have the time or

in-house capabilities to develop and manage their own bespoke PPO networks. So, employers pay

the payors a fixed administrative services fee per member, per month (a “PMPM” fee) to an outside




7
  There are additional types of plans, such as Health Maintenance Organizations, Exclusive Provider
Organizations, Point of Service Plans, High Deductible Health Plans, and conventional or indemnity plans.
These types of plans are not particularly relevant to the claims at issue in this case, so they are not discussed
further herein.



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organization to administer an ASO plan.8

          95.   Under these ASO contracts, the employers take on claims-associated risks. In

addition, the employers and payors enter into “shared savings agreements” that permit the payors

to send out-of-network claims for ASO employers to MultiPlan to set out-of-network prices. Large

employers, which make up a substantial portion of the market for commercial insurance, are almost

all on ASO contracts. As a result, up to 90% of some payors’ business is attributable to ASO

contracts.

          96.   Payors can use multiple models to build networks of healthcare providers, review

bills from providers, set prices for services, and pay providers for their services. Payors often do

this work directly by assembling their own networks and—absent the conspiracy alleged in this

case—exercising their own discretion to review bills, set prices, and pay providers.

          97.   In many cases, employers with ASO plans turn to third-party administrators, or

TPAs, to perform those services on their behalf. TPAs are another form of payor. They are

companies that manage the administrative and operational work of health plans. They allow payors

to outsource several aspects of running a healthcare payor business. Significantly, TPAs receive

claims from providers for out-of-network goods and services and adjudicate and price those

claims.

          98.   Payors compete with one another in different ways. Some compete to build

networks of healthcare providers. Some compete to sign agreements with subscribers to access

those networks. One form of competition among payors is relevant to this case. In a market without

collusion, each payor should exercise its own independent discretion to set prices for healthcare



8
 The employer groups, unions, governmental entities, and individuals who purchase health plans either on
an ASO or fully-insured basis are referred to as “subscribers.”



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goods and services. This is known in the industry as claims adjudication and pricing.

       99.     There are two forms of claims adjudication and pricing—in-network and out-of-

network. When a provider agrees to be “in-network,” they contract with a payor to accept pre-

agreed prices for medical goods and services that are less than the providers’ customary charges

for those goods and services, and to not bill in-network patients for the difference between those

in-network rates and the providers’ customary rates. In-network claims adjudication and pricing is

not at issue in this case, and DAPs are not seeking any damages, declaratory relief, or injunctive

relief of any sort with respect to in-network claims adjudication or pricing.

       100.    This case focuses solely on out-of-network claims adjudication and pricing. Out-

of-network claims adjudication and pricing is distinct from in-network adjudication and pricing.

       101.    The differences between in-network and out-of-network pricing vary based on

whether the healthcare services were emergency healthcare services provided in a hospital

emergency room or non-emergency services.

       102.    With respect to emergency services, out-of-network pricing is entirely distinct from

in-network pricing. Emergency services are performed by hospitals and hospital-based

physicians/clinicians in hospital emergency rooms. Patients cannot shop for a doctor who provides

them with emergency services. Typically, a patient is experiencing some form of medical distress

and goes to the nearest emergency room for treatment. For emergency services performed on an

out-of-network basis, there is no up-front pricing negotiation between the provider and the payor

prior to a patient receiving healthcare. Instead, out-of-network adjudication and pricing occurs

after healthcare goods and services have been provided to the patient. For emergency services,

healthcare providers have no option but to accept the prices that payors set for out-of-network

goods and services. Providers cannot switch between in-network and out-of-network patients with




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respect to emergency services. They are required by law to treat all incoming patients in need of

emergency services regardless of whether those patients are in-network or out-of-network. Nor

can providers seek payment from a source other than a third-party payor when emergency services

are provided on an out-of-network basis. They are prohibited by law from seeking payment from

any source other than the payor for emergency services. Therefore, out-of-network adjudication

and pricing is a separate market from in-network claims adjudication and pricing with respect to

emergency services. Although emergency medicine providers are required to provide services to

out-of-network patients, they are nevertheless harmed by the cartel. They are paid less for their

out-of-network goods and services than they otherwise would have been paid absent the cartel.

       103.    For non-emergency services, the MultiPlan Cartel’s market dominance leaves

providers with no option but to accept the prices imposed upon providers for out-of-network goods

and services. Theoretically, healthcare providers can refuse to provide services to out-of-network

patients for non-emergency care. However, because the MultiPlan Cartel sets the prices for an

overwhelming percentage of out-of-network goods and services, the cartel effectively offers

healthcare providers a Hobson’s choice with respect to non-emergency services—the healthcare

providers can either provide the out-of-network services and be severely underpaid for them (but

at least make some revenue) or provide no out-of-network services at all (and forgo all revenue

associated with those services). Because of the high fixed costs associated with operating a medical

practice (including capital equipment, support staff, licensure, malpractice insurance, and office

space), providers are effectively forced to provide out-of-network goods and services despite

knowing that they will be severely underpaid for them, just so that they can continue to receive the

reduced revenues associated with providing those out-of-network services in order to defray those

fixed costs. Consequently, healthcare providers who provide non-emergency services are forced




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to accept artificially suppressed prices set by the MultiPlan Cartel.

               ii.     MultiPlan is a Payor and Directly Competes with the Other Members
                       of the MultiPlan Cartel

       104.    MultiPlan is a payor. It operates multiple PPO networks that adjudicate, price, and

pay claims for in-network and out-of-network goods and services. With respect to out-of-network

services, MultiPlan used to compete the same way that all payors used to compete with respect to

out-of-network services. Prior to the cartel, MultiPlan exercised its independent discretion to set

prices for out-of-network goods and services. But, after the cartel began, MultiPlan stopped

exercising its independent discretion. Instead, it conspired with its competitors to pool pricing data

and decision-making in its own common pricing methodology.

       105.    MultiPlan owns and operates several PPO networks. According to MultiPlan, it has

the “oldest and largest independent” PPO network in the U.S. The reach of MultiPlan’s PPO

networks is enormous. MultiPlan estimates that its PPO networks have over 1.4 million providers

under contract, encompassing approximately “920,000 practitioners, 4,800 acute care hospitals

and 87,000 ancillary facilities.”

       106.    MultiPlan markets its PPO networks to subscribers in two ways—(1) as a

complementary or wrapped network, and (2) as a primary network.

       107.    MultiPlan provides competing payors access to a “complementary” PPO network

in exchange for a fee. This expands the number of healthcare providers who are effectively “in-

network” for the payors contracting with MultiPlan. Payors who purchase access to MultiPlan’s

PPO networks gain the ability to call the healthcare providers within MultiPlan’s network “in-

network” in their own PPOs, and the ability to outsource adjudication of claims from those

providers to MultiPlan. Payors can then tout the nationwide reach of their networks (comprising

their own PPO networks and MultiPlan’s) to subscribers and regulators, and command high



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premiums for the privilege of accessing those networks.9

         108.   MultiPlan also offers “primary” PPO networks, which contract directly with

subscribers to give them access to MultiPlan’s in-network providers and to pay bills for out-of-

network healthcare.

         109.   A wide variety of entities subscribe to MultiPlan’s “primary” PPO networks,

including private- and public-sector employers, tribal entities, and union benefit plans. For

example, as of January 2021, the University of New Haven, the Mashantucket Pequot Tribal

Nation, and UFCW Local 711 & Retail Food Employers Benefit Fund subscribed to MultiPlan’s

primary PPO networks.

         110.   When a patient is covered by MultiPlan’s primary PPO network, but elects to see a

healthcare provider who is out-of-network, the provider submits a bill to MultiPlan for those out-

of-network services. MultiPlan reviews the bill and sets a price for the out-of-network services.

Then, MultiPlan pays the healthcare provider for those out-of-network goods and services.

         111.   MultiPlan’s PPO networks accept claims for out-of-network services from

healthcare providers using pre-approved forms. Healthcare providers submit claims directly to

MultiPlan’s PPO network. For example, below is a claim submitted to MultiPlan for a $927 charge

for an emergency room visit.




9
  For the avoidance of doubt, claims paid at the contract rates set forth in MultiPlan’s wrap network
agreements are not at issue in this case. This case concerns only claims priced at out-of-network rates.



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       112.   MultiPlan adjudicates and prices those claims for goods and services. For example,

a patient was admitted to Laredo Regional Medical Center on January 6, 2019, with a

gastrointestinal obstruction. Doctors at Laredo Regional Medical Center treated the patient and

discharged her two days later. The patient was insured by The Health Plan of West Virginia, Inc.,

which contracts with MultiPlan to serve as its primary PPO network. According to medical claims

data, Laredo Regional Medical Center submitted $37,224.53 in charges for the services provided

to the patient. “MultiPlan PPO” paid $5,341.99 for the claim, or 14.35% of the bill that Laredo

Regional Medical Center submitted.

       113.   DAP Adventist Health System Sunbelt Healthcare Corporation (“AHS”) has



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identified hundreds of payment records in which MultiPlan is listed as the payor for healthcare

goods and services both on an in-network and out-of-network basis. Below is a sample of statement

dates, billed amounts, payment amounts allowed by MultiPlan (i.e., what MultiPlan paid), and

underpayments that MultiPlan generated using its pricing methodology for out-of-network

services provided by AHS relative to billed charges. MultiPlan’s underpayments for these services

also amounted to an underpayment relative to the prices that would have been set for these services

absent the cartel.

         Date           Billed Amount        MultiPlan Allowed          Underpayment Based
                                                  Amount                  on Billed Charges
 November 7, 2018      $120,662.14        $90,496.63                   $30,165.51
 November 18, 2018     $31,900.66         $27,753.59                   $4,147.07
 December 16, 2018     $5,160.74          $3,870.58                    $1,290.16
 March 29, 2019        $77,450.86         $66,607.75                   $10,843.11
 April 19, 2019        $15,384.38         $11,538.30                   $3,846.08
 April 21, 2019        $38,093.99         $33,147.77                   $4,952.22
 April 25, 2019        $134,001.58        $115,241.36                  $18,760.22
 April 25, 2019        $95,162.86         $82,791.68                   $12,371.18
 June 12, 2019         $22,479.66         $19,332.51                   $3,147.15
 July 29, 2019         $27,936.18         $24,052.11                   $3,911.07
 September 1, 2019     $47,408.05         $40,770.92                   $6,637.12
 September 4, 2019     $40,267            $33,018.94                   $7,248.06
 September 26, 2019    $20,072.14         $16,459.17                   $3,612.97

       114.     Other payors, including members of the MultiPlan Cartel, also operate their own

PPO networks that, prior to the cartel, independently set prices for out-of-network goods and

services. For instance, Aetna offers Aetna Open Choice PPO plans, Elevance and other Blue Cross

Blue Shield entities offer Blue Choice PPO plans, United offers UnitedHealthcare Options PPO

plans, and Cigna offers Cigna Healthcare PPO plans.

       115.     It is widely recognized that MultiPlan competes against other payors. Numerous

hospital groups list MultiPlan, Aetna, Elevance, Cigna, Kaiser, United, and other Defendants or

Co-Conspirators as having PPO plans that they accept either for in-network or out-of-network




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care.

        116.   MultiPlan’s networks explicitly compete against TPAs. MultiPlan’s PPO networks

have filed applications for a certificate of authority with the Texas Department of Insurance to do

business as a TPA.

        117.   MultiPlan admits that its PPO networks compete against other payors’ PPO

networks. For example, in an Annual Report filed with the SEC on March 1, 2023, MultiPlan

states: “We also compete with PPO networks owned by our large Payor customers[.]”

MultiPlan’s 2021 and 2022 Annual Reports contain similar admissions. After DAPs sued

MultiPlan for entering into agreements with its competitors in violation of federal antitrust law,

these admissions suddenly vanished from MultiPlan’s SEC filings.

        118.   In an August 2020 presentation, MultiPlan’s then-Chief Revenue Officer, Dale

White, explained that MultiPlan “compete[s] with regional PPOs . . . and network aggregators[.]”

In a slide deck accompanying the presentation, MultiPlan listed First Health, a PPO network

owned by Aetna, as a selected competitor. Again, after this antitrust litigation began, MultiPlan

removed these admissions from its SEC filings.

        119.   MultiPlan’s former CEO, Dale White, openly admitted that MultiPlan competes

with other payors at the November 29, 2023, Piper Sandler Healthcare Conference. At that

conference, he stated, “Our clients are our competitors; our competitors are our clients.”

        120.   Prior to the MultiPlan Cartel, MultiPlan’s PPO networks competed against other

payors with respect to out-of-network claims adjudication and pricing. MultiPlan and the other

members of the MultiPlan Cartel exercised their independent judgment to set and negotiate the

prices they paid for out-of-network goods and services. Absent the MultiPlan Cartel, payors

competed with one another to adequately compensate providers for out-of-network goods and




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services because they understood that it was in their unilateral economic self-interest to ensure that

providers would accept the payors’ patients on an out-of-network basis. In a market without

collusion, providers had the ability to leverage payors against one another when negotiating the

prices of out-of-network claims. If Aetna and Cigna were paying $900 for an out-of-network

procedure, a provider could point to that fact if United attempted to pay $700 for the same out-of-

network procedure. This ability to compare prices from competing buyers is key to all sellers

ensuring that their goods and services are sold in a marketplace free from collusion.

       121.    MultiPlan admits that it specifically competes against other payors on the basis of

out-of-network claims adjudication and pricing. In MultiPlan’s 2022 10-K, MultiPlan explains that

its services address “claims adjudication and pricing.”

       122.    Other payors recognize that MultiPlan is a competing payor. In a prepared

statement before the U.S. House of Representatives Judiciary Committee Subcommittee on

Regulatory Reform, Commercial and Antitrust Law on September 29, 2015, Elevance’s then-CEO

Joseph Swedish explained that “traditional insurance providers” and “companies offering rental

networks (e.g., MultiPlan . . .)” are engaged in “robust competition.”

       123.    Hospital systems refer to MultiPlan as a “payor” of in-network and out-of-network

claims in public filings. For example, Mountain States Health Alliance and Wellmont Health

System, two hospital systems operating in the Appalachia Highlands, listed MultiPlan as a “Payor”

in their Application for a Letter Authorizing a Cooperative Agreement to the Commonwealth of

Virginia.

       124.    The FTC has stated that MultiPlan is a payor on multiple occasions. In a 2010

administrative complaint against the Minnesota Rural Health Cooperative, the FTC listed payors

operating in certain areas of Minnesota, including MultiPlan. In a March 23, 2006, administrative




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complaint against Healthcare Alliance of Laredo, L.C., the FTC listed MultiPlan as a “payor” that

does business in the Laredo, Texas area. Similarly, a 1998 Consent Order between the FTC and

North Tahoe Medical Group, Inc. lists MultiPlan as a “payer.”

        125.    The DOJ also considers MultiPlan to be a payor. In a February 2011 complaint filed

against United Regional Healthcare System, the DOJ and the State of Texas alleged that

“[c]ommercial health insurers include managed-care organizations (such as Blue Cross Blue

Shield, Aetna, United Healthcare, CIGNA, Accountable, or other HMOs or PPOs), rental networks

(such as Beech Street, Texas True Choice, Multiplan, and PHCS), and self-funded plans . . . .

Although not all of these are risk-bearing entities, they can be referred to collectively as

‘commercial health insurers.’”

        126.    Other entities have represented to federal antitrust agencies that MultiPlan is a

payor. In a June 19, 2009, letter to the Antitrust Division of the DOJ, the Pacific Business Group

on Health, the California Public Employees’ Retirement System, and the California Health Care

Coalition represented to the Antitrust Division of the DOJ that “there are dozens of entities offering

health care coverage . . . in California today, . . . including Aetna, Blue Cross of California, United,

CIGNA, . . . and MultiPlan.”

        127.    MultiPlan even complies with government regulations that apply to payors. In

October 2020, the Centers for Medicare and Medicaid Services finalized a rule known as the

Transparency in Coverage Rule, which, among other things, requires group health plans and health

insurance issuers to make information available on their websites in a machine readable format

concerning their negotiated rates with in-network providers and historical billed charges and

allowed amounts. In April 2022, in accordance with the rule, MultiPlan produced network rate

files for its PPO networks. MultiPlan also produced out-of-network allowed amounts and billed




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charges to its PPO networks. MultiPlan made similar machine-readable files available again in

December 2023.

        128.     Any claim that MultiPlan is not a health insurance company is irrelevant. The

competition that matters in this case is claims adjudication and pricing. Several different types of

payors engage in claims adjudication and pricing, not just health insurance companies. For

example, TPAs engage in claims adjudication and pricing even though they are not health

insurance companies. ASO health plans also adjudicate and price claims even though they do not

take in premiums and set a risk-based capital reserve to pay out future healthcare claims. That

pricing competition for out-of-network goods and services is the relevant area of competition in

this case.

        129.     In public statements, MultiPlan attempts to characterize itself as a TPA. But, as

Sean Crandell, MultiPlan’s Senior Vice President of Healthcare Economics testified under oath,

“third-party administrators . . . do the same thing as the large national health plans.” Moreover,

even if MultiPlan is a TPA, it enters into horizontal pricing agreements with other TPAs, such as

Secure Health, Allied National, and Healthcare Highways.

        130.     Even if MultiPlan does not compete against other payors on the basis of claims

adjudication and pricing, it is certainly a potential competitor. MultiPlan operates multiple PPO

networks, recruits providers, and has existing relationships with subscriber groups. MultiPlan

could easily begin competing against other payors on the basis of claims adjudication and pricing

with little difficulty.

        B.       MultiPlan Enters into Agreements with Its Competitors to Use a Common
                 Pricing Methodology to Set the Prices Paid for Out-of-Network Goods and
                 Services

                 i.       Overview of MultiPlan’s Agreements with Competing Payors

        131.     MultiPlan was not content to just run PPOs and use its own independent discretion


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to set prices for out-of-network goods and services for those PPOs. It embarked on a plan to build

a pricing methodology for out-of-network goods and services that it then marketed to competing

payors as a way to decrease prices for out-of-network goods and services in the wake of the Ingenix

debacle. MultiPlan referred to this strategy internally as “MultiPlan 2.0.”

       132.       The first step in that plan was acquiring a pricing formula that MultiPlan could

market as part of a broader pricing methodology that was an alternative to Ingenix.

       133.       In 2009, MultiPlan acquired Viant from Welsh, Carson, Anderson & Stowe. The

Viant pricing formula sets prices for out-of-network goods and services pursuant to pricing

parameters that MultiPlan and the competing payor agree on in advance. It also uses hospital-

specific cost data obtained from Medicare Cost Reports to calculate individual hospitals’ operating

expenses, plus an additional margin allowance based on geographic comparators. Thus, prices that

MultiPlan sets on behalf of competing payors using its Viant pricing methodology are based, in

part, on commingled, granular, real-time, and confidential data concerning providers’ margins and

billed charges.

       134.       In 2011, MultiPlan acquired National Care Network LLC (“NCN”) for $50 million,

effectively purchasing NCN’s Data iSight pricing methodology. According to MultiPlan’s former

CEO, Data iSight soon “became the foundation of [MultiPlan’s] analytics business.”

       135.       In 2014, MultiPlan acquired Medical Audit & Review Solutions (“MARS”), once

again purchasing an out-of-network pricing methodology provider. MARS is a provider of medical

necessity auditing and case review services. It’s PROBE Audit Risk System (“PARS”) platform

combines actuarial analytics and clinical reviews to identify opportunities to pay lower prices for

out-of-network goods and services. MARS is yet another tool for MultiPlan to identify claims

where it can underpay providers. By using MARS, MultiPlan and a competing payor agree that




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they will apply a common pricing formula for setting lower prices for out-of-network goods and

services. MARS operates by using an agreed-upon set of pricing rules to systematically underpay

providers’ out-of-network bills by associating the providers’ work with billing codes that typically

have lower out-of-network prices.

          136.   After making these acquisitions, MultiPlan marketed its Data iSight, Viant, and

MARS pricing formulas to other payors as a part of a broader common pricing methodology

designed to decrease the amount of money that payors paid to providers for out-of-network goods

and services.

          137.   MultiPlan positioned these pricing formulas as targeting different types of out-of-

network goods and services. In its marketing materials, MultiPlan pitched Data iSight as targeting

claims from hospitals for physician services and facility claims. Viant targeted claims for

outpatient services. MARS was positioned as a pricing formula for TPAs to lower out-of-network

prices.

          138.   Even after orchestrating the conspiracy, MultiPlan continued acquiring new

companies to add additional formulas for setting prices for out-of-network goods and services on

behalf of its competitors as a part of this pricing methodology.

          139.   In November 2020, MultiPlan acquired HST, a pricing formula for out-of-network

goods and services. At the time of acquisition, MultiPlan announced that it would “incorporate

HST tools into MultiPlan’s Data iSight service.”

          140.   MultiPlan has also developed proprietary pricing formulas internally. Around June

2023, MultiPlan introduced a new “AI-enabled” out-of-network claim pricing algorithm known as

“Pro Pricer.” MultiPlan claims that this pricing algorithm will set prices for out-of-network goods

and services using a commingled dataset of over 40 years of pricing data, including current and




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competitively sensitive pricing data.

       141.    Regardless of the precise formula or algorithm that MultiPlan uses to set prices on

behalf of its competitors, MultiPlan’s broader common pricing methodology remains the same.

Rather than using their own discretion to set prices, competing payors send MultiPlan their out-

of-network bills from healthcare providers. MultiPlan prices those out-of-network goods and

services on behalf of its competitors, generating massive underpayments for those out-of-network

goods and services. The brand names that MultiPlan associates with its common pricing

methodology are just window dressing. At the end of the day, all payors are agreeing to not

exercise their independent pricing discretion, route out-of-network bills to MultiPlan, and use

MultiPlan to set prices for those out-of-network goods and services in concert with nearly every

other payor.

       142.    MultiPlan’s agreements with its competitors to use MultiPlan’s common pricing

methodology are memorialized in written contracts. In these written agreements, MultiPlan’s

competitors agree to send their out-of-network claims to MultiPlan via an electronic data interface;

allow MultiPlan to set the prices for those claims using MultiPlan’s pricing methodology; appoint

MultiPlan to be the sole enforcer of the prices for those out-of-network goods and services if a

provider attempts to push back on the cartel’s prices; and agree on the maximum price that

MultiPlan will set for particular types of out-of-network goods and services, regardless of the

outcome of the application of its pricing methodology (which they refer to as “override”

agreements).

       143.    In a simplified example of how MultiPlan’s pricing methodology works, an

individual insured by a payor receives emergency services at a hospital. The hospital does not have

a pre-existing contract governing the cost of those services with the patient’s payor. However, the




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payor is still required by its agreement with the subscriber to pay for the services rendered to the

insured patient. So, the hospital treats the patient and submits a bill to the payor. Instead of paying

the hospital’s bill or using its own discretion to negotiate the hospital’s bill, the payor turns the bill

over to MultiPlan. MultiPlan uses a formula, which it has previously agreed with its competitor to

use, to set the price paid for those goods and services pursuant to MultiPlan’s agreement with the

payor. MultiPlan then submits its price for the goods and services to the hospital on what is

effectively a take-it-or-leave-it basis. And even if the hospital dares not to accept MultiPlan’s price,

the best it can hope to receive from any one-sided “negotiations” with MultiPlan (not the payor)

is still a substantial underpayment.

        144.    Outside the emergency room context, a similar dynamic is at play. A patient who

has a PPO plan may prefer to be treated by a specific physician or surgeon, even though that doctor

is out-of-network under that patient’s health plan. In a non-emergency room setting, these out-of-

network providers have no legal obligation to provide treatment to that patient. Nevertheless, they

are effectively forced to provide treatment because medical practices have high fixed costs and

treating an out-of-network patient generates some revenue for a provider, even if it is substantially

lower than what should have been paid but for the cartel.

        145.    MultiPlan uses the same pricing methodology in its PPO networks to adjudicate

and price out-of-network claims.

        146.    MultiPlan has disclosed to competing payors, including United, Aetna, and Cigna,

that MultiPlan uses its pricing methodology to set prices for out-of-network goods and services on

MultiPlan’s PPO networks.

        147.    As MultiPlan explains on its website, it uses the same payment pricing

methodology that it markets to competing payors “on [its] network claims.”




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        148.   When MultiPlan uses the same pricing methodology as other payors to reduce

payments to providers, MultiPlan benefits by continuing to take in the same amount in fees from

subscribers who access its PPO networks and paying less to providers for their out-of-network

goods and services.

        149.   MultiPlan also shares in the MultiPlan Cartel’s ill-gotten gains. MultiPlan is paid a

fee by the other cartel members based on the difference between a provider’s billed charges and

the price MultiPlan sets for those goods and services. This fee is usually equal to 5–7% of the

“savings,” but has been as high as 15%. The common purpose of the cartel is clear—the less money

that is paid to healthcare providers, the more money the cartel, and MultiPlan, make. The bounty

that payors pay to MultiPlan for running the cartel is known internally at MultiPlan as “percentage

of savings” or “PSAV.”

        150.   These bounty payments can be significant for even smaller health plans. For

example, in 2022 Central States paid MultiPlan $7,145,083 in exchange for, among other things,

using MultiPlan’s common pricing methodology to set lower prices for out-of-network goods and

services that were paid by Central States. That $7.14 million payment was just a drop in the bucket.

Below is a chart showing Central States’ payments to MultiPlan for, among other things, running

the cartel.

                   Tax Year                             Central States’ Payment to MultiPlan
                     2022                                             $7,145,083
                     2021                                            $22,327,702
                     2020                                            $19,703,827
                     2019                                            $21,131,365
                     2018                                            $19,609,762
                     2017                                            $17,852,242
                     2016                                            $14,442,316
                     2015                                             $9,292,307
                    Total                                           $131,504,604

        151.   Central States would not have paid $131.5 million to MultiPlan over 8 years if it



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was not getting something of equal or greater value in return. In this case, Central States was

obtaining the ability to generate hundreds of millions of dollars in additional revenue by

underpaying doctors and hospitals relative to what Central States would have earned were it not

colluding with other payors to reduce the prices set for out-of-network goods and services.

       152.    The bounties that payors pay to MultiPlan for running the cartel are the lifeblood

of MultiPlan. According to a May 10, 2023, Quarterly Report that MultiPlan filed with the SEC,

90.9% of MultiPlan’s revenues were generated through this PSAV model in the first three months

of 2023.

       153.    MultiPlan did not just build an “alternative” to Ingenix. It hired alumni of the

Ingenix conspiracy to help run MultiPlan’s cartel. For instance, Christopher Dorn, a recently

retired Senior Vice President and General Manager of Multiplan’s Payment Integrity and Audit

Division, joined Multiplan after twenty years at Ingenix, where he served as the Vice President of

Payer Solutions.

       154.    MultiPlan’s common pricing methodology is not generating mere pricing

recommendations. MultiPlan’s competitors do not deviate from the prices that MultiPlan sets for

out-of-network goods and services. They pay the prices that MultiPlan sets for out-of-network

goods and services without alteration.

       155.    For example, MultiPlan’s contract with United states that “United shall adjudicate

the claim” for out-of-network goods and services “using the recommended [MultiPlan] amount”

generated either by the “Data iSight price” or the price that MultiPlan imposes upon the provider

after the provider attempts to push back on MultiPlan’s out-of-network pricing. In either case,




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United has abdicated all pricing responsibility for out-of-network claims to MultiPlan.10

        156.    Indeed, MultiPlan’s 30(b)(6) witness testified during a deposition in LD, et al. v.

United Behavioral Health, et al., No. 4:20-cv-02254-YGR (N.D. Cal.), that she was unaware of a

time when United ever altered or rejected a price for out-of-network goods and services set by

MultiPlan.

        157.    In fact, competing payors authorize MultiPlan to set and negotiate their out-of-

network prices—completely abdicating all pricing authority to their competitor. In many cases,

MultiPlan will price and adjudicate an out-of-network bill for its competitor, negotiate that bill for

its competitor, and then pay the bill on behalf of its competitor. Accordingly, prices set using

MultiPlan’s common pricing methodology are not merely the beginning of a negotiation.

        158.    Further underscoring that this is not a pricing negotiation, MultiPlan forces

healthcare providers to accept the prices it sets for out-of-network services on behalf of its

competitors. On its website, MultiPlan notes that Data iSight pricing is the price paid 96% of the

time. A 2018 MultiPlan study cited even higher numbers: MultiPlan claimed that 99.4% of all out-

of-network claims for inpatient treatment that are priced by Data iSight are paid at that price. Those

figures were similar for outpatient (98.7%) and professional (94.5%) care. In 2023, MultiPlan’s

new CEO, Travis Dalton, told the news outlet Axios that, in 98% of its claims, the price MultiPlan

sets is the price eventually paid for out-of-network goods and services.

        159.    These statistics, contracts, and sworn testimony all tell the same story. MultiPlan is

not making recommendations. It is setting prices on behalf of the entire industry. Healthcare

providers accept MultiPlan’s pricing because they are forced to do so, not because the out-of-



10
  United’s statement that MultiPlan merely “recommends” a price is a fabrication. As explained in ¶ 154,
the prices that MultiPlan generates for out-of-network goods and services are not recommendations.



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network prices that MultiPlan sets are somehow fair, but because MultiPlan is the only game in

town. Since the vast majority of payors have agreed to use MultiPlan’s pricing methodology for

out-of-network goods and services, providers have no ability to push back on the collusive pricing.

       160.    Nor are MultiPlan’s PPO networks somehow separate from its common pricing

methodology. MultiPlan operates its network and analytics businesses as one integrated business.

As MultiPlan explained in its 2023 10-K, MultiPlan said: “The breadth of our service offerings

allows our customers the flexibility to tailor solutions for a wide range of plan sponsors with

varying plan sizes and benefit needs. At the same time, our service offerings are delivered from

our common platform and are often bundled together to provide a comprehensive cost management

solution for each individual customer. As such, we manage our service offerings as integrated

components of a holistic value proposition, rather than as distinct service lines.”

       161.    In the same 10-K, MultiPlan further stated, “[o]ur Analytics-Based Services reduce

the per-unit cost of claims using data-driven negotiation and/or reference-based pricing

methodologies. These services can be used standalone but often are used in a solution hierarchy

after MultiPlan’s network services to reduce claims with no available network contract.”

               ii.     There is Direct Evidence of MultiPlan’s Agreements with Competing
                       Payors to Use a Common Pricing Methodology to Set Prices for Out-
                       of-Network Goods and Services

       162.    There is overwhelming direct evidence that MultiPlan and competing payors agreed

to use a common pricing methodology to set prices for out-of-network goods and services. This

evidence includes: (1) contracts between MultiPlan and competing commercial healthcare payors,

(2) public statements and communications by MultiPlan and other members of the cartel admitting

to the existence of these contracts, and (3) internal communications between MultiPlan and other

members of the cartel that have been revealed in other litigation.

       163.    Contracts. MultiPlan enters into written contracts with competing payors in which


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the competing payor agrees to use MultiPlan’s pricing methodology instead of exercising its own

discretion to set out-of-network prices. MultiPlan and the competing payor also agree to split the

revenue generated by underpaying for those goods and services.

       164.    Each of these agreements to use a common pricing methodology instead of

exercising independent pricing discretion is illegal per se. In addition, the agreements with the

competing payors, representing the vast majority of all payors, to use MultiPlan’s pricing

methodology are collectively illegal per se.

       165.    Despite MultiPlan’s efforts to keep many of these agreements out of the public eye,

facts concerning several of those agreements are publicly known.

       166.    The publicly available versions of MultiPlan’s out-of-network pricing contracts

with its competitors follow the same form.

       167.    Initially, MultiPlan and its competitors had agreements allowing MultiPlan’s

competitors to access MultiPlan’s PPO network as a complementary network.

       168.    Not content merely to share access to MultiPlan’s PPO network, MultiPlan and its

competitors entered into amendments to those existing agreements. Those amendments contain

the agreements between MultiPlan and its competitors to use MultiPlan’s pricing methodology to

fix the price of out-of-network goods and services and to delegate the authority to negotiate with

providers to MultiPlan.

       169.    For example, on January 1, 2010, United and MultiPlan entered into a Network

Access Agreement. In that contract, United agreed to use MultiPlan’s PPO network as a

complementary PPO network to extend the reach of United’s PPO networks.




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       170.   On October 1, 2017, United and MultiPlan executed an Amendment to that

Network Access Agreement. In that amendment, United agreed to begin use MultiPlan’s pricing

methodology instead of exercising its own discretion to set out-of-network prices. Specifically,

United agreed to use MultiPlan’s Data iSight formula to set prices for out-of-network goods and

services. In addition to agreeing to use the out-of-network prices set by MultiPlan, United also

agreed that MultiPlan would negotiate the price of out-of-network goods and services for United

if a provider pushed back on the prices set by MultiPlan. Under this agreement, MultiPlan charged

United a fee equivalent to a percentage of the underpayment generated by using MultiPlan’s

pricing methodology. The existence of this agreement was not publicly disclosed until May 2024,

when the agreement was entered into evidence in open court at a trial in Emergency Services of

Okla. PC, et al. v. United Healthcare Ins. Co., No. CJ-2019-482 (Okla. Dist., Cleveland County).




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       171.     MultiPlan’s agreement with Aetna to stop competing on claims adjudication and

pricing for out-of-network goods and services followed a similar pattern. On January 1, 2011,

Aetna and MultiPlan entered into a Network Rental Agreement. In that contract, Aetna agreed to

use MultiPlan’s PPO network as a complementary PPO network to extend the reach of Aetna’s

PPO networks.




       172.     On November 19, 2018, MultiPlan and Aetna entered into an amendment to the

Network Rental Agreement. In that amendment, Aetna agreed to use MultiPlan’s pricing

methodology instead of exercising its own independent pricing discretion to set the prices for those

goods and services. Specifically, Aetna agreed to begin using MultiPlan’s Data iSight formula to

set prices for out-of-network goods and services. Aetna also agreed that MultiPlan would negotiate

the price of out-of-network goods and services for Aetna if a provider pushed back on the prices

set by MultiPlan. Under this agreement, MultiPlan charged Aetna a fee equivalent to a percentage

of the underpayment generated by using MultiPlan’s pricing methodology. Initially, this fee was

set at 12% of the underpayment generated by MultiPlan’s pricing methodology. The existence of

these agreements was not made public until it was filed with the Washington State Insurance

Commissioner on December 22, 2021.




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        173.   MultiPlan’s agreement with Cigna to stop competing on claims adjudication and

pricing for out-of-network goods and services followed a similar pattern. In 2014, Cigna and

MultiPlan entered into a Master Services Agreement, which has been amended several times to

include statements of work and addenda. Initially, that Master Services Agreement allowed Cigna

to use MultiPlan’s PPO network as a complementary network.

        174.   On April 1, 2015, Cigna and MultiPlan entered into Statement of Work No. 4 to the

Master Service Agreement. In that amendment, Cigna agreed to use MultiPlan’s pricing

methodology instead of exercising its own independent pricing discretion to set the prices for those

goods and services. Specifically, Cigna agreed to begin using MultiPlan’s Data iSight formula to

set prices for out-of-network goods and services. Cigna also agreed that MultiPlan would negotiate

the price of out-of-network goods and services for Cigna if a provider pushed back on the prices

set by MultiPlan. Under this agreement, MultiPlan charged Cigna a fee equivalent to a percentage

of the underpayment generated by using MultiPlan’s pricing methodology. The exact percentage

that MultiPlan charged Cigna has been redacted in publicly available versions of the statement of

work.




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       175.    In 2018, Kaiser Foundation Health Plan of the Northwest (“Kaiser”) and MultiPlan

entered into a Medical Reimbursement Analysis Services agreement. In that contract, Kaiser

agreed to begin using MultiPlan’s out-of-network claims pricing methodology to set prices for out-

of-network goods and services instead of using its own independent pricing discretion to set the

prices for those goods and services. Specifically, Kaiser agreed to begin using MultiPlan’s Data

iSight formula to set prices for out-of-network goods and services. Kaiser also agreed that

MultiPlan would negotiate the price of out-of-network goods and services for Kaiser if a provider

pushed back on the prices set by MultiPlan. MultiPlan charged Kaiser a fee equivalent to a

percentage of the underpayment generated by using MultiPlan’s pricing methodology. Information

about the agreement was not made public until it was filed with the Washington State Insurance

Commissioner on January 20, 2022.

       176.    In 2016, several subsidiaries of Cambia, including Asuris Northwest Health,

Regence Blue Shield, Bridgespan Health Company, Regence Blue Cross Blue Shield of Oregon,

and Regence Blue Cross Blue Shield of Idaho, entered into written contracts with MultiPlan. In

those agreements, Cambia and its subsidiaries agreed to use MultiPlan’s pricing methodology

instead of exercising their own independent pricing discretion to set the prices for those goods and

services. Specifically, Cambia and its subsidiaries agreed to begin using MultiPlan’s Data iSight

formula to set prices for out-of-network goods and services. Cambia and its subsidiaries also



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agreed that MultiPlan would negotiate the price of out-of-network goods and services for Cambia

if a provider pushed back on the prices set by MultiPlan. Under this agreement, MultiPlan charged

Cambia and its subsidiaries a fee equivalent to a percentage of the underpayment generated by

using MultiPlan’s pricing methodology. Information about these agreements was not made public

until it was filed with the Washington State Insurance Commissioner in 2022 and 2023.

       177.    According to Griffin v. TeamCare, 909 F.3d 842, 844-45 (7th Cir. 2018), Central

States has agreed to use MultiPlan’s Data iSight methodology to set the prices paid to providers

for out-of-network goods and services. Id. at 844-45. Under this contract, Central States agreed to

use MultiPlan’s pricing methodology instead of exercising its own independent pricing discretion

to set the prices for those goods and services. Specifically, Central States agreed to begin using

MultiPlan’s Data iSight formula to set prices for out-of-network goods and services. Central States

also agreed that MultiPlan would negotiate the price of out-of-network goods and services for

Central States if a provider pushed back on the prices set by MultiPlan. Under this agreement,

MultiPlan charged Central States a fee equivalent to a percentage of the underpayment generated

by using MultiPlan’s pricing methodology.

       178.    On January 1, 2017, MultiPlan and Healthcare Highways entered into an

Amendment to their Master Services Agreement. Healthcare Highways agreed to use MultiPlan’s

pricing methodology instead of exercising its own independent pricing discretion to set the prices

for those goods and services. Specifically, Healthcare Highways agreed to begin using MultiPlan’s

Data iSight formulas to set prices for out-of-network goods and services. Healthcare Highways

also agreed that MultiPlan would negotiate the price of out-of-network goods and services for

Healthcare Highways if a provider pushed back on the prices set by MultiPlan. Under this

agreement, MultiPlan charged Healthcare Highways a fee equivalent to a percentage of the




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underpayment generated by using MultiPlan’s pricing methodology.

       179.    Upon information and belief, MultiPlan has entered into written contracts with

other competing payors, including Allied National, Benefit Plans Administrators, Blue Shield of

California, Blue Cross Blue Shield of Massachusetts, Blue Cross Blue Shield of Michigan, Blue

Cross Blue Shield of Minnesota, CareFirst, Centene, Elevance, HCSC, Highmark, Horizon,

Humana, Kaiser, Molina, Sanford, and, Secure Health, that require those payors to use MultiPlan’s

pricing methodology to set prices for out-of-network goods and services instead of using their own

independent pricing discretion to set the prices for those goods and services. Those agreements

obligate MultiPlan to negotiate the price of out-of-network goods and services for those payors if

a provider pushes back on the prices set by MultiPlan. Under these agreements, MultiPlan charged

those payors a fee equivalent to a percentage of the underpayment generated by using MultiPlan’s

pricing methodology. The exact terms of those agreements have not been made public because

they have not been filed with state insurance commissioners or on the public docket in litigation.

       180.    MultiPlan has taken steps to keep the terms of its agreements with competing

payors a secret by inserting confidentiality clauses into its contract with competing payors and

then bringing litigation to keep the terms of those contracts a secret. For example, MultiPlan has a

Service Agreement with Allied National under which Allied National uses MultiPlan’s out-of-

network pricing methodology instead of using its own pricing discretion. The Service Agreement

between MultiPlan and Allied National states that it is “Confidential Not For Distribution.” The

Service Agreement also contains a Confidentiality and Proprietary Rights clause, which defines

“Confidential Information” to include information relating to MultiPlan’s pricing methodology.

The Service Agreement prohibits Allied National from using that Confidential Information for any

reason other than using MultiPlan’s pricing methodology. When Allied National filed a third-party




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complaint in Butler v. Unified Life Insurance Company, et al., No. 17-cv-50 (D. Mont. Nov. 18,

2021) that contained three paragraphs describing MultiPlan’s pricing methodology, MultiPlan

sued Allied National for disclosing that information. Ultimately, Allied National removed the

unredacted filing from the public docket and redacted the three paragraphs describing MultiPlan’s

pricing methodology.

       181.    MultiPlan’s agreements with competing payors are also evident in preference

sheets that MultiPlan and its Co-Conspirators fill out memorializing the details of their pricing

agreements. Competing payors fill out preference sheets in which MultiPlan and the payors

specifically agree on the formulas that they will use to price specific types of out-of-network goods

and services and the maximum price that MultiPlan will set for those goods and services. Upon

information and belief, MultiPlan enters into these preference sheet agreements with every payor

that uses MultiPlan’s pricing methodology for out-of-network goods and services, including each

of the Defendants and Co-Conspirators.

       182.    Plan disclosures. In disclosure documents and explanations of benefits, competing

payors admit that they have entered into agreements with MultiPlan to use MultiPlan’s common

pricing methodology to set prices for out-of-network goods and services.

       183.    Blue Cross Blue Shield of Michigan has disclosed that it uses MultiPlan’s Data

iSight service in a public contract with a Michigan government employer group.

       184.    A June 1, 2017 Administrative Services Agreement between Owens & Minor

Medical, Inc. and a subsidiary of Elevance states that Elevance had begun using MultiPlan to set

prices for out-of-network goods and services. Specifically, Elevance began using MultiPlan’s Data

iSight pricing formula.

       185.    In a health plan disclosure from 2018, Centene’s subsidiary, Health Net, explained




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that it had started utilizing MultiPlan’s Data iSight formula to determine the maximum amount

that it would pay on out-of-network claims submitted by providers.

       186.    In a May 12, 2023 summary plan description for the Ashland County Employee

Benefit Plan, Benefit Plans Administrators explained that the plan had agreed to use MultiPlan’s

Data iSight formula to set the prices paid to providers for out-of-network goods and services.

       187.    A May 2017 draft agreement between Healthcare Highways and Oklahoma County

notes that Healthcare Highways had begun to use MultiPlan’s Data iSight formula to set the prices

paid to providers for out-of-network goods and services.

       188.    In Aetna’s 2021 National Accounts Self-Funded Medical Underwriting

Disclosures, Aetna noted that it uses MultiPlan’s Data iSight pricing formula for out-of-network

goods and services. Aetna’s May 2022 disclosures similarly state that Aetna uses MultiPlan’s Data

iSight formula to price out-of-network claims and that MultiPlan negotiates out-of-network pricing

on Aetna’s behalf.

       189.    A December 1, 2023 plan document and summary plan description that Consociate

Health drafted for Tazewell County, Illinois’ self-funded health benefit plan discloses the fact that

Consociate Health has agreed to use MultiPlan’s Data iSight pricing formula to set prices for out-

of-network goods and services.

       190.    According to a September 13, 2023 summary prepared for the City of Marshall,

Blue Cross Blue Shield of Minnesota contracts with MultiPlan to use its pricing methodology for

its payments to providers for out-of-network goods and services.

       191.    Public communications. In public statements, MultiPlan and other payors concede

the existence of their agreements to suppress out-of-network pricing competition.

       192.    On August 18, 2020, MultiPlan’s then-CEO, Mark Tabak, explained to investors




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that MultiPlan has entered into “multi-year contracts with the leading payors” to use MultiPlan’s

pricing methodology to adjudicate and price out-of-network claims. He explained that MultiPlan

underpays doctors and hospitals by “captur[ing] [out-of-network] claims” from competing payors

that contract to use MultiPlan’s pricing methodology.

       193.    MultiPlan acknowledges that it has entered into similar agreements with each of

the largest payors in the U.S., who would otherwise be competing with one another by exercising

their own independent pricing discretion when setting prices for out-of-network goods and

services. In 2021, Sean Crandell, the Senior Vice President of Healthcare Economics at MultiPlan,

testified under oath that “all of the top 10 insurers in the U.S.” have agreements with MultiPlan.

       194.    MultiPlan told investors the same thing in a 2020 presentation, specifically stating

that it has entered into agreements with United, Aetna, Cigna, Anthem, Humana, HCSC, Centene,

Kaiser, WellCare, and Molina:




       195.    At the 2021 Bank of America Leveraged Finance Conference, MultiPlan’s then-

Chief Financial Officer David L. Redmond stated that MultiPlan was typically “the sole source or

the primary source of all out of network claims [pricing] with the major payers.” Redmond

explained that Anthem (the predecessor to Elevance), Aetna, United, and Cigna were the four

largest users of MultiPlan’s out-of-network claims pricing methodology.

       196.    As of June 2023, MultiPlan touted that all of the top 15 payors in the U.S. have

agreed to use MultiPlan as their pricer for out-of-network goods and services. Each of those payors




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previously competed with MultiPlan’s PPO networks on the basis of claims adjudication and

pricing using their own pricing discretion prior to entering these agreements.

       197.    The competing payors also acknowledge that they have entered into agreements

with MultiPlan in communications with their subscribers. For instance, Secure Health sent a letter

to its members in April 2017 with both MultiPlan’s and Secure Health’s logos at the top of the

first page. The letter explained that Secure Health has “partnered with [MultiPlan’s] Data iSight

to review charges on out-of-network medical claims and bills to [] determine an appropriate fee

that the provider should be paid.”

       198.    According to a letter to the United Steelworkers Union dated October 26, 2017,

effective January 1, 2017, Highmark began using MultiPlan’s Data iSight formula to set prices for

out-of-network goods and services.

       199.    According to a May 2022 presentation to the New Mexico Public Schools Insurance

Authority, Blue Cross Blue Shield of New Mexico, a subsidiary of HCSC, disclosed that it was

using MultiPlan’s Data iSight formula to set prices for out-of-network goods and services.

       200.    In presentations to New Jersey public employee benefits plan administrators,

Horizon Blue Cross Blue Shield of New Jersey touted the amount of underpayments that Horizon

was generating using MultiPlan’s Data iSight formula. During these presentations, Horizon

officials conceded that in several cases Horizon and MultiPlan made more from the fees associated

with underpaying for out-of-network goods and services than the doctors and hospitals made from

providing the out-of-network care.

       201.    Similarly, in presentations to California municipalities, Blue Shield of California

has acknowledged that it uses MultiPlan’s pricing methodology to set prices for out-of-network

goods and services.




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        202.    Communications with providers. In addition, providers routinely receive

communications from MultiPlan in which MultiPlan concedes that it has “contracted with” various

payors—i.e., its competitors—and that the result of MultiPlan’s agreements with its competitors

is that the provider will be radically underpaid for its out-of-network goods and services. DAPs

have thousands of such notices in which MultiPlan admits to “contracting with” its competitors.

        203.    For example, in a July 2023 communication, MultiPlan informed a provider that it

has an agreement with Cigna to set the price of the provider’s out-of-network goods and services.

In it, MultiPlan informed the provider that it had “contracted with” Cigna and that, as a result of

that agreement, MultiPlan set a price of only $1,131.63 for a $15,041.36 bill for out-of-network

medical services—a 92.5% underpayment.11




        204.    In April of 2019, on behalf of Cigna, MultiPlan set a price for out-of-network goods

and services at $324 on a bill of $5,750.



11
  Pursuant to federal law, DAPs have redacted personally identifying healthcare information from this and
other examples. DAPs will provide Defendants with unredacted copies of these records when an appropriate
protective order is entered by the Court.



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       205.    Similarly, in November 2021, another medical provider submitted $4,500 in

charges incurred on November 13, 2021, to Anthem (a subsidiary of Elevance). MultiPlan

responded with a letter stating: “Anthem, Inc. has contracted with MultiPlan to facilitate resolution

of the above referenced services due to the Provider being out-of-network for this claim.”

MultiPlan set the price for those out-of-network goods and services at $673.65.




       206.    Likewise, in 2021, a provider submitted a charge of $3,700 to United. MultiPlan




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responded by setting a price of $323.58 “as payment in full.” MultiPlan also warned that the

provider could not “balance bill patient or patient’s family (except for deductible, coinsurance, and

non-covered items, if applicable).”

        207.    In 2019, a provider in Arizona submitted a bill for $1,190 to United. The claim was

paid at only $295.28. The Provider Remittance Advice form referred the member to Data iSight,

saying Data iSight would “work with the provider” on the member’s behalf. The form also advised

the provider that the bill had been paid using Data iSight and demanded that the provider not

balance bill the patient.




        208.    The same thing happened two months later to a provider in Pennsylvania. The

provider submitted a claim for $1,094 and was paid only $236.22.




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       209.   In March of 2019, a provider submitted a bill for $1,190 and was paid only $413.39

by “UNITED HEALTHCARE DIS.” “DIS” is a reference to MultiPlan’s Data iSight formula.




       210.   In January 2024, a provider submitted a bill to a TPA for $41,452.62. HST, a

MultiPlan company, responded by setting a price of $3,566.66 as “payment in full.”



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       211.    Jeffrey Farkas, MD, LLC submitted an out-of-network bill for $332,300 to Great-

West Healthcare d/b/a Cigna after performing a surgery on February 17, 2016, that saved a

patient’s life after she suffered a stroke and multiple brain aneurysms. MultiPlan responded with

a fax sent to Dr. Farkas’s office on June 13, 2018. The fax revealed that Cigna had sent the claim

to MultiPlan to take over negotiations: “Great-West Healthcare, now part of CIGNA has

contracted with MultiPlan to facilitate resolution of the above referenced services due to the

Provider being out-of-network for this claim. This agreement may expedite payment and decrease

the Patient’s responsibility.” MultiPlan set the price for Dr. Farkas’ life-saving brain surgery and

related services at $12,407, a difference of $319,893. MultiPlan also stated that if Dr. Farkas agreed

to that massive underpayment, Dr. Farkas could not bill the patient for the difference between Dr.

Farkas’ billed charges and the meager price that MultiPlan set for the life-saving brain surgery.

MultiPlan gave Dr. Farkas two days to decide whether to accept the take-it-or-leave-it offer.




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When Dr. Farkas pushed back on MultiPlan’s price, MultiPlan set an even lower price $7,499.77.

Following multiple rounds of MultiPlan pricing and negotiation, Cigna ultimately sent the provider

a $6,893.20 check. Dr. Farkas provided an invaluable service—saving a patient’s life. When Dr.

Farkas sent a bill for his services to Cigna, Cigna forwarded the bill to MultiPlan, and MultiPlan

set a price that was significantly below billed charges and significantly below the prices that would

have been paid for those services absent the cartel. MultiPlan exclusively negotiated with Dr.

Farkas, and each time Dr. Farkas pushed back on MultiPlan’s pricing, MultiPlan set a lower price.

That is how the MultiPlan Cartel works—once MultiPlan takes over pricing and negotiation for

its competitors, the provider cannot win; the only question is how much they will lose.

       212.    Explanations of Benefits. Members of the MultiPlan Cartel sent explanation of

benefits documents to patients admitting that the cartel members used MultiPlan’s pricing

methodology to set the prices paid for out-of-network goods and services.

       213.    For example, in a March 15, 2017 explanation of benefits, when Mercy Hospital

and Medical Center (now known as Insight Hospital and Medical Center) in Chicago, Illinois billed

$12,471.10 in charges for an emergency surgery and recovery, Allied National sent the claim to

MultiPlan to set a price for those out-of-network goods and services using MultiPlan’s Data iSight




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formula. Working on behalf of its competing TPA, Allied National, MultiPlan set the price for

those out-of-network goods and services at $5,847.13—a $6,623.97 underpayment. The

explanation of benefits listed the code “NAT011” next to the prices in Allied National’s

explanation of benefits. An explanation of codes section on the back of the explanation of benefits

notes that “NAT011” means “[f]ee determination made by Data iSight.”

       214.    Similarly, according to a March 16, 2017 explanation of benefits, the same hospital

provided $8,023.78 worth of out-of-network goods and services to a patient, and MultiPlan used

its Data iSight pricing formula to set the price for those services at $6,712.77—a $1,311.01

underpayment. That explanation of benefits also listed the code “NAT011” next to the prices set

by Allied National.

       215.    Emails, Meetings, and Other Direct Communications. DAPs also have evidence

concerning MultiPlan’s communications with members of the MultiPlan Cartel that shows how

this buyers’ cartel works in practice.

       216.    On July 1, 2017, United and MultiPlan entered into an explicit agreement to

suppress prices for out-of-network goods and services. United and MultiPlan implemented this

agreement on or around July 1, 2017, by means of an Amendment to the companies’ existing

Network Access Agreement.

       217.    Prior to 2017, it was not possible for United to utilize MultiPlan’s pricing

methodology. On January 14, 2009, United and several of its subsidiaries entered into a settlement

agreement to resolve claims made against the company in American Medical Association, et al. v.

United Healthcare Corporation, et al., No. 00-2800 (S.D.N.Y.), Orborski v. United Healthcare

Corporation, et al., No. 00-7246 (S.D.N.Y.), and Malchow, et al. v. Oxford Health Plans, Inc., et

al., No. 08-935 (D.N.J.). According to that settlement agreement, United was required to fund and




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facilitate the creation of FAIR Health, an independent database of out-of-network claims data.

Among other things, the settlement agreement required United to provide its out-of-network claims

data to FAIR Health for a period of five years after FAIR Health first released its database. During

that same five-year period, United was required to use FAIR Health to generate prices for out-of-

network claims and United was prohibited from owning, operating, or funding “any other database

product that provides data pooled from more than one insurer to the other health insurers for

determining [out-of-network] reimbursement rates.”12 Because the FAIR Health database became

operational in 2011, United was required to use FAIR Health until at least 2016 and could not use

MultiPlan’s pricing methodology.

        218.    Knowing that United could begin using MultiPlan’s pricing methodology around

late 2016 or early 2017, MultiPlan began recruiting United into the conspiracy in late 2015. On or

around October 1, 2015, MultiPlan sent United a presentation entitled “Data iSight: Maximize

Savings Using a Patented Methodology.” This presentation promised that United could

substantially increase its revenues if it stopped independently pricing out-of-network payments to

healthcare providers and used MultiPlan’s common pricing methodology instead.

        219.    MultiPlan induced United to join the MultiPlan Cartel by explaining that United’s

competitors had already entered into similar agreements with MultiPlan and by disclosing the

pricing levels adopted by those competitors. In 2016, MultiPlan’s former Chief Revenue Officer,

Dale White, wrote an email to United executives, explaining that 7 of United’s top 10 competitors

were using MultiPlan’s out-of-network pricing methodology. White encouraged United to do the



12
  As a technical matter, FAIR Health provides estimates of prices for healthcare goods and services based
on a distribution of billed charges for those goods and services. Prior to the MultiPlan Cartel, providers
used the FAIR Health database to make their own decisions about how much they would pay for out-of-
network goods and services. In most cases, the prevailing market rate for out-of-network goods and services
prior to the MultiPlan Cartel was between the 70% and 80% interval in the FAIR Health database.


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same, writing: “Implementation of these initiatives in 2016 will go a long way to bring United

back into alignment with its primary competitor group [i.e., Blues, Cigna, Aetna] on managing

out-of-network costs.”

       220.    One of the recipients of White’s email, Rebecca Paradise, United’s Vice President

of Out-Of-Network Payment Strategy, explained that a key factor in United’s decision to agree to

use MultiPlan’s out-of-network pricing methodology was that the methodology “was widely used

by our competitors.”

       221.    White, MultiPlan’s Chief Revenue Officer at the time, relayed to another United

executive, John Haben (then the Vice President of Networks at United), that, by agreeing to use

MultiPlan’s Data iSight formula, United would be in alignment with other competitors. Haben

subsequently wrote in an internal United email that, if United implemented Data iSight, United

would be in alignment “with a major competitor.”

       222.    White also held telephone calls and off-the-record meetings with officials at United

to convince them to join the MultiPlan Cartel. During these meetings, White explained that

MultiPlan could generate substantial streams of revenue by underpaying doctors and hospitals

using MultiPlan’s pricing methodology, that other payors were already using MultiPlan’s pricing

methodology successfully, and that United could set its prices for out-of-network goods and

services in alignment with its competitors using MultiPlan’s pricing methodology. White was

careful to cover his tracks. He shared the most competitively sensitive information with United

over the phone to avoid creating a written record.

       223.    In anticipation of beginning to use MultiPlan’s pricing methodology, in 2016

United and MultiPlan employees began working together to iron out the technical details of their

data connections and out-of-network pricing formulas. On April 21, 2016, Emma Johnson, the




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Director of Sales and Account Management for National Accounts at MultiPlan, sent an email to

Sarah Peterson (Director of Network Programs, United), Marie Rickmyer (Program Manager for

United Out-of-Network Affordability), and Amy Barker (Associate Director of Claims at United).

In that email, Johnson sought agreements from United on the maximum price that MultiPlan’s

Data iSight pricing formula would set for certain emergency room claims provided to MultiPlan

via United’s UNET claims processing system and claims underwritten by United’s Golden Rule

Insurance Co. (“GRI”) affiliate. In the email, Johnson wrote: “Please confirm your agreement”

that the maximum price that MultiPlan could set for emergency room claims “would be 350% of

[Medicare]” or the Data iSight price. In reality, because the Data iSight price is almost always

lower than 350% of Medicare (by design Data iSight generates prices that are around 200% of

Medicare), MultiPlan was seeking an agreement to fix the prices that United paid for out-of-

network goods and services at 350% of Medicare prices for those services. United subsequently

agreed with MultiPlan to set its pricing for those emergency medical services claims at 350% of

Medicare rates. MultiPlan’s PPO networks also began setting prices for the same services at 350%

of Medicare rates.




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       224.   MultiPlan provided confidential and competitively sensitive information

concerning the prices that United’s competitors were paying for out-of-network goods and services

to convince United to begin using MultiPlan’s common pricing methodology. In a September 8,

2016 email, John Haben, a United executive, indicated specific knowledge of competitors’ pricing

formulas adopted through Data iSight. He wrote that “MultiPlan said seven of our top ten

competitors use the tool today.” He continued: “BCBS [Blue Cross Blue Shield] is even more

aggressive and is accessing the option of moving DIS [Data iSight] up even higher to have


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IPR/OPR (R&C repricing) which is option 3 . . . .” In this email, Haben demonstrated specific

knowledge of the pricing “option” adopted by United’s competitive rival, Blue Cross Blue Shield,

in MultiPlan’s Data iSight formula. Testifying under oath, Haben conceded that this knowledge of

Blue Cross Blue Shield’s pricing formula came from MultiPlan. Haben testified that he provided

this information concerning Blue Cross Blue Shield pricing to other executives at United so that

they would be comfortable moving forward with using MultiPlan’s pricing methodology.

       225.    MultiPlan continued providing assurances to United that United could use

MultiPlan’s pricing methodology to be in alignment with the prices set by its competitors. In a

non-public presentation that MultiPlan made to United in early 2017, MultiPlan explained that its

proprietary pricing methodology would generate significant underpayments to providers on out-

of-network goods and services. In the same presentation, MultiPlan noted that its pricing

methodology would set out-of-network prices that were lower than the usual, customary, and

reasonable, or UCR,13 prices for out-of-network goods and services that had previously prevailed

in the market that existed prior to the MultiPlan Cartel.

       226.    Haben summarized MultiPlan’s proposal in a 2017 email and presentation he sent

to senior management at United entitled “OCM [Outlier Cost Management]-MultiPlan Benchmark

Pricing Overview.” In the email, Haben wrote: “Today, our major competitors have some sort of

outlier cost management; they use Data iSight. United will be implementing [Data iSight on] July

1, 2017.” In the same email, Haben explained that the agreement between United and MultiPlan

could cut United’s out-of-network claim payments “by $900 million” per year.



13
   As further described below, see ¶¶ 297-301, prior to the MultiPlan Cartel, out-of-network rates were
commonly determined by reference to a benchmark referred to as the “Usual, Customary, and Reasonable,”
or UCR, rate. “Usual and customary” is a term of art, regularly used and commonly understood within the
healthcare industry. “Reasonable and customary,” “usual and customary,” “U&C,” and like phrases denote
the same meaning and are used interchangeably in the industry.



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       227.    Haben wrote in a 2017 United internal presentation about implementing MultiPlan

that, “[b]y implementing Outlier Cost Management as currently planned, United catches up to the

pack[.]” In other words, based on its communications with MultiPlan, United knew that it would

be acting in parallel with its competitors by agreeing to use MultiPlan’s pricing methodology for

out-of-network goods and services.

       228.    United confirmed that it agreed to use MultiPlan’s pricing methodology to set

prices for out-of-network goods and services because it knew that its competitors were using the

same methodology. United wrote in a Customer Impact Advisory Brief that it was “utilizing Data

iSight, owned by MultiPlan, to administer [an outlier cost management program]. 90 other payors

nationwide use [Data iSight] in a similar manner.”

       229.    United has also admitted that it knows that each of its competitors use Data iSight.

During its opening statement to a jury in another case, United explained “[w]hat is undisputed is

that . . . every single one of United’s major competitors . . . all use MultiPlan and Data iSight,

every one.”

       230.    United tracked the amount of money that it underpaid healthcare providers using

MultiPlan’s out-of-network pricing methodology, which was a key component in “OCM,”

United’s acronym for “Outlier Cost Management.” United employees prepared a table with a

column entitled “No OCM,” meaning the additional amount that United would have paid on out-

of-network claims had United not agreed to use MultiPlan’s pricing methodology to set the prices

of out-of-network goods and services. That internal analysis shows that United’s agreement with

MultiPlan resulted in United underpaying doctors and hospitals hundreds of millions of dollars

each year.

       231.    After instructing competing commercial payors on how to be in “alignment,”




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MultiPlan pushed the MultiPlan Cartel to cut the prices for out-of-network goods and services

even further.

          232.   On March 13, 2018, MultiPlan officials met with United. During this meeting,

MultiPlan provided a presentation entitled “MultiPlan Update for UnitedHealthcare: 2017 in

Review.” During this presentation, MultiPlan noted that the agreement between MultiPlan and

United had successfully suppressed out-of-network prices and suggested ways to pay providers

even less.

          233.   Similarly, in a September 29, 2019 presentation to United entitled “Competitive

Landscape for Cost Management,” MultiPlan urged United to cut its out-of-network pricing even

further for particular out-of-network procedures. This meeting was attended by Haben, who took

contemporaneous notes of the meeting, which he sent to Rebecca Paradise, the Vice President of

Out-of-Network Payment Strategy for United. Thus, while MultiPlan, United, and their

competitors had already agreed to cut the prices set for out-of-network goods and services, they

were attempting to agree on ways to make the cartel even more effective by setting even lower

prices.

          234.   The same pattern that transpired with United also occurred with Cigna. MultiPlan

had a long-standing Network Access Agreement with Cigna that allowed Cigna to use MultiPlan’s

PPO network as a complementary network that would extend Cigna’s existing PPO network.

However, MultiPlan knew that Cigna was required to use the FAIR Health database to set out-of-

network prices as a result of Cigna’s settlement agreements with class action plaintiffs and the

New York Attorney General to resolve claims related to Cigna’s use of Ingenix. The earliest that

Cigna could begin using MultiPlan’s pricing methodology to set out-of-network prices was in 2015

or 2016.




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       235.    In advance of that 2015/2016 window of opportunity, MultiPlan began meeting

with Cigna to pitch Cigna on using MultiPlan’s common pricing methodology instead of

competing to set out-of-network prices independently.

       236.    Helpfully for MultiPlan, Cigna was also seeking a replacement for Ingenix. In 2015,

a Cigna employee sent an internal email regarding out-of-network pricing in which the employee

expressed concern with developing “[M]edicare equivalent” prices internally. The Cigna employee

said, “We cannot develop these [prices] internally (think of when Ingenix was sued for creating

out of network reimbursements)[.] We need someone (external to Cigna) to develop acceptable

Medicaid or otherwise acceptable [prices.]” Thus, Cigna still wanted to cut out-of-network prices,

it just needed someone else to be the ringleader of the scheme.

       237.    MultiPlan jumped at the opportunity to do so. Starting in 2014, MultiPlan began

meeting with Cigna to discuss MultiPlan’s pricing methodology for out-of-network goods and

services. The MultiPlan employees who attended the meetings included Dale White, MultiPlan’s

then-Chief Revenue Officer. The Cigna employees who attended these meetings included Terri

Cothron, Cigna’s Manager of National Ancillary & Non-Par Management.

       238.    During these meetings and presentations, MultiPlan explained to Cigna that many

other payors were already using its pricing methodology and that Cigna could increase its revenue

substantially by bringing itself into alignment with those competitors’ pricing methodology and

the prices that those competitors set for out-of-network prices via MultiPlan. MultiPlan’s

presentations to Cigna explicitly compared Cigna’s out-of-network pricing for particular types of

out-of-network goods and services to pricing of Cigna’s competitors and claimed that Cigna would

increase its revenue by hundreds of millions of dollars each year by using MultiPlan’s common

pricing methodology.




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       239.   Based on the understanding that Cigna would pay lower prices for out-of-network

goods and services by simultaneously using the same pricing methodology as its competitors,

Cigna agreed to let MultiPlan set and negotiate the prices for out-of-network goods and services

billed to Cigna beginning in April 2015.

       240.   After reaching an agreement with Cigna, MultiPlan continued to meet and

communicate with Cigna regularly to report on the underpayments generated by using MultiPlan’s

pricing methodology and to reach further agreements on how Cigna could pay healthcare providers

even less.

       241.   For example, in March 2016, officials from MultiPlan and Cigna met to discuss

ways that they could work together to reduce out-of-network payments. During this “Non-Par

Strategy Summit,” Cigna displayed a slide deck that outlined how the company planned to work

with MultiPlan to slash its out-of-network payments. Among others, this meeting was attended by

Terri Cothron, who was responsible for overseeing Cigna’s contractual relationship with

MultiPlan.

       242.   In advance of that meeting, MultiPlan sent Cigna an email with an attached

presentation entitled “2016 Network Development Meeting: A Client’s Perspective on Out-of-

Network Costs.” The presentation outlined how Cigna could redirect billions of dollars in out-of-

network payments away from providers and to itself and MultiPlan. During the March 2016

“summit,” a MultiPlan representative explained how MultiPlan’s out-of-network pricing

methodology worked and how it could significantly cut payments for out-of-network goods and

services.

       243.   After attending MultiPlan’s presentation at the March 2016 summit meeting,

Cothron confided to a co-worker that MultiPlan’s pricing methodology “scares me.”




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       244.    Nevertheless, Cigna continued to use MultiPlan’s pricing methodology for Cigna’s

out-of-network claims.

       245.    Cigna kept internal “Whitebook Reports” tracking how much money it earned by

underpaying providers using MultiPlan’s pricing methodology. Those reports contain line items

for each out-of-network claim and the corresponding underpayment generated by using

MultiPlan’s pricing methodology.

       246.    During private meetings with Cigna, MultiPlan crowed about how successful its

agreement with Cigna was in cutting payments to providers for out-of-network claims. In a slide

deck entitled “Cigna & MultiPlan Governance Meeting, June 21, 2021,” MultiPlan outlined that it

had worked together with Cigna to cut the prices set for out-of-network goods and services. The

message to Cigna was simple—the cartel was working.

       247.    Aetna and MultiPlan engaged in the exact same course of action as MultiPlan

engaged in with United and Cigna. Around the same time that MultiPlan was pitching United and

Cigna on the benefits of using MultiPlan’s pricing methodology, it was making the same pitch to

Aetna. MultiPlan explained that by using its common pricing methodology, Aetna would be in

alignment with its competitors on out-of-network pricing strategy and would be setting similar

prices for the same out-of-network goods and services. MultiPlan made its pitch to Aetna to use

the same pricing methodology for out-of-network goods and services as its competitors via in-

person meetings, presentations, and telephone calls.

       248.    Based on those assurances, Aetna and MultiPlan entered into a contract that, among

other things, required Aetna and MultiPlan to stop exercising independent discretion in setting

prices paid to out-of-network providers and to abdicate pricing discretion to MultiPlan. Then

MultiPlan and Aetna split the increased margins generated by underpaying out-of-network




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providers among themselves. Aetna paid MultiPlan a percentage of the underpayment generated

by MultiPlan’s claim suppression methodology ranging from approximately 10% to 15%. As a

result, for many out-of-network claims, MultiPlan and Aetna made more on the claim than the

provider did.

           249.   MultiPlan’s agreement with Aetna has led to massive underpayments to providers

for their out-of-network goods and services. For example, on September 18, 2020, a surgeon in

New Jersey performed a complex and invasive surgical procedure to alleviate a patient’s long-

standing lower-back pain. Prior to performing the surgery, the surgeon believed that Meritain

Health, an Aetna subsidiary, had pre-authorized an out-of-network charge of $348,900 for the

surgery and related care. Instead, on November 25, 2020, Meritain sent the surgeon an explanation

of benefits along with an electronic payment for $7,750.59—a $341,149.41 underpayment when

compared to the pre-authorization amount. Prior to performing the surgery, the surgeon was not

made aware that Meritain Health had an agreement with MultiPlan or that his services would be

subject to MultiPlan’s pricing methodology for out-of-network goods and services. So, even where

healthcare providers attempt to use prior authorizations to ensure that they will be paid adequately

for out-of-network care, the MultiPlan Cartel still underpays them using deceptive bait-and-switch

tactics.

           250.   To substantiate its effectiveness in suppressing out-of-network payments,

MultiPlan provided Aetna with regular reports showing the underpayments that MultiPlan’s

pricing methodology generated when it set the prices for out-of-network goods and services.

           251.   MultiPlan pushed Aetna to use MultiPlan’s common pricing methodology to pay

less and less to providers (and to pay MultiPlan more and more for doing so). Aetna did so based

on the understanding that its competitors were also using MultiPlan to cut out-of-network prices




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in a similar manner.

       252.    MultiPlan’s communications with United, Cigna, and Aetna are typical of how

MultiPlan markets its pricing methodology to competing payors. Upon information and belief,

MultiPlan has used similar communications, meetings, and presentations to convince BSCA,

BCBSMI, Blue Cross Blue Shield of Minnesota, Cambia, Centene, Elevance, HCSC, Highmark,

Horizon, Humana, Kaiser, Molina, Sanford, Allied National, Benefit Plans Administrators, Central

States, Consociate Health, Healthcare Highways, and Secure Health to join the cartel by using

MultiPlan’s common pricing methodology. In those meetings, communications, and presentations,

MultiPlan invited its competitors to use MultiPlan’s pricing methodology instead of exercising

their own discretion to set prices for out-of-network goods and services. Significantly, MultiPlan

told each payor that other payors were using the same methodology and that, by simultaneously

using the same pricing methodology, the payor could decrease the amount it pays for out-of-

network goods and services.

       253.    Once a payor accepts MultiPlan’s invitation to use the same pricing methodology

as its competitors, MultiPlan and the payor memorialize that agreement in a written contract.

       254.    After signing a contract, MultiPlan provides the payor with a constant flow of

competitively sensitive information via meetings, presentations, telephone calls, and video

conferences. This information includes comparisons between the prices that the payor is paying

for particular out-of-network goods and services and the prices that the payor’s competitors are

paying for the same out-of-network goods and services. The message from those presentations is

clear. Payors who are paying too much for out-of-network goods and services need to get in line

and set the same prices as their competitors. If the payors do so, they stand to benefit tremendously

by cutting payments to providers and increasing their revenues.




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       255.   Reporting from The New York Times confirmed that MultiPlan and competing

payors frequently exchange confidential and competitively sensitive pricing information in order

to effectuate the MultiPlan Cartel. The New York Times explained, “[a]s MultiPlan became deeply

embedded with major insurers, it pitched new tools and techniques that yielded even higher fees

[for MultiPlan],” by setting lower prices, “and in some instances told insurers what unnamed

competitors were doing, documents and interviews show.”

       256.   The fact that MultiPlan did not mention the names of some competitors is no saving

grace. MultiPlan provided payors with the information to identify who those unnamed competitors

were. The New York Times quoted Lisa McDonnel, a United executive, as writing in an internal

email that “Dale [White, the Chief Revenue Officer of MultiPlan,] did not specifically name

competitors but from what he did say we were able to glean who was who.”

       257.   MultiPlan holds several types of meetings and sends several types of

communications to its Co-Conspirators to reinforce the message that the competing payors should

be acting together to use MultiPlan’s pricing methodology to set low prices for out-of-network

goods and services.

       258.   MultiPlan engages in “road shows” in which it travels to competing payors and

provides updates on the claims pricing methodologies adopted by other competing payors.

       259.   MultiPlan executives Dale White and Susan Mohler are involved in these “road

show” presentations, wherein MultiPlan produces detailed descriptions of MultiPlan’s pricing

methodology, reviews the underpayments generated by those pricing methodologies, and offers

ways to further suppress payments for out-of-network goods and services.

       260.   MultiPlan prepares whitepapers for competing payors, which explain in detail how

MultiPlan’s pricing methodology lowers the prices set for out-of-network goods and services.




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MultiPlan routinely shares those whitepapers with other members of the MultiPlan Cartel.

       261.    These whitepapers are designed both to exchange information between competing

payors and to ensure that all payors agree to the underlying pricing logic embodied in MultiPlan’s

pricing methodologies.

       262.    MultiPlan maintains a Client Advisory Board that hosts annual multi-day retreats

for executives from MultiPlan and competing payors to discuss out-of-network pricing.

       263.    According to MultiPlan, the purpose of these meetings is to bring payors together

so that they “can talk amongst their peers” about several topics, including out-of-network pricing.

       264.    Similarly, Rebecca Paradise, Vice President of Out-of-Network Strategy for

United, testified at trial in Emergency Services of Okla. PC, et al. v. United Healthcare Ins. Co.,

No. CJ-2019-482 (Okla. Dist., Cleveland County) that United and competing payors attend

multiday “customer meeting[s]” hosted by MultiPlan where they discussed out-of-network

pricing.

       265.    Employees from MultiPlan and several competing payors attended meetings of the

Client Advisory Board. MultiPlan executives routinely attend meetings of the Client Advisory

Board, including Susan Mohler, MultiPlan’s Vice President of Marketing; Dale White, the former

CEO of MultiPlan; Bruce Singleton, MultiPlan’s former Senior Vice President of Network

Strategy; Michael McEttrick, MultiPlan’s former Vice President of Healthcare Economics; and

Sean Crandell, MultiPlan’s Senior Vice President of Healthcare Economics.

       266.    During Client Advisory Board meetings, MultiPlan executives presented slides

showing how little payors were paying providers as a result of using MultiPlan’s out-of-network

pricing methodology. These presentations also discussed how MultiPlan and the competing payors

could make more money if they all agreed to use MultiPlan’s pricing methodology even more




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aggressively to set even lower prices for out-of-network goods and services.

       267.    MultiPlan reassured the attendees of the Client Advisory Board meetings that their

industry-wide plan to underpay providers for out-of-network goods and services was safe. In

presentations at the Client Advisory Board meetings, MultiPlan referred to its common

methodology for underpaying claims as a “liability shield” for its Co-Conspirators.

       268.    Other presentations at the Client Advisory Board meetings took a whimsical

approach, asking attendees, “Is it magic or is it MultiPlan?” In reality, it was a cartel.

       269.    MultiPlan and its competing payors have attempted to keep these Client Advisory

Board meetings a secret by holding them off-site at luxury resorts, not recording the presentations,

and assuring the participants at the meetings that they are off-the-record. In deposition and trial

testimony concerning these Client Advisory Board meetings in other litigation, attendees at the

meetings incredibly state that they remember almost nothing about the meetings other than the fact

that they attended them. However, some information concerning the Client Advisory Board

meetings is publicly available.

       270.    In 2019, MultiPlan hosted a Client Advisory Board meeting at the luxury spa resort

Montage Laguna Beach in Orange County, California. Executives from MultiPlan, United, Aetna,

several Blue Cross Blue Shield plans, Cigna, Humana, Kaiser, Consociate Health, and several

other payors attended the event.

       271.    John Haben, the former Vice President of Networks for United, and Rebecca

Paradise, Vice President of Out-of-Network Payment Strategy for United, attended the 2019

MultiPlan Client Advisory Board meeting. Under oath, Paradise testified that “a lot of people in

the insurance industry” were also at the meeting. At the meeting, MultiPlan’s then-Vice President

of Sales and Account Management, Dale White, presented ways that commercial payors could




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“overcom[e] obstacles” with respect to cutting out-of-network pricing. Paradise also testified that

the participants in this Client Advisory Board meeting, “talk[ed] about things they’ve

implemented, other things they’re looking at” with respect to setting prices for out-of-network

goods and services.

       272.    MultiPlan also uses the Client Advisory Board meetings to invite payors to join the

MultiPlan Cartel. According to a 2017 MultiPlan document, the 2015 Client Advisory Board

meeting featured prospective clients seated next to existing clients at dinner for this purpose.

MultiPlan expected its Co-Conspirators to endorse MultiPlan’s pricing methodology and the

effectiveness of the cartel during this dinner.

       273.    From September 26–28, 2021, MultiPlan’s Client Advisory Board returned to the

Montage Laguna Beach resort for another retreat.

       274.    The Client Advisory Board Meetings have social functions such as dinners, cocktail

hours, and golf outings where MultiPlan and competing payors discuss their experience using

MultiPlan’s pricing methodology to cut prices for out-of-network goods and services in a less

formal setting. The photograph below shows Anthony Gonzalez, a MultiPlan sales executive, Ziad

Rubaie, the former Chief Business Development Officer at Consociate Health, and Darren

Reynolds, the CEO and President of Consociate Health, at a cocktail party during the 2021 Client

Advisory Board Meeting.




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       275.   MultiPlan has hosted Client Advisory Board meetings on a regular basis. The Client

Advisory Board met in person each year from 2015 to 2023, with the exception of the meeting in

2020 (which occurred remotely due to the COVID-19 pandemic).

       276.   MultiPlan’s Client Advisory Board meetings continue to this day, despite the

extensive government and media scrutiny into MultiPlan’s anticompetitive conduct. In November

2024, the MultiPlan Client Advisory Board met at the Montage Laguna Beach resort in Laguna

Beach, California.

       277.   In addition to the secret whitepapers and off-the-record conclaves at luxury resorts,



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MultiPlan facilitates regular agreement between payors concerning underpaying providers for their

out-of-network goods and services in ad hoc sales meetings.

       278.    MultiPlan holds regular internal meetings of its sales and national account teams.

These meetings occur at least quarterly and at times occurred as often as monthly. MultiPlan

employees who attended these meetings included, at least, Dale White, Monica Armstrong,

Jacqueline Kienzle, Emma Johnson, Susan Dominy, Anthony Gonzalez, and Matthew Butler.

       279.    During these meetings, MultiPlan employees discuss the current out-of-network

underpayments that members of the MultiPlan Cartel are making for particular types of out-of-

network goods and services. If MultiPlan identifies an instance where a payor is, in MultiPlan’s

judgment, paying too much for an out-of-network good or service, the sales and national account

team identifies this as an “opportunity” for the payor to pay providers less for that service.

MultiPlan’s national accounts team and sales team are incentivized to do this because MultiPlan

makes more revenue every time that a payor pays less for an out-of-network good or service.

MultiPlan’s sales employees are specifically incentivized to push these payors to set lower prices

for out-of-network goods and services via MultiPlan’s pricing methodology because their bonuses

and performance evaluations are tied to the amount of underpayments generated by payors using

MultiPlan’s pricing methodology.

       280.    MultiPlan’s national accounts team and sales team created a list of these

opportunities to make more money by advising other payors to underpay providers.

       281.    Then, MultiPlan’s sales and national accounts teams, with the assistance of

MultiPlan’s Senior Vice President of Healthcare Economics, Sean Crandell, and Senior Vice

President of Marketing and Product Management, Susan Mohler, created presentations to payors

that contained charts comparing that payor’s payments to providers for particular out-of-network




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goods and services to the payments made by competing payors.

       282.    The presentations also contained specific recommendations about how the payor

(and MultiPlan) could make more money by underpaying providers for those out-of-network

goods and services at rates similar to their competitors.

       283.    MultiPlan’s    sales   and    national   accounts   employees    presented   these

recommendations and pricing comparisons to other payors on a regular basis.

       284.    The message of these presentations was clear. Payors could make more money by

underpaying providers. They could do so safe in the knowledge that they would not be undermined

by other payors deciding to pay more for the same service, which would have allowed providers

to point to those higher payments as a justification for requesting competitive payments for their

services in pricing negotiations.

       285.    Every member of the MultiPlan Cartel would benefit from that payor cutting its

payments for particular out-of-network goods and services. MultiPlan would make more money,

the payors would make more money, and the other payors would know that their fellow cartel

members were holding the line on underpaying for out-of-network goods and services.

       286.    These regular presentations allowed the MultiPlan Cartel to monitor and enforce

their cartel agreement to stop competing on out-of-network pricing, use a common pricing

methodology, and profit from underpaying providers.

       287.    These meetings provided a forum in which members of the MultiPlan Cartel

reaffirmed their participation in the buyers’ cartel. MultiPlan and the payors met one-on-one,

discussed ways to underpay providers, and agreed on a recommended course of action based on

what competing payors were paying for the same out-of-network goods and services. MultiPlan

communicated that other payors were underpaying for out-of-network goods and services, the




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payors knew that their competitors would be underpaying for the same services as well, and the

payors agreed to make similar underpayments.

                iii.   MultiPlan and its Competitors Engaged in Parallel Pricing Conduct

        288.    MultiPlan and its competitors engaged in multiple forms of parallel pricing

conduct. That parallel conduct cannot be explained as merely payors having similar reactions to

similar competitive pressures within an interdependent market. Instead, MultiPlan and its

competing payors engaged in parallel pricing conduct that is consistent with each member of the

MultiPlan Cartel abiding by a preceding agreement to use a common pricing methodology to set

the prices that they paid for out-of-network goods and services.

        289.    Fundamentally, each Co-Conspirator engaged in the same pricing strategy. They

adopted MultiPlan’s pricing methodology and stopped using their own pricing discretion. They

did so in a tight time period. While the exact dates that some payors agreed to start using

MultiPlan’s pricing methodology to set prices for out-of-network goods and services are presently

unknown, the facts that are available demonstrate that payors began to use MultiPlan’s pricing

methodology in the roughly three-and-a-half year period between April 2015 and November 2018.

               Date                                        Agreement

 April 2015                      Cigna signs Amendment to MultiPlan’s Network Access
                                 Agreement concerning use of Data iSight pricing methodology

 2016                            Cambia enters into agreement with MultiPlan to use Data iSight

 January 1, 2017                 Highmark begins using MultiPlan’s Data iSight pricing
                                 methodology

 January 1, 2017                 Healthcare Highways signs Amendment to Master Services
                                 Agreement with MultiPlan

 April 2017                      Secure Health begins using MultiPlan’s Data iSight pricing
                                 methodology




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 May 2017                        Elevance discloses that it has started using MultiPlan’s Data
                                 iSight pricing methodology

 October 2017                    United signs Amendment to MultiPlan’s Network Access
                                 Agreement concerning use of Data iSight pricing methodology

 2018                            Centene discloses that it has started using MultiPlan’s Data
                                 iSight pricing methodology

 2018                            MultiPlan enters into agreement with Kaiser regarding use of
                                 Data iSight

 November 2018                   Aetna signs Amendment to MultiPlan’s Network Access
                                 Agreement concerning use of Data iSight pricing methodology


        290.    Payors likely would have agreed to use MultiPlan’s pricing methodology in closer

proximity to one another had several major payors, including United and Aetna, not been

prohibited from doing so by their settlements in the Ingenix investigation.

        291.    Not only did members of the MultiPlan Cartel enter into agreements to outsource

their pricing authority for out-of-network goods and services to MultiPlan, their use of MultiPlan’s

common pricing methodology also generated parallel prices for the same out-of-network goods

and services.

        292.    MultiPlan generates parallel out-of-network prices even when the FAIR Health or

UCR rates for those services differ substantially. As the table below shows, the FAIR Health

database indicates that the out-of-network price for the same CPT code should differ substantially

by geography, but MultiPlan generated the same price for all the claims regardless of location.




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  CPT                                           Submitted      70% of FAIR          MultiPlan
                  Location         Date
  Code                                            Claim          Health          Pricing/Payment

 99284          Wyoming        1/21/19        $799            $654.36            $413.39

 99284          Arizona        1/25/19        $1,212          $1,062.60          $413.39
 99284          New            1/25/19        $1,047          $632.52            $413.39
                Hampshire
 99284          Oklahoma       2/8/19         $990            $903.84            $413.39
 99284          Kansas         2/10/19        $778            $837.48            $413.39
 99284          New Mexico     2/19/19        $895            $1,136.52          $413.39
 99284          California     3/25/19        $937            $667.80            $413.39
 99284          Nevada         3/30/19        $763            $778.68            $413.39
 99284          Pennsylvania   5/20/19        $1,094          $760               $413.39

Had the competing payors been using market-based UCR rates to set prices, they would have

calculated different prices for out-of-network services performed in different locations. Instead,

because the competing payors used MultiPlan’s common pricing methodology, they generated

parallel prices for those out-of-network procedures.

         293.     This parallel pricing makes no economic sense absent the existence of a conspiracy.

Because the cost of care in Manhattan, New York, is higher than in Manhattan, Kansas, all

legitimate methods of paying out-of-network claims account for the geographic difference between

where care is administered. The only plausible explanation for this uniform pricing is that

MultiPlan and its competitors agreed on pricing caps that have the effect of setting the same price

for a particular out-of-network service regardless of where it is performed.

         294.     MultiPlan executives admit under oath that MultiPlan’s out-of-network pricing

methodology leads to parallel pricing. Significantly, Sean Crandell, MultiPlan’s Senior Vice

President of Healthcare Economics, admitted that MultiPlan’s pricing methodology ended out-of-

network pricing competition by pricing the claims of all payors the same. Under oath, he testified:

            Q.       During the same time period, 2017 to 2020, was the out-of-network pricing
                     recommended by Data iSight to United the same or different as that
                     recommended to [United’s] competitors?



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            A.      It was the same.

         295.    In the same testimony, Crandell was asked: “[I]f the Data iSight tool is used among

various different companies in the industry, do the recommended payment rates generated by Data

iSight tool vary depending on which client you’re running that calculation for?” Crandell

answered: “No.” When asked whether the tool could even factor in who the client is, he answered:

“No, it can’t. The system that generates the methodology cannot even factor in [who] the client

[is].”

         296.    In addition, MultiPlan facilitated a parallel transition away from a marketplace in

which payors used their own discretion to set prices for out-of-network goods and services at

prevailing market rates to a coordinated regime in which payors cut payments to providers. This

transition was a radical structural break from how payors had behaved previously that cannot be

explained by normal competitive factors.

         297.    Prior to the MultiPlan Cartel, MultiPlan and its rival payors competed against each

other by independently setting the prices at which they would pay out-of-network goods and

services provided to patients enrolled in their respective networks.

         298.    For decades, out-of-network rates were commonly determined by reference to the

UCR rate. A UCR rate represents a percentile value—usually the 75th to 85th percentile—

calculated from the billed charges of providers in the same geographic area. A percentile value

indicates a specific point within a dataset expressed as a percentage. For example, a median is the

50th percentile—50 percent of the values in the data fall below it, 50 percent above it.

         299.    UCR rates helped control healthcare costs for out-of-network goods and services

while preserving each payor’s ability to set its own out-of-network prices. As William Marino, the

former President and CEO of Horizon, explained to the U.S. Senate Committee on Commerce,



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Science, and Technology in 2009, UCR was “designed to permit payment amounts that would be

predictable, change with market-based changes in prevailing payments, and keep insurance costs

in check by eliminating excessive charges from the insurance pool.” UCR was, and is, a less-

restrictive alternative to the MultiPlan Cartel. It provided payors with a means of combatting what

some payors believed were high prices for out-of-network goods and services while still setting

prices independently based on market conditions.

       300.    Each of the members of the MultiPlan Cartel used FAIR Health or similar UCR

rates to set prices for out-of-network goods and services prior to joining the cartel. Under the terms

of a class action settlement in 2010, United and other payors were required to use FAIR Health for

five years. However, after these obligations ended, various payors made parallel decisions to

abandon FAIR Health/UCR and join the MultiPlan Cartel.

       301.    By joining the cartel, they jettisoned their prior approach to setting prices for out-

of-network goods and services using their independent discretion.

       302.    As federal antitrust regulators have explained, “replac[ing] once-independent

pricing decisions with a shared algorithm” like the MultiPlan Cartel has done constitutes illegal

price-fixing. In other words, when “competitor’s jointly delegat[e] key aspects of their

decisionmaking to a common algorithm,” they “deprive the marketplace of independent centers of

decisionmaking” and violate Section 1 of the Sherman Act.

       303.    The same is true here. The MultiPlan Cartel extinguished horizontal competition

by delegating industry-wide pricing authority for out-of-network goods and services to MultiPlan.

For healthcare providers, this makes independent, individualized out-of-network pricing

negotiations impossible. It also allows MultiPlan and its Co-Conspirators to dramatically suppress

out-of-network prices far below what they would have been but for the MultiPlan Cartel.




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       304.    As a result of this industry-wide pricing transition engineered by MultiPlan, UCR

prices for out-of-network goods and services, once the industry standard, has gone by the wayside.

Debra Nussbaum, an employee of Optum, which is a subsidiary of United, testified at a deposition

in In re: Out of Network Substance Use Disorder Claims Against UnitedHealthcare, No. 19-cv-

02075 (C.D. Cal.), that “when [she] first started with Optum/United Behavioral Health, many plans

were utilizing reasonable and customary or UCR,” and that “over time, [she has] seen a major shift

to other out-of-network reimbursement methodologies.”

       305.    Members of the MultiPlan Cartel also engaged in parallel conduct by charging

exorbitant fees to subscribers in exchange for using MultiPlan’s common pricing methodology to

lower payments for out-of-network goods and services.

       306.    In order to profit even more from using MultiPlan’s pricing methodology to set low

prices for out-of-network goods and services, the cartel members added new terms to their ASO

contracts at or around the time that they began using MultiPlan’s pricing methodology. In addition

to the PMPM fees (see supra ¶ 94), those ASO contracts also required self-insured groups to pay

a percentage (as high as 35%) of the difference between a billed out-of-network charge and the

amount paid for those out-of-network goods and services, known as the “shared savings fee.”

Often, that fee was higher than the amount paid to the doctor or hospital performing the out-of-

network goods and services.

       307.    United disclosed that its “shared savings program” was directly linked to its use of

MultiPlan’s pricing methodology. A notification concerning Nokia Corporation’s ASO plan notes

that Nokia participates in a “shared savings program” administered by United. That notice states

that the shared savings fees associated with that program are based on the underpayments

generated by MultiPlan’s Data iSight formula.




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       308.    In addition, Aetna created the “National Advantage Program,” or NAP. Under the

NAP, ASO subscribers to Aetna’s PPO plans paid Aetna a substantial portion of the underpayment

generated by Aetna’s agreement to use MultiPlan’s pricing methodology.

       309.    These shared savings agreements generate tremendous profits for competing payors

at the expense of providers. United made approximately $1.3 billion from its shared savings

program in 2020 alone. Moreover, in an internal presentation, United stated that it intended to cut

its out-of-network payments by $3 billion by 2023 in order to generate even higher shared savings

payments from ASO subscribers.

       C.      MultiPlan Receives, Pools, and Commingles Proprietary and Confidential
               Pricing Data to Set and Negotiate Prices for its Competitors’ Out-of-Network
               Goods and Services

       310.    The precise nature of how MultiPlan suppresses prices for out-of-network goods

and services is non-public and proprietary. However, some details are available in the public

record. Those details show that MultiPlan receives petabytes of competitively sensitive and

proprietary pricing data from its competitors and that it commingles and pools that data into a

dataset that it uses to set and negotiate prices for out-of-network goods and services.

       311.    MultiPlan’s pricing methodologies work by virtue of deep technological

connections between MultiPlan and its competitors. Pursuant to their agreements with MultiPlan,

competing payors send their out-of-network claims to MultiPlan via an electronic data connection.

These claims come to MultiPlan with detailed information, such as the procedure code, dates of

service, the billed amount, and an alphanumeric code indicating whether the claim is subject to a

payor’s previously disclosed UCR out-of-network rates.

       312.    During an interview on the September 16, 2024 DataFramed podcast, MultiPlan’s

Vice President of Data & Decision Science, Jocelyn Jiang, affirmed that MultiPlan receives its

data directly from its competitors: “Typically those claims data come directly from the insurance


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companies and then we have a series of ingestion data processing steps to normalize and

standardize those data coming from the insurance company.”

       313.    The granular and real-time healthcare pricing and claims data that MultiPlan and

its competitors share every day on a massive scale is confidential and competitively sensitive.

       314.    MultiPlan and its competitors have long recognized that the prices they pay for out-

of-network goods and services are confidential and competitively sensitive. In the January 1, 2010

Network Access Agreement between MultiPlan and United, United and MultiPlan agreed that

United could not use MultiPlan’s price for in-network or out-of-network care to develop United’s

own PPO networks. The parties agreed that if United used MultiPlan’s pricing information, that

conduct “would cause irrevocable harm to [MultiPlan] and that [MultiPlan] shall be entitled to

injunctive relief” to prevent United from using MultiPlan’s pricing data.

       315.    In addition, MultiPlan’s Network Rental Agreements with its competitors routinely

define the term “proprietary and confidential information” to include “all internal business

practices and business records, including, but not limited to, information concerning products,

pricing, contracts or business methods in any form whatsoever, not including information

otherwise in the public domain.” This includes the rates paid to providers for in-network and out-

of-network care, which MultiPlan and its Co-Conspirators regularly agree to hold “in strict

confidentiality.”

       316.    Furthermore, in an April 1, 2016 declaration submitted under penalty of perjury in

Federal Trade Comm’n v. Advocate Health Care Network, et al., 15-cv-11473 (N.D. Ill.), Randall

Fortuna, who was at that time the Regional Director for MultiPlan’s PPO networks in Illinois,

Minnesota, Wisconsin, North Dakota, and South Dakota, testified that data concerning out-of-

network claims pricing was “highly confidential and sensitive commercial business information”




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that MultiPlan did not want to expose publicly.

       317.    Fortuna explained that MultiPlan stores claims pricing information for its own PPO

networks and its competitors’ PPO networks on a proprietary, commingled database known as the

EnterPrice System. A small number of MultiPlan employees working in MultiPlan’s Healthcare

Economics department have direct access to that system, and those employees receive regular

confidentiality training and sign attestations that they will, and have, kept claims data on the

EnterPrice System confidential.

       318.    However, that confidentiality guidance means little in practice. MultiPlan’s

Healthcare Economics team routinely provides confidential pricing information drawn from the

EnterPrice System to MultiPlan’s sales and national accounts teams. Those sales executives

routinely funnel highly confidential information to MultiPlan’s competitors in order to convince

them to set lower prices using MultiPlan’s common pricing methodology.

       319.    Nonetheless, MultiPlan’s competitors continue to share their competitively

sensitive claims pricing data with MultiPlan. MultiPlan then pools and commingles this data to set

prices for out-of-network claims both for its own payments to healthcare providers and for its

competitors’ out-of-network payments to healthcare providers.

       320.    Once MultiPlan receives confidential and competitively sensitive pricing

information from its competitors via a data link, that data is loaded into MultiPlan’s “Claims

Savings Engine,” known internally as FRED. FRED is a massive repository of incoming claims

data from nearly all of the payors in the U.S. Pursuant to the contracts between MultiPlan and its

competitors, FRED routes the data to one of several proprietary pricing formulas owned by

MultiPlan. Those formulas set the price for the out-of-network goods and services at issue by

determining how little the MultiPlan Cartel can pay the healthcare provider for that good or service.




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       321.    These pricing formulas are based on commingled and pooled sets of competitor’s

pricing and claims data. Data iSight provides a good example of how commingling and pooling

plays into the process of setting out-of-network prices using MultiPlan’s pricing formulas.

       322.    In a secret whitepaper dated June 2019, entitled “Data iSight Product and

Methodology Inpatient Module,” MultiPlan explains the methodology Data iSight uses to generate

prices for inpatient claims. Data iSight begins by compiling “a national benchmarking group that

contains claim and cost data for cases of like severity in hospitals with characteristics that match

those of the hospital on the claim being analyzed.” This same benchmarking process is employed

by every single payor that uses Data iSight to set prices for out-of-network goods and services.

When providers generate a claim, all payors using Data iSight use the same benchmark group to

generate pricing offers for claims from that hospital. Thus, MultiPlan pools and commingles all of

the competitor pricing data that it has in its system into a single benchmarking dataset that it uses

to set prices for out-of-network goods and services.

       323.    The next step, according to the whitepaper, is to “adjust costs of all comparison

cases based on hospital’s wage index.” Once again, in this step, all payors using Data iSight are

using the same methodology—an adjustment based upon the claim-generating hospital’s wage

index—to determine the price set for those out-of-network goods and services.

       324.    The third step is to “calculate the median benchmark cost of the service,” according

to the whitepaper. MultiPlan pulls the data in this step from the Hospital Provider Cost Report

Information System which is maintained by CMS. Again, this methodology is common to all

payors who use Data iSight to set prices for out-of-network goods and services.

       325.    In the final step, Data iSight applies “standard overrides” which set upper and lower

bounds on the prices its system would otherwise generate. These overrides “are always in place”




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and “establish the upper and lower limits for the Data iSight price” for all payors who use Data

iSight to set prices. These “overrides” set the maximum price that MultiPlan will set for a particular

out-of-network good or service. When a payor agrees to use MultiPlan’s pricing methodology,

they agree to use a “default override” set to a certain percentage of Medicare pricing for the same

good or service. In fact, Sean Crandell, MultiPlan’s Senior Vice President of Healthcare

Economics, has testified under oath that Data iSight applies “operational overrides” on top of

overrides accepted by individual payors. These operational overrides help keep payors’ prices in

alignment.

       326.    In another secret whitepaper, entitled “Data iSight Facility Methodology,”

MultiPlan explains the Data iSight formula it uses to set prices for outpatient goods and services.

It describes a process similar to the one for inpatient claims. The whitepaper also explains that

MultiPlan pools and commingles payors’ data to generate benchmarks and conversion ratios used

to set the price for outpatient goods and services. As with the inpatient pricing methodology,

MultiPlan and its competitors agree on overrides, including default overrides, that set the

maximum price that will be paid for a particular good or service.

       327.    A U.S. patent (U.S. Patent No. 8,103,522) filed by MultiPlan’s subsidiary National

Care Network, LLC, also describes MultiPlan pooling and commingling payors’ data to set prices

for out-of-network goods and services using the Data iSight pricing formula.

       328.    The first step in this process is pooling and commingling the data. The patent

explains that when MultiPlan receives an out-of-network claim, it groups that claim into a refined

diagnosis related group (“rDRG”)—a standardized method of grouping insurance claims used by

Medicare and some commercial health insurance networks that categorizes medical services on

the basis of severity and complexity.




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       329.    Then, MultiPlan identifies all claims at similar hospitals for the same rDRG code.

In other words, MultiPlan pools and commingles all claims for the same out-of-network goods and

services from the same provider to have a basis from which it can set prices for that provider.

       330.    Next, MultiPlan attempts to estimate the hospital’s cost of providing that rDRG-

coded service based on: (1) that group of hospitals’ cost report submissions to CMS, and (2) the

wage index of the hospital submitting the out-of-network claim.

       331.    Next, MultiPlan calculates the markup and margin for each submitted rDRG-coded

out-of-network claim using a standard equation that applies to all payors’ out-of-network claims.

       332.    MultiPlan’s promotional materials refer to this as a “cost-up” methodology for

setting prices for out-of-network facility claims, since it involves calculating an estimate of the

healthcare provider’s costs for furnishing out-of-network care and setting an out-of-network price

based on that assumed marginal cost of providing care. So, MultiPlan and its Co-Conspirators

agree upon a profit margin that the MultiPlan Cartel will allow healthcare providers to realize on

their out-of-network facility claims.

       333.    Once MultiPlan calculates the estimated margin for a given out-of-network claim,

it applies a conversion factor based on the median price that the provider accepts for the same good

or service using the commingled and pooled data that MultiPlan receives from competing payors.

       334.    MultiPlan’s Pro Pricer pricing algorithm also uses a massive commingled data set

to generate prices for out-of-network goods and services. According to MultiPlan’s marketing

materials, Pro Pricer “leverages 40+ years of data” by using that commingled and pooled out-of-

network pricing data to train the Pro Pricer algorithm on the “optimized” price to set for a particular

out-of-network good or service.

       335.    Once MultiPlan has set the price for a provider’s out-of-network goods and




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services, it communicates that price to the provider via email, an online portal, a letter, or a fax. In

these communications, MultiPlan notes that it is working with the payor—i.e., its own

competitor—to set the price for the out-of-network goods and services at issue.

           336.   In nearly all cases, the provider is forced to accept the price that MultiPlan sets

despite that price being significantly below the UCR/FAIR Health rate for the out-of-network

goods and services in question. In the rare cases where a provider can push back on MultiPlan’s

pricing, the prices that the provider is paid are still below the UCR/FAIR Health rate.

           337.   Moreover, providers cannot collect the balance of their charges from patients or

any other source.

           338.   For example, for emergency services, federal and state laws prohibit healthcare

providers from balance billing patients for the difference between the payments received from a

payor for out-of-network goods and services and the provider’s billed charges.

           339.   Likewise, MultiPlan’s communications with the providers specify that, when a

provider accepts MultiPlan’s price, they are prohibited from balance billing the patient for the

portion of the provider’s fees that was not paid by the MultiPlan Cartel.

           340.   That is why providers do not balance bill patients for the difference between the

payments received from a payor for out-of-network goods and services and the provider’s billed

charges. They are prohibited by law and/or the Cartel itself from doing so. Thus, as Leif Murphy,

the President and CEO of TeamHealth, explained in an April 19, 2019 email: “We don’t balance

bill[.]”

           341.   As a result, DAPs cannot make up the underpayment caused by the MultiPlan

Cartel by seeking payment from another source. Nor are the DAPs’ damages contingent upon them

not receiving payments from patients on balance bills. The proximate cause of the DAPs’ damages




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is the MultiPlan Cartel.

       342.    In fact, in some instances after MultiPlan sets the price for an out-of-network good

or service, MultiPlan’s competitor simply pays the provider that amount and discloses the fact that

MultiPlan set the price for the out-of-network good or service in the fine print of an explanation

of benefits or remittance advice form.

       343.    For example, United sends provider remittance advice forms to healthcare

providers telling them how much they will be paid for out-of-network goods and services. Buried

in the notes section of those forms, United explains that the remark code “IS” indicates that the

price for an out-of-network service was actually set by MultiPlan, not the payor.




       344.    Similarly, so many Blue Cross Blue Shield health plans use MultiPlan’s pricing

methodology that several Blue Cross Blue Shield plans have adopted the remark code “ZCN” in

remittance advice to refer to instances where out-of-network prices were set using MultiPlan’s

Data iSight pricing formula.

       345.    If a provider attempts to push back on the prices that MultiPlan sets for out-of-


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network goods and services, MultiPlan uses commingled and pooled pricing data to enforce the

cartel. MultiPlan’s fee negotiation, or FNX, team accesses this data to determine how little they

can agree to pay a provider for out-of-network goods and services. A member of MultiPlan’s FNX

team can see in granular detail the out-of-network prices that a provider has accepted for particular

goods and services. This detailed pricing data allows MultiPlan to pinpoint exactly the point at

which a provider will “break” and accept the cartel’s out-of-network pricing.

       346.    The sharing of competitively sensitive information is not a one-way street.

MultiPlan provides competitively sensitive information concerning competing payors’ claims

pricing to its competitors in order to perpetuate the MultiPlan Cartel.

       347.    MultiPlan’s Healthcare Economics team works with MultiPlan’s sales and national

accounts teams to prepare presentations that explicitly compare payors’ pricing for out-of-network

goods and services. MultiPlan’s pricing methodology accesses this competitive data to generate

underpayments to providers for out-of-network goods and services. The purpose of those

presentations is to garner further agreements among the payors that they will set even lower prices

for out-of-network goods and services.

       348.    The pricing data exchanged through MultiPlan is detailed and enables identification

of particular claims and particular payors. The pricing information is also current. It is

competitively sensitive and not publicly available. Exchanges of current pricing data tied to

particular companies—standing alone—can have pernicious effects on competition and violate

Section 1 of the Sherman Act.

       349.    The purpose of this information exchange was to depress prices paid to providers

for out-of-network goods and services and keep those prices artificially low. Exchanging this

pricing information makes economic sense only as a means to suppress prices for out-of-network




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claims. Payors furnished this information to MultiPlan with the understanding and desire that their

competitors would use it to suppress prices for out-of-network goods and services. Competitors

would otherwise not exchange large volumes of competitively sensitive pricing information.

       350.    The routine exchange of information among MultiPlan and its competitors occurred

simultaneously with an industry-wide shift away from market pricing toward prices for out-of-

network goods and services set by MultiPlan. Without access to competitors’ sensitive competitive

information, members of the MultiPlan Cartel would have no choice but to compete against one

another to provide adequate compensation to providers for out-of-network care.

       351.    As described below in ¶¶ 629-660, the information exchange that MultiPlan

facilitates is not reasonably necessary to further any procompetitive purpose. Even if it had some

procompetitive purpose (which it does not), the information exchange could have been achieved

by far less restrictive means, such as through independently run data sources like FAIR Health.

       352.    The Antitrust Division of the DOJ has signaled increased scrutiny of competitors

sharing data with one another through intermediaries such as MultiPlan.

       353.    Information exchanges used to be tolerated in the healthcare sector under so-called

“safety zones” discussed in various policy guidance from the Antitrust Division.

       354.    In February 2023, however, the Antitrust Division withdrew that policy guidance.

As Doha Mekki, the Principal Deputy Assistant Attorney General for the Antitrust Division,

explained: “[T]here may be markets and industries where long-held sensibilities about when

information exchanges are more benign than harmful are insufficiently sensitive to market

developments and thus fail to capture the broader range of harm in the modern economy. . . . A

softening of competition through tacit coordination, facilitated by information sharing, distorts free

market competition in the process.”




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       355.     In addition, the Antitrust Division has provided “examples of conduct that can harm

competition in healthcare.” With respect to anticompetitive uses of healthcare data, the DOJ

provides the example of an “insurer shar[ing] detailed utilization or claims data among

competitors.”

       356.     That is exactly what happened here. At every point that matters, MultiPlan is using

commingled and pooled confidential pricing data to effectuate the cartel. MultiPlan ingests

confidential claims data into a single repository each time that a payor uses MultiPlan’s common

pricing methodology. Publicly available information shows that the pricing formulas/algorithms

used in MultiPlan’s common pricing methodology use commingled confidential pricing data.

MultiPlan enforces the cartel using a team of MultiPlan employees armed with access to a data set

containing granular, current, and commingled confidential pricing data. And MultiPlan generates

further agreements to ratchet down the prices set for out-of-network goods and services by

funneling current confidential pricing data to competing payors.

       D.       MultiPlan Enters into Agreements with its Competitors to Set the Maximum
                Price for Out-of-Network Goods and Services

       357.     In addition to entering into agreements to use the same pricing methodology to set

the prices for out-of-network goods and services, MultiPlan and its Co-Conspirators enter into

agreements to fix the maximum prices they will pay for particular out-of-network goods and

services. MultiPlan and its Co-Conspirators referred to these maximum pricing agreements as

overrides.

       358.     These maximum pricing agreements were entered into around the same time that

MultiPlan and its competitors entered into agreements to use MultiPlan’s common pricing

methodology. Over time, MultiPlan and its competitors entered into agreements to lower the

maximum prices they would pay for out-of-network goods and services, further slashing the



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amounts they paid to doctors and hospitals for out-of-network goods and services.

         359.   MultiPlan and each of the competing payors that use its pricing methodology agree

on an override price that will be the maximum price that MultiPlan sets for a particular type of

claim. These agreements can be found in both written contracts and documents called preference

forms.

         360.   For example, in 2019, United agreed to further suppress out-of-network pricing for

emergency room claims using overrides. Starting in March 2019, MultiPlan and United agreed to

cut payments for emergency room services from 350% of Medicare pricing to 250% of Medicare

pricing. That price cut was rolled out to providers throughout 2019.

         361.   Scott Ziemer, Vice President of Customer Solutions – Network at UMR (a United

subsidiary), testified under oath that MultiPlan recommended that United use a pricing formula

that capped out-of-network payments at 250% of Medicare rates. Ziemer further admitted that “we

[United] don’t give . . . instruction” to MultiPlan regarding what prices to set, and instead simply

“rely” on MultiPlan’s algorithm to determine the payment amount.




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       362.   On February 11, 2021, United and MultiPlan agreed to set the maximum price for

out-of-network emergency room services even lower—at 150% of Medicare. This agreement was

memorialized in a change request form.




       363.   In an internal MultiPlan email dated February 18, 2021, MultiPlan employee Tina

Smith explained: “UHC would like to change [Data iSight]pricing for ASO & FI [fully insured]

ER that is currently at 250% of CMS or [Data iSight] whichever is greater to 150% of CMS

(remove the greater of language), if no CMS value, use 40% of billed charges.” In a March 12,

2021, email chain, United employees further discussed moving ER claims to the lesser of Data

iSight and 150% of Medicare for ASO and fully insured clients.



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         364.   Numerous other payors, including MultiPlan itself, utilize these price caps to set

the maximum prices for out-of-network goods and services. MultiPlan’s PPO network also states

in plan disclosure documents that it sets maximum prices for goods and services at 150% of

Medicare charges. Cigna, Aetna, Blue Cross and Blue Shield plans, Humana, Molina, Centene,

and other payors have all agreed to use price caps for out-of-network services.

         365.   The fact that MultiPlan and its competitors agreed to use a percentage of Medicare

pricing to set the maximum out-of-network prices is particularly significant.

         366.   In a secret August 2019 whitepaper titled “A Better Reference for Pricing:

Avoiding the Pitfalls of Charge- and Medicare-Based Methodologies When Pricing Non-

Contracted Claims,” that was disseminated to United and others, MultiPlan confided that

Medicare-referenced pricing was “inherently misleading” because most people “do [] not

understand how low Medicare rates are.” The whitepaper continued, “[t]he gap between [billed

charges] and the barebones Medicare reimbursement can be significant.”

         367.   In that same whitepaper, MultiPlan admits that “[t]he use of Medicare as the basis

for calculating out-of-network reimbursement creates a flawed equation from inception,” and that

“there is no guarantee the resulting allowed amounts will cover a provider’s costs.” Thus, not only

did MultiPlan and United agree to fix prices, they did so in a way that they knew was intentionally

misleading and would generate significant underpayments for providers.

         368.   As the American Medical Association has explained, “there is no relationship

between the Medicare fee schedule and usual, customary, and reasonable fees” for out-of-network

goods and services. In fact, Medicare payments have not been related to UCR fees for twenty

years.

         369.   What the MultiPlan Cartel is doing is sleight-of-hand. They are replacing the prior




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independent pricing discretion that had resulted in UCR prices for out-of-network goods and

services prior to the cartel with a collective pricing regime that may sound reasonable to outsiders,

but that everyone involved in medical billing understands is a massive underpayment and a radical

break with the prior pricing practices in this industry.

       370.    If a payor does not want to go along with the maximum prices set by MultiPlan,

MultiPlan retains the contractual power to force the payor to implement MultiPlan’s chosen

maximum price for an out-of-network good or service. In its agreements with payors, MultiPlan

reserves the right to set its own maximum price for an out-of-network good or service to ensure

that the cartel remains cohesive.

       371.    The MultiPlan Cartel did not use these agreed-upon common pricing

methodologies to generate fair or reasonable prices for out-of-network goods and services; it used

those common pricing methodologies to ensure that the insurer Co-Conspirators could fix the exact

amount they wanted to pay providers.

       E.      MultiPlan Enters into Agreements with its Competitors to Act as the Sole
               Negotiator for Out-of-Network Prices

       372.    MultiPlan enters into agreements with its Co-Conspirators under which MultiPlan

negotiates the price for out-of-network goods and services with healthcare providers after

MultiPlan sends a pricing notice to that healthcare provider. MultiPlan and its Co-Conspirators

refer to this as “fee negotiation and benchmarking services” or “FNX.”

       373.    By appointing a single negotiator of all their out-of-network prices, MultiPlan and

competing payors deprive providers of the competition that would naturally flow from multiple

payors making their own decisions about how to negotiate the prices of out-of-network goods and

services with providers. If they had multiple negotiations against multiple payors, providers could

use the competitive dynamics, and those multiple negotiations would eventually result in a more



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competitive prevailing price for out-of-network goods and services relative to the cartel prices that

MultiPlan imposes on healthcare providers.

       374.    MultiPlan’s FNX agreements end that competition. In the same way that it would

be illegal for every company in a market to appoint a single executive to negotiate all employment

contracts for all their employees, it is illegal for a broad swath of payors to agree that MultiPlan

will negotiate the prices that they pay for out-of-network goods and services.

       375.    In the instances where MultiPlan “negotiates” the prices it sets for out-of-network

goods and services as a part of the FNX program, the negotiations are one-sided and are

negotiations in name only. Because MultiPlan and its competing payors have agreed not to

compete with one another, the question in these negotiations is not whether the healthcare provider

will be harmed by the MultiPlan Cartel, but by how much.

       376.    In addition, because competing payors have agreed to share their competitively

sensitive claims data with MultiPlan, any “negotiations” start from a stacked deck. MultiPlan’s

negotiators have access to a database containing every payment that a provider has ever accepted

for a particular out-of-network procedure from any payor that contracts with MultiPlan. Using this

expansive and commingled dataset with dozens of payors’ confidential pricing data, MultiPlan can

pinpoint precisely the least amount that a provider will accept for a particular out-of-network good

or service.

       377.    MultiPlan’s FNX agreements also serve to reinforce the cartel agreement to use the

same pricing methodology. Because MultiPlan takes over the pricing negotiation between a payor

and a provider, payors cannot deviate from the prices set by MultiPlan. Indeed, if MultiPlan

negotiates on the insurer’s behalf, the agreement between MultiPlan and the payor provides that

the payor “shall pay the healthcare provider in accordance with the . . . negotiated reimbursement




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amounts negotiated by” MultiPlan.

       378.    Many payors have disclosed that they have agreed that MultiPlan will negotiate the

amounts that they pay for out-of-network goods and services either through public disclosures or

through their conduct. For example, a “Grievances and Appeals/Inquiry Directory” published by

Humana directs providers who “disagree with the claim payment [they] received” to initiate a

negotiation not through Humana, but “via the MultiPlan Provider Portal” or by calling a MultiPlan

customer service phone number or sending a message to a MultiPlan email address. And, as noted

above, Cigna, United, and Aetna all used MultiPlan to negotiate their out-of-network payments.

       379.    MultiPlan incentivizes its FNX team to impose the lowest possible payments for

out-of-network goods and services. In fact, MultiPlan employees describe an internal culture and

incentive structure which discourages them from negotiating reasonable rates with providers. The

New York Times reported that employee bonuses are tied to payment reductions, quoting former

MultiPlan negotiator Kajuana Young, who said, “I knew they were not fair,” in reference to the

prices generated by MultiPlan.

       380.    Medical practices interviewed by The New York Times confirmed their inability to

negotiate over prices generated by MultiPlan. The New York Times interviewed a healthcare

provider’s office manager who said “[i]t’s not a real negotiation” when MultiPlan transmits offers

of payment on behalf of insurers. The New York Times further reported that “[i]nsurers can set

negotiation parameters for MultiPlan, including not negotiating at all, records and interviews show.

. . . Multiple providers and billing specialists said that in recent years they had increasingly been

told their claims weren’t eligible for negotiation.”

       F.      There is Substantial Circumstantial Evidence that MultiPlan Enters Into
               Agreements with Competing Payors to Suppress Prices Paid for Out-of-
               Network Goods and Services

       381.    Because DAPs have cited extensive direct evidence of the MultiPlan Cartel


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agreements, no circumstantial evidence is needed to infer the existence of the cartel. Nevertheless,

reams of circumstantial evidence support the existence of the cartel.

       382.     Here, multiple economic “plus factors” support the existence of MultiPlan’s

collusive agreements to suppress out-of-network pricing competition, including: (1) high market

concentration in the relevant market, (2) high barriers to entry, (3) ample motive to participate in

the MultiPlan Cartel, (4) a history of prior collusion, (5) numerous opportunities to collude,

including those directly facilitated by MultiPlan, (6) actions against self-interest that make sense

only as part of a cartel agreement, (7) evidence of cartel enforcement mechanisms, (8) pervasive

and systematic information exchange between cartel members, and (9) customary patterns and

courses of dealing that can be explained only by the existence of a cartel agreement. These “plus

factors” equally support the existence of agreements between MultiPlan under a horizontal price-

fixing conspiracy, a “hub-and-spoke” conspiracy, and a vertical price-fixing conspiracy resulting

in an unreasonable restraint of trade.

                i.     High Collective Market Concentration

       383.     Defendants and their Co-Conspirators have obtained a high degree of collective

market share and market concentration on the buyer side of the Out-of-Network Goods and

Services Market, see ¶¶ 514-573. MultiPlan claims that all of the top 15 payors (and many

hundreds more as well) use its pricing methodology to set prices for out-of-network goods and

services.

       384.     MultiPlan itself acknowledges this high level of market concentration on the buyer

side of the Out-of-Network Goods and Services Market. In an August 18, 2020 Analyst Day

presentation, MultiPlan wrote that “[t]he health insurance sector has consolidated to four top

insurers,” all of whom use MultiPlan’s pricing methodology to set prices for out-of-network goods

and services.


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       385.    The high degree of concentration in the buyer side of the Out-of-Network Goods

and Services Market is a plus factor indicating that it is susceptible to conspiratorial price-fixing

by the MultiPlan Cartel. Where there are fewer buyers in a market, that makes collusion between

those buyers relatively easier than in diffuse markets with many buyers.

               ii.     High Barriers to Entry

       386.    There are high barriers to entry into the buyer side of the Out-of-Network Goods

and Services Market. To even gain a foothold, new payors face formidable challenges. They need

to be able to bear the extreme expenditures of time and money required to develop a network of

healthcare providers large enough to compete as a payor. Even if a new entrant opted not to develop

an insurance network, there would still be significant capital outlays required in order to rent a

complementary network and operate as a payor. New payors would also face the formidable

challenge of contending with the economies of scale enjoyed by the large incumbent payors.



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Establishing name recognition in an industry occupied by long-entrenched and well-recognized

major players presents an additional hurdle.

       387.    If a new payor elected to operate as an insurance company, it would also face an

actuarial risk. If a new insurance company cannot balance claims paid and revenue generated

through premiums or network access fees (such as ASO fees), their capital surplus would be

depleted.

       388.    There are also steep regulatory hurdles to market entry for payors that elect to

operate as insurance companies. The provision of health insurance is regulated at the federal level

and each state has its own varying regulations for the industry, leading to a patchwork system that

is difficult for new entrants to navigate. This patchwork is also ever-changing, as new legal and

regulatory requirements are created on a regular basis.

       389.    Even if a new entrant is initially successful, it must survive long enough to develop

a broad base of business which allows it to effectively spread risk amongst its insureds.

       390.    These barriers to entry further cement the dominance of the MultiPlan Cartel by

ensuring that new entrants who reject the MultiPlan Cartel’s price-fixing scheme cannot

undermine the cartel’s ability to impose artificially low rates on healthcare providers for out-of-

network goods and services.

       391.    These high barriers make it unlikely that a new entrant could disrupt the MultiPlan

Cartel and support an inference of collusive agreements.

               iii.   Motive to Conspire

       392.    MultiPlan and the members of the MultiPlan Cartel have a massive financial motive

to underpay providers for their out-of-network goods and services. MultiPlan is paid a percentage

of the underpayment that its pricing methodology generates. In other words, it makes money only

if the cartel is successful in suppressing out-of-network pricing competition; and when the cartel


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pays less money to providers for out-of-network goods and services, MultiPlan makes more

money.

         393.   The fees that MultiPlan’s competitors pay it for suppressing out-of-network pricing

competition are significant. At one point, Aetna paid MultiPlan 12% of “savings” as a fee for

MultiPlan suppressing out-of-network pricing competition.

         394.   The MultiPlan Cartel also generates fees from its ASO clients, known as “shared

savings” fees. Under this structure, MultiPlan and the payors collect a percentage of the purported

“savings”—calculated as the difference between a provider’s billed charges and the drastically

reduced amount the payor ultimately pays based on MultiPlan’s methodologies. The ASO client

pays this “shared savings” fee, which is often 35% or more, and that payment is divided between

MultiPlan and the payor. Through this incentive structure, the MultiPlan Cartel’s conspiracy not

only results in underpayments to healthcare providers but also transforms these underpayments

into bounty profits for cartel members. The cartel has a direct incentive to pay providers less

because the less the cartel pays providers the larger their bounty profits. The gross payments to

MultiPlan are also significant. In one year, United paid MultiPlan $300 million for generating

underpayments for out-of-network goods and services. That $300 million payment accounted for

up to 20% of MultiPlan’s annual revenue that year.

         395.   Likewise, payors are incentivized to pay less for out-of-network goods and services

to increase their own profits. For example, in an internal email, United executives stated that by

“driving all OON [out-of-network] claims to a more aggressive pricing,” United could generate

more profits than if it continued paying out-of-network claims at UCR rates.

         396.   The motives of MultiPlan and its competitors are aligned because the less the

MultiPlan Cartel pays to healthcare providers, the more revenue and profits they get to keep for




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themselves. As MultiPlan stated in a presentation to investors, competing payors’ “incentives are

completely aligned” with MultiPlan’s own incentives. Similarly, in MultiPlan’s 2023 10-K,

MultiPlan said: “our revenue model is aligned with the interests of our customers.”

        397.    While companies are disincentivized from entering into cartel agreements by

antitrust law, MultiPlan strongly implies to its competitors that its out-of-network pricing scheme

is entirely legal by offering to enter into formal contracts and pitching its pricing methodology as

a “liability shield.”

                iv.     Prior Industry Collusion

        398.    It is easier for firms in a market to conspire with one another if they have done so

before. Because payors could not collectively control out-of-network rates through legally

enforceable contracts with providers (which is the way that they have traditionally controlled in-

network rates), they attempted to enter into illegal cartel agreements to suppress out-of-network

payment on multiple occasions.

        399.    In 1996, United formed a wholly owned subsidiary called Ingenix. United then

acquired both of the previously independent UCR databases, Medical Data Research (in 1997) and

Prevailing Healthcare Charge System (in 1998). For the next decade, the UCR database was

controlled by United.

        400.    Other insurers quickly signed on to use Ingenix’s new database and agreed to

contribute to that database by sending their competitively sensitive claims and payment data to a

subsidiary of their competitor (United).

        401.    In 2008, the New York Attorney General began investigating Ingenix. The

investigation was soon followed by a lawsuit filed by the American Medical Association and an

investigation by the U.S. Senate’s Committee on Commerce, Science, and Transportation.

        402.    The investigations concluded that “the out-of-network system [was] broken.” As


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one of the lawyers leading the New York investigation later explained to the Senate Committee:

“Reasonable and customary rates are supposed to fairly reflect market rates, but our investigation

revealed that Ingenix [was] nothing more than a conduit for rigged information that [was]

defrauding consumers of their right to fair reimbursement for their out-of-network healthcare

costs.” Although insurers promised plan members in their policy documents to pay based on UCR

rates, they instead paid “based on schedules compiled by one of their own, the nation’s [then]

second largest health insurer, which has an interest in depressing reimbursement rates.” The

Ingenix schedules were “unreliable, inadequate and wrong.”

       403.    The investigations showed that Ingenix’s database resulted in out-of-network

claims being underpaid by 10% to 28% depending on the service involved.

       404.    In early 2009, the New York Attorney General entered into a series of consent

decrees with United and a total of 11 other insurers that participated in the Ingenix scheme,

including Aetna, Cigna, and HealthNet.

       405.    On January 13, 2009, United entered into a settlement with the New York Attorney

General under which United agreed to shut down the Ingenix database and contribute $50 million

toward the creation of a new, independent database that would house more aggregated information.

That database became known as FAIR Health.

       406.    On January 15, 2009, Aetna entered into a settlement with the New York Attorney

General under which it agreed to end its relationship with Ingenix and to contribute $20 million

toward the creation of FAIR Health. It further agreed to use the new database for a period of five

years, and not to “own, operate, or fund any other database product that provides data pooled from

more than one insurer to other health insurers for determining reimbursement rates.”

       407.    Similarly, on February 18, 2009, WellPoint, Inc. (the predecessor to Elevance)




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agreed to end its relationship with Ingenix and pay $10 million toward the creation of FAIR Health.

The WellPoint settlement included the same requirement to use the new database for five years

and restriction on owning or operating any other database product.

       408.    The Ingenix scheme also led to massive civil settlements. For instance, United paid

$350 million to settle a class action.

       409.    Following the settlements, FAIR Health was created as a non-profit company

overseen by Syracuse University. FAIR Health was designed to collect, verify, and maintain

insurers’ claims data, and to calculate fair, transparent, and accurate UCR benchmarks for use by

healthcare providers and insurers.

       410.    The database became operational in approximately January 2011. The insurers’

five-year obligation to use FAIR Health ended in late 2015.

       411.    When insurers’ obligations under their settlements with the New York Attorney

General to use the FAIR Health database lapsed, insurers still had the same incentive to collude to

depress out-of-network rates. But now, the prior vehicle for that collusion—Ingenix—was no

longer available. MultiPlan filled the gap.

       412.    As a result of this prior collusion, the Co-Conspirators knew one another and knew

that they could trust each other to collude on out-of-network pricing, they knew that using a

common pricing methodology was a plausible way to reach an agreement to limit out-of-network

pricing competition, and they knew that they could count on one another not to alert the

government to the existence of a buyers’ cartel. However, each of the largest payors knew that

they alone could not develop another scheme to suppress out-of-network prices because the

government would recognize its unlawfulness.

       413.    MultiPlan has been clear that its out-of-network pricing methodology serves




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effectively the same purpose as the Ingenix scheme that resulted in the sprawling Attorney General

investigation and multi-million dollar penalties. MultiPlan marketed its pricing methodology as an

“alternative to Ingenix.”

               v.      Opportunities to Conspire

       414.    The MultiPlan Cartel has ample opportunities to conspire, which support an

inference of agreements to conspire. As described above, see ¶¶ 215-287, MultiPlan itself

facilitates extensive private communications between competing payors, which provide the setting

and opportunity for them to conspire.

       415.    Members of the MultiPlan Cartel have additional opportunities to conspire through

other industry meetings. For example, many of them, including most of the largest commercial

health insurance payors, are members of industry associations such as AHIP (formerly “America’s

Health Insurance Plans”). Co-Conspirators, including Aetna, Centene, Cigna, CVS Health,

Elevance, HCSC, Humana, and many others, are members of AHIP.

       416.    As AHIP states, it “plays an important role in bringing together member companies

and facilitating dialogues to advocate on shared interests.”

       417.    AHIP’s Board of Directors is a “who’s who” of payor executives, including:

                   Paul Markovich, President and CEO of Blue Shield of California;

                   Daniel Loepp, President and CEO of Blue Cross Blue Shield of Michigan;

                   Jared Short, President and CEO of Cambia;

                   Sarah London, CEO of Centene;

                   David Cordani, Chairman and CEO of Cigna;

                   Karen S. Lynch, President and CEO of CVS Health (the parent company of

                    Aetna);




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                    Gail K. Boudreaux, President and CEO of Elevance;

                    Maurice Smith, President, CEO and Vice Chair of HCSC;

                    David L. Holmberg, President and CEO of Highmark;

                    Gary St. Hilaire, President and CEO of Horizon;

                    Bruce D. Broussard, President and CEO of Humana;

                    Greg A. Adams, Chair and CEO of Kaiser; and

                    Joseph Zubretsky, President and CEO of Molina.

       418.    AHIP hosts conferences, committee meetings, and board meetings multiple times

a year where its members participate in private, closed-door meetings.

       419.    In 2023, MultiPlan sponsored AHIP’s Annual Conference. MultiPlan

representatives attended AHIP’s 2023 Annual Conference from June 13–15 in Portland, Oregon.

       420.    The fact that members of the MultiPlan Cartel regularly gather together at closed-

door retreats, ad hoc meetings, secret road shows, and at industry events such as AHIP’s

conferences, board meetings, and committee meetings is circumstantial evidence that their parallel

conduct is part of a common scheme to suppress out-of-network pricing competition.

               vi.      Actions Against Self-Interest

       421.    Payors that joined the MultiPlan Cartel have engaged in actions against self-interest

in at least two ways.

       422.    First, the agreements between MultiPlan and competing payors are economically

irrational absent the existence of a cartel. If a single payor entered into an agreement with

MultiPlan to shift away from UCR prices and to drastically underpay for out-of-network goods

and services, providers would simply refuse to treat insureds affiliated with that payor (absent a

scenario requiring treatment, such as emergency services). As a result, the payor would face




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serious harm to the value and breadth of its insurance offering as healthcare providers refuse

treatment, ultimately leading to a loss of subscribers.

       423.    Such an agreement, standing alone, would also expose a payor to significant time

and cost expenditures associated with pricing negotiations. While healthcare providers cannot

effectively negotiate with the MultiPlan Cartel due to the volume of MultiPlan pricing offers, a

single payor acting alone would face significant pushback from providers.

       424.    Absent a cartel, the net effect of using MultiPlan’s pricing methodology would be

reduced profits—the lower reimbursement rates from MultiPlan’s pricing algorithm would be

insufficient to offset the lower patient volumes, increased negotiation costs, and MultiPlan’s fee

for the payor. The only way the agreement with MultiPlan is not economically self-defeating is if

all or nearly all payors agree to join the MultiPlan Cartel.

       425.    MultiPlan acknowledges that, without industry coordination, a payor cannot single-

handedly slash the prices it sets for out-of-network goods and services. But, through MultiPlan,

which “can talk to the entire industry,” all payors can agree to join the MultiPlan Cartel and

eliminate the risks associated with individual price cutting.

       426.    Absent a conspiracy, payors would make independent decisions on how to pay out-

of-network claims, with the freedom to consider the specific circumstances underlying each

submitted claim, rather than automatically underpaying claims through MultiPlan’s across-the-

board methodology.

       427.    Even if competing payors had a unilateral economic incentive to keep out-of-

network claims effectively contained, they would not naturally agree to do so using the same

pricing methodology from the same provider, which also happens to be a rival payor. Instead, these

competitors should want to compete to find the optimal balance between keeping the costs of




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claims down, while also minimizing the costs of claims disputes that arise when payment offers

are too low.

       428.    But if the competing payors agree to implement the exact same pricing

methodologies, they can collectively maximize their profit while shielding themselves from the

costs of disputes. Since all Co-Conspirators adopt the same pricing methodology, providers have

no choice but to accept the prices set by that methodology.

       429.    Second, the payors that have joined the MultiPlan Cartel have refrained from

engaging in self-interested, unilateral conduct that would destabilize the cartel.

       430.    For example, it was against the unilateral economic self-interest of many individual

insurers to abandon using FAIR Health, which charges insurers a modest, flat annual fee. For

comparison, MultiPlan assesses its clients a fee for each claim where it sets and negotiates the out-

of-network price, which is based on a percentage of the difference between the billed amount and

the sum ultimately paid. For many insurers, these contingent fees far exceed the flat annual fee to

use FAIR Health benchmarks. Nevertheless, payors accounting for more than 80% of all out-of-

network payments to providers in the U.S. have collectively delegated their out-of-network pricing

decisions to MultiPlan, incurring significantly higher fees than FAIR Health. Payors would not

have switched to a more expensive pricing methodology unless they understood that they would

collectively benefit from using that agreed-upon methodology.

       431.    Similarly, MultiPlan’s competitors have abandoned efforts to in-source out-of-

network pricing authority despite the vast savings that such efforts would generate and—in at least

one case—despite spending considerable sums actually developing an alternative out-of-network

pricing methodology.

       432.    As the nation’s single largest payor, United could easily analyze its own historical




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claims database to ascertain the most efficient pricing levels for out-of-network payments. United

could then set prices for out-of-network goods and services based upon that data. This would allow

United to eliminate its reliance on MultiPlan’s pricing methodology, saving them hundreds of

millions of dollars per year in PSAV payments to MultiPlan.

       433.    In 2021, United created an out-of-network pricing methodology, known as

Naviguard, to do just that. One analyst described Naviguard as “an in-house replacement for

MultiPlan.” In addition, Rebecca Paradise, United’s Vice President of Out-of-Network Payment

Strategy, testified that Naviguard was designed to effectively take MultiPlan’s out-of-network

pricing methodology in-house:

               Q.     Basically, you’re going to replace MultiPlan, who’s
                      charging a fee, take it inhouse so that you y’all can make
                      the money. Right?

               A.     Well, we weren’t copying. Yes, we were looking for
                      solutions that we could support internally.

       434.    United planned to aggressively price the Naviguard product. Instead of taking a cut

of the difference between the billed charge and the allowed amount for out-of-network goods and

services, United planned to offer a fixed, per-member, per-month fee. As compared to “shared

savings fees,” this had the potential of dramatically lowering fees charged to its ASO clients. For

example, public meeting minutes from Hays County, Texas reflect that the county paid $263,000

in “shared savings fees” for MultiPlan’s services in 2019. Under the Naviguard pricing structure,

the county would pay only $2.50 per member each month, or $30,000 per year.

       435.    United developed a “road map” to terminate its contract with MultiPlan by 2023 in

anticipation of Naviguard coming online.

       436.    That plan was ultimately scrapped. After MultiPlan offered United a sweetheart

deal to stay in the cartel, United renewed its contract with MultiPlan in January 2023 instead.



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       437.    United’s expenditures on Naviguard and its subsequent decision not to bring out-

of-network pricing in-house are actions against self-interest, which make sense only in the context

of a horizontal conspiracy wherein MultiPlan is fixing prices amongst payors for out-of-network

goods and services.

       438.    Joining the MultiPlan Cartel makes very little sense for large payors, like United

and Cigna, that can afford to create their own in-house pricing methodologies. It costs millions of

dollars to build out the data links, associated information technology, and professional staff

necessary to transmit securely a high volume of real-time claims information to MultiPlan for

adjudication and pricing in less than 24 hours. It makes no economic sense for a payor to spend

that money building a data link so that it can share raw competitively sensitive information with a

competitor. The only rational explanation for taking on that sunk cost is that those payors believe

that they can recoup those costs through the windfall profits generated by the MultiPlan Cartel.

               vii.   Pervasive Exchanges of Competitively Sensitive Information

       439.    Competitors like the members of the MultiPlan Cartel would not exchange large

volumes of competitively sensitive pricing information in the absence of a cartel agreement.

       440.    However, MultiPlan and competing payors have agreed to exchange real-time,

confidential, and competitively sensitive data regarding out-of-network pricing. The data

exchanged is voluminous. In December 2021, MultiPlan had access to “over 3 petabytes of

structured claims data from across 700 payer customers.” By June 2023, MultiPlan touted that it

had “10+ petabytes of [claims] data.”

       441.    Indeed, during a deposition, when asked whether there was “any information that

MultiPlan would not provide for Cigna if Cigna asked,” the Cigna witness responded: “from my

experience, if I asked for information, they would provide it to me.” A United witness similarly

testified, “I have no reason for MultiPlan not to share or provide answers to any questions that we


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have asked.”

       442.    MultiPlan also facilitates ad hoc exchanges of competitively sensitive information

with other payors.

       443.    United representatives have admitted under oath that MultiPlan shares sensitive

information about competitors’ out-of-network pricing. Paradise was asked at trial in Emergency

Services of Okla. PC, et al. v. United Healthcare Ins. Co., No. CJ-2019-482 (Okla. Dist., Cleveland

County) whether she ever has “the opportunity to learn about what other insurers are allowing for

similar [out-of-network claims] amounts.” Paradise responded that “[f]rom time to time [United]

may see that information.” When asked for United’s “sources” of information on its competitors’

pricing, Paradise responded that MultiPlan was the source of that information.

       444.    MultiPlan uses this competitively sensitive and confidential data to bring payors

into alignment on underpaying healthcare providers for out-of-network goods and services. For

instance, in a March 2017 presentation entitled, “Analysis and Recommended Actions for

Enhancing Savings Results,” MultiPlan provided United with a chart comparing United’s

payments for out-of-network goods and services for ambulatory surgical centers, dialysis

treatment, hospital inpatient services, and hospital outpatient services. The chart compared United,

shown in the chart as “UNH” to three of its competitors, shown as “Client B,” “Client C,” and

“Client D.” The purpose of this chart was clear—United was paying too much for those out-of-

network services and it should lower its prices to match its competitors. Then, MultiPlan provided

United with several solutions for how United could pay providers less for out-of-network goods

and services. For example, MultiPlan recommended setting United’s maximum out-of-network

payment at 350% of the Medicare rate for particular out-of-network goods and services. According

to the presentation, taking that single step would generate “annual incremental savings of $73




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million for fully insured and $1.6 billion for ASO business.” Subsequently, United agreed that

MultiPlan should implement this 350% price cap on prices set for United’s out-of-network goods

and services when it implemented MultiPlan’s pricing methodology starting on July 1, 2017.

       445.    United subsequently used this information on its competitors’ out-of-network

payment strategies to inform how MultiPlan set prices for out-of-network goods and services on

United’s behalf. On May 8, 2017—just two months after MultiPlan delivered its “Analysis and

Recommended Actions for Enhancing Savings Results” presentation to United—United’s

Executive Council met to make a final decision about adopting MultiPlan’s out-of-network pricing

methodology. At that meeting, a presentation was given to United’s Executive Committee which

explained that one added “value” in outsourcing out-of-network pricing to MultiPlan was that

doing so “[l]evels [the] playing field with competitors.”

       446.    After United agreed to adopt MultiPlan’s out-of-network pricing methodology,

MultiPlan continued to funnel non-public information about competitors’ out-of-network pricing

to United in order convince United to set even lower prices for out-of-network goods and services

via MultiPlan’s common pricing methodology.

       447.    On September 27, 2018, Rebecca Paradise, the Vice President of Out-of-Network

Payment Strategy for United, sent an email to Jacqueline Kienzle, the Senior Vice President of

Sales and Account Management at MultiPlan, copying Dale White, the then-Executive Vice

President and Chief Revenue Officer at MultiPlan. In her email, Paradise made reference to a text

message that John Haben, the Vice President of Networks at United, had sent to White the day

before. Paradise requested that MultiPlan send United a chart comparing United’s out-of-network

payments to the out-of-network payments of three of its competitors. While this information was

supposed to be blinded, prior to providing the information to United, White asked MultiPlan’s




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Senior Vice President of Healthcare Economics, Sean Crandell, who the competitors listed in the

chart were so that he could provide that information to United.

       448.    The information exchanged by MultiPlan and the other members of the MultiPlan

Cartel is exactly the type of information exchange that the courts have recognized is likely to have

anticompetitive effects. First, the data exchanged is real-time pricing data, transmitted to MultiPlan

automatically through electronic data links from competing payors. Second, the data exchanged is

not blinded in any way. Third, the data exchanged is not publicly available—although hospitals do

publish some pricing information online, it is not updated in real-time. Fourth, the data is

granular—meaning that MultiPlan knows exactly what its competitors are charging for specific

medical services and procedures.

       449.    MultiPlan funnels the competitively sensitive pricing information that it receives to

its competitors in order to end pricing competition by adopting the same pricing methodology. For

example, MultiPlan disclosed the specific out-of-network pricing strategy used by Blue Cross Blue

Shield plans to United executives when recruiting United into the MultiPlan Cartel. United

executive John Haben included this competitively sensitive information in a September 8, 2016

email to Lauren Paidosh (another United executive) and later conceded under oath that he received

it from MultiPlan.

       450.    Payors enter the MultiPlan Cartel knowing that MultiPlan will share their

commercially sensitive pricing information with other existing and prospective members of the

MultiPlan Cartel.

       451.    While MultiPlan shares reams of information about its proprietary pricing

methodology with competing payors, it keeps the same details hidden from providers. When a

provider reached out to MultiPlan to learn more about its pricing methodology in July 2019,




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MultiPlan’s executives decided to withhold key information from the provider. In an email sent

on July 10, 2019, Bruce Singleton, MultiPlan’s Senior Vice President for Network Development

Strategy, told Mike McEttrick, MultiPlan’s Vice President of Healthcare Economics, that he

wanted to keep the discussion with that provider at “eye level,” meaning that he did not want to

share the details of how MultiPlan’s pricing methodology actually worked with the provider.

        452.    Competing companies would not risk sharing granular, real-time, and

competitively sensitive pricing information with their rivals. The information exchange operated

by MultiPlan is more consistent with an agreement to restrain trade than competition on the merits.

Therefore, this type of information exchange is circumstantial evidence of a cartel agreement.

                viii.   Monitoring and Enforcement Structures

        453.    Because a cartel agreement is against public policy, members of the cartel cannot

go to court to enforce their illicit agreement. As a result, they need to create extra-judicial structures

to detect and prevent attempts to disrupt the cartel agreement.

        454.    United’s plan to abandon the MultiPlan Cartel and to use its in-house Naviguard

system to set prices for out-of-network goods and services was one such attempted disruption to

the cartel agreement. Having the largest healthcare payor in the U.S. defect from the MultiPlan

Cartel could destabilize the agreement and might cause other payors to reevaluate their

participation in the cartel.

        455.    When news that United may be ending its relationship with MultiPlan came to light,

MultiPlan’s stock price tumbled. MultiPlan knew that it needed to take immediate action to

stabilize the cartel and secure its own long-term viability.

        456.    So, MultiPlan bought off United with a sweetheart deal. Upon information and

belief, in 2022, MultiPlan and United negotiated a new contract that went into effect in 2023.

MultiPlan gave United extremely favorable commercial terms for continuing to allow MultiPlan


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to set prices for out-of-network goods and services, allowing United to capture nearly all of the

underpayments generated by MultiPlan’s pricing methodology.

       457.    Thus, beginning in 2023, United charged its ASO clients a fixed per-member, per-

month fee for the underpayments that MultiPlan’s pricing methodology generated for out-of-

network goods and services, rather than a “shared savings fee.” This agreement meant that

MultiPlan would take a considerable hit to the fees it could collect from United: rather than

receiving a variable spread price, it could get a consistent, low fee.

       458.    This sweetheart deal was so good for United that it caused a temporary drop in

MultiPlan’s financial performance, which MultiPlan executives discussed during quarterly

earnings calls with investors in Q4 2022 and Q1 2023. In MultiPlan’s Q4 2022 earnings call,

MultiPlan’s then-CEO, Dale White, explained, “we have been anticipating that a multiyear

contract renewal with one of our largest customers would mute our 2023 revenue growth” and that

the contract renewal would be “a headwind against growth in 2023.”

       459.    However, MultiPlan was willing to sacrifice its own short-term revenues and profits

in order to stabilize the cartel and keep the largest cartel members in the fold. As White explained

during MultiPlan’s earnings call for Q1 2023, renewing pricing agreements with the largest payors

in the U.S. made MultiPlan’s leadership “increasingly confident that our revenues are stabilizing

and poised for growth over the next several years.”

       460.    MultiPlan’s efforts to enforce the cartel agreement by buying the loyalty of one of

the largest payors in the cartel appears to have worked. In an August 2, 2023, press release, the

CEO of MultiPlan hailed Q2 2023 as an “inflection point” in which MultiPlan “deliver[ed] second

quarter results at the high end of our expectations,” leading MultiPlan to increase its revenue

guidance for investors for 2023. Since August 2023, MultiPlan has generated increasing revenues




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from its out-of-network claims pricing business despite other lines of its business faltering.

       461.    MultiPlan’s willingness to sacrifice short-term profits does not make economic

sense absent its knowledge that perpetuating its conspiracy to underpay healthcare providers would

pay off in the long run.

       462.    In addition, one of the most efficient ways for members of a cartel to reach an

agreement on collusive pricing, and to ensure that pricing sticks, is for every member of the cartel

to allow one competitor to set prices and negotiate those prices. That is exactly what has happened

here. Each of the competing payors, who should have been exercising their own discretion to set

prices for out-of-network claims, entered into agreements that gave MultiPlan the right to set prices

for each cartel member’s out-of-network claims, and then made MultiPlan the sole entity

responsible for negotiating payment of those collusively set prices.

       463.    MultiPlan and its competitors were also brazen enough to write formal contracts

that included dispute resolution provisions. For example, MultiPlan’s contract with Aetna contains

a clause enforcing their out-of-network pricing agreement through “mediation . . . administered by

the American Arbitration Association under its Mediation Rules for Commercial Financial

Disputes . . . in the city of New York.” The contract contemplates the possibility that, if that

mediation was unsuccessful, MultiPlan could sue Aetna to, among other things, enforce the terms

of their out-of-network pricing agreement. This threat of litigation or mediation served as a check

that ensured the compliance of cartel members.

       464.    MultiPlan’s PSAV payment model also enables MultiPlan’s Co-Conspirators to

ensure that MultiPlan is underpaying out-of-network claims. MultiPlan sends regular reports to

competing payors about how little a healthcare provider is paid for out-of-network claims as a

result of MultiPlan’s proprietary pricing methodology. From these reports, MultiPlan’s




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competitors can monitor how well MultiPlan is adhering to its agreement to underpay healthcare

providers for out-of-network goods and services.

          465.   In addition, MultiPlan recently increased its ability to exchange real-time pricing

data. In June 2023, it announced a new product known as PlanOptix. MultiPlan said it created

PlanOptix as a direct response to its competitors’ demands. The product enables “access” to 400

billion “fully indexed” records. For example, a payor can “search a CPT code and understand the

price of that particular service . . . at a provider under a certain network.”

          466.   However, payors told MultiPlan that “[i]t’s not enough to simply get to the data and

information because the records are vast.” They wanted direct competitor pricing information.

          467.   When MultiPlan first announced PlanOptix, it had already “ingested data on over

70 payers,” including “all of the national major carriers as well as many of the regional ones.” Per

payors’ requests, MultiPlan enhanced PlanOptix to show competitor pricing data—“not just at a

global level, but even at a service level right, labs and X-rays versus inpatient, inpatient versus

outpatient.”

          468.   MultiPlan explained that, using PlanOptix, payors would be able to answer

questions such as: “Where do I sit versus my competitor?” and “How do I ensure that I’m

negotiating correctly when I measure myself against my competitors?” Indeed, in 2024 Travis

Dalton, MultiPlan’s current CEO, explained that PlanOptix “provides prescriptive analytics” to

payors.

          469.   PlanOptix enables the members of the MultiPlan Cartel to monitor one another’s

adherence to their agreement to eliminate pricing competition on out-of-network goods and

services. It does so by allowing payors to directly compare how much they pay to a particular

provider for a particular type of out-of-network service, as shown below.




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       470.    In the example shown above, PlanOptix is comparing the prices that Blue Cross

Blue Shield PPO plans pay for specific out-of-network services, such as coronary artery bypass

grafts, lung transplants, colonoscopies, lumbar spinal fusion, and knee replacement surgeries at

the Mayo Clinic Arizona to the prices that United and Aetna pay for the same out-of-network

services. PlanOptix shows the average price that Blue Cross Blue Shield pays for those out-of-

network services and the percentage difference between those prices and the prices that United

and Aetna charge for the same out-of-network services. In fact, as shown above, payors using

PlanOptix can directly compare their prices for out-of-network goods and services to the prices set

by other payors for the same goods and services.

       471.    At the November 28, 2023, Bank of America Leveraged Finance Conference,

White openly stated that the purpose of PlanOptix is to “enable payers to benchmark themselves

against their competitors.” He explained that, using PlanOptix, a payor will know “whether they’re



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above or below or on par with their competition,” including with regard to amounts paid to “a

specific provider.”

       472.    PlanOptix is a cartelist’s dream. It allows a member of the MultiPlan Cartel to

monitor the effectiveness of the cartel in real-time and to detect whether any member of the cartel

is “cheating” by paying providers more for out-of-network goods and services.

               ix.     Customary Patterns, Formulas, and Leadership

       473.    The longer a cartel agreement endures, the more likely it is to remain effective. If

every member of the cartel knows their role and that they can trust their fellow cartelists to adhere

to their pricing agreement, a cartel can last for years.

       474.    That is the case here. MultiPlan has a long history of facilitating and stabilizing the

MultiPlan Cartel. MultiPlan emphasizes the long-term nature of its relationships with its

competitors with respect to setting prices for out-of-network goods and services. In a June 28,

2023, investor presentation, it stated that its “Average Length of Large Customer Relationships”

was over 25 years.

       475.    MultiPlan has achieved “payer lock” due to MultiPlan’s deep and long-standing

integration into its clients’ claims processing operations.

       476.    In MultiPlan’s Q3 2020 earnings call on November 12, 2020, then-CEO, Mark

Tabak, described MultiPlan as having “created a competitive moat around our company that drives

high recurring revenues.”

       477.    For over a decade, payors with collective dominance in the Out-of-Network Goods

and Services Market have been locked into multi-year contracts to use MultiPlan’s out-of-network

pricing methodology.

       478.    MultiPlan’s consistent public statements trumpeting this high level of market

participation and promoting the high provider acceptance rates of its pricing offers provide


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reassurances regarding the stability of the cartel to its members.

       479.    The MultiPlan Cartel has a long-standing and well-functioning ringleader in

MultiPlan. MultiPlan takes the lead in recruiting new members into the cartel, shares information

with them about the advantages of collusive pricing, threatens that they will suffer financial

disadvantage by not joining or defecting from the cartel, and enforces price discipline by

encouraging cartel members to match the out-of-network prices set by their competitors.

       480.    These customary patterns, formulas, and leadership are circumstantial evidence of

agreements and a conspiracy to suppress rates.

       G.      The MultiPlan Cartel Can be Evaluated as Either Traditional or Algorithmic
               Price Fixing

       481.    MultiPlan’s agreements with competing payors have all of the hallmarks of

traditional price fixing—horizontal agreement, information exchange, lack of deviation, collective

market power, and enforcement structures.

       482.    MultiPlan enters into written agreements with its competitors concerning: (1) the

pricing methodology that they will use to pay providers for out-of-network goods and services

instead of exercising independent pricing discretion, and (2) the maximum price that they will pay

providers for particular out-of-network goods and services through override agreements.

       483.    This is not a case in which competitors independently decide to license third-party

pricing software through vertical agreements and then occasionally deviate from the prices

recommended by that software.

       484.    MultiPlan is not a third party at a different level of the distribution chain. MultiPlan

is a payor. MultiPlan competes with the payors that use MultiPlan’s pricing methodology.

MultiPlan benefits from the cartel in the same way as the other payors, who are MultiPlan’s

horizontal competitors. Because the cartel protects MultiPlan from competitive pressures that



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would exist absent collusions, MultiPlan underpays providers for out-of-network goods and

services using a common pricing methodology rather than exercising independent pricing

discretion, increasing its own revenues and profits at the expense of providers who should have

been paid market rates for their goods and services.

        485.    MultiPlan’s pricing methodology is not merely recommending prices that payors

can deviate from. Instead, payors delegate nearly every aspect of the out-of-network pricing

process to MultiPlan. Payors agree to be bound by the prices set by MultiPlan’s pricing

methodology and to pay for out-of-network goods and services at the prices MultiPlan sets. Payors

cannot, and do not, deviate from the prices set using MultiPlan’s methodology. The cartel prevents

a payor from doing so by requiring that MultiPlan handle any interactions with providers that deign

to question the prices set by the cartel. Further, payors often agree to delegate payment of claims

and the dispute resolution process to MultiPlan. Thus, the payors that entered into agreements with

MultiPlan did not retain or exercise any meaningful pricing discretion.

        486.    No analysis of “algorithmic price-fixing” is necessary for these agreements; they

have been per se illegal for decades under black letter antitrust law. But even if the Court were to

analyze these allegations under recent case law concerning algorithmic price-fixing, they are also

illegal per se under that rubric as well.

        487.    MultiPlan is a competing payor that should be using its own independent pricing

discretion to pay providers for their services.

        488.    Instead, MultiPlan and its competitors have agreed to use a common algorithm to

set the prices that they will pay providers for out-of-network goods and services.

        489.    A massive number of payors, representing more than 80% of all out-of-network

payments by dollar volume in the U.S. have agreed to use MultiPlan’s pricing methodology instead




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of using their independent pricing discretion.

       490.     In a tight three-and-a-half year window, numerous payors adopted parallel prices

and parallel strategies by systematically switching from UCR or FAIR Health benchmarks to

MultiPlan’s pricing methodology.

       491.     MultiPlan and its competitors do not deviate from the prices recommended by the

algorithm. Those recommended prices are submitted to providers as proposed payments for out-

of-network goods and services.

       492.     Because they effectively have no other option, providers accept these

underpayments more than 90% of the time.

       493.     In the cases where a provider attempts to push back on MultiPlan’s underpayments,

they quickly find that they have no practical ability to do so. MultiPlan rigs that negotiation by

setting a collusively low starting point for the negotiation and then acting as the sole negotiator of

the claim using the petabytes of competitively-sensitive claims pricing information from its

competitors to pinpoint the lowest price that the provider will accept for their out-of-network goods

and services.

       494.     MultiPlan facilitates and enforces this algorithmic price-fixing in multiple ways. It

ingests, pools, and disseminates confidential and competitively sensitive information about

competitors’ payments for out-of-network goods and services to payors to coach them on how to

underpay providers even more for particular services. MultiPlan also makes detailed and

competitively sensitive payment information available to competing payors on-demand through

its PlanOptix service. MultiPlan also takes over the negotiation of claims through its FNX service,

guaranteeing that there will be no deviation from the cartel agreement.

       495.     In addition, MultiPlan’s agreements with competing payors are not “hybrid”




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agreements that have vertical and horizontal aspects. MultiPlan’s agreements are fundamentally

agreements between companies that used to compete with one another to price and adjudicate

claims for out-of-network goods and services, to refrain from setting prices independently and to

abdicate pricing discretion for out-of-network goods and services to MultiPlan. MultiPlan and its

competitors are not companies operating at different levels in a chain of distribution. MultiPlan

and its competitors occupy the same level in the relevant market—they each receive bills from

providers for out-of-network goods and services and set prices for those out-of-network goods and

services.

           496.   The agreement to restrain pricing competition did not operate in a downstream

chain of distribution. Instead, all of the pricing decisions at issue were made at the same horizontal

level of the relevant market. MultiPlan does not produce a product or service that is resold by

payors. Nor do MultiPlan’s competitors sell a product or service to MultiPlan that MultiPlan then

resells.

           H.     Alternatively, the MultiPlan Cartel Is a Hub-and-Spoke Cartel

           497.   Even if the MultiPlan Cartel were not a horizontal price-fixing agreement between

competitors, it would be a hub-and-spoke agreement that is likewise per se illegal under the

Sherman Act. MultiPlan is the hub of the cartel and the payors’ agreements with MultiPlan to set

prices for out-of-network goods and services are the spokes. The rim of the cartel is the agreement

between the competing payors to use MultiPlan’s out-of-network pricing methodology to suppress

out-of-network pricing competition.

           498.   Prior to joining the MultiPlan Cartel, payors made several attempts to underpay

healthcare providers through unilateral action. They were unsuccessful in doing so, but the payors

knew that they could not join a buyers’ cartel because of their settlement agreements in the Ingenix

investigation.


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       499.    For example, before it joined the MultiPlan Cartel in 2017, in May 2015, United

paid $11.5 million to resolve claims that it used down-coding software algorithms, stalling tactics,

and other unfair business practices to underpay healthcare providers in Connecticut, New York,

North Carolina, and Tennessee.

       500.    Likewise, in September 2015, United agreed to pay $9.5 million to settle claims

that it systematically underpaid out-of-network claims in California. However, these unilateral

efforts could be thwarted by providers, because providers could elect to not provide most forms of

care to patients associated with a price-cutting payor.

       501.    Payors realized the need for collective action. Initially, United attempted to solve

that collective action problem using its subsidiary, Ingenix. However, when the New York State

Attorney General shut down the Ingenix scheme, payors needed a new way to agree among

themselves to set low prices for out-of-network goods and services.

       502.    MultiPlan solved that collective action problem. It pitched itself to payors as a hub

that could be used to collectively reduce out-of-network payments to healthcare providers. As

MultiPlan told its investors, using MultiPlan is a “much better mechanism” for payors to

collectively slash payments for out-of-network goods and services “versus doing it themselves.”

According to MultiPlan, this is because “if a pay[o]r decides to do everything on their own, their

ability to go back to providers and push for savings is fundamentally different than ours. . . . [W]e

can talk to the entire industry.”

       503.    MultiPlan persuaded the vast majority of competing payors to become spokes in

the cartel by promising to cut the prices set for out-of-network goods and services while serving

as a “liability shield” for the payors. MultiPlan has contracts with the top 15 payors in the nation

and agreements with payors representing over 80% of the volume of out-of-network transactions




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in the U.S. Each of these contracts between a payor and MultiPlan forms another spoke in the

MultiPlan Cartel’s hub-and-spoke conspiracy.

       504.    MultiPlan uses similar tactics to facilitate collusion along the rim of the alleged

hub-and-spoke conspiracy. MultiPlan informs each of the payors that a large number of other

major payors are using MultiPlan’s pricing methodology to set prices for out-of-network goods

and services, that those payors are generating substantial revenues by setting low prices for out-

of-network goods and services, and that the payor can bring itself into alignment with the rest of

the industry on out-of-network pricing by working with MultiPlan.

       505.    Thus, each of the payors knows that its competitors have considered or are

considering the same terms offered by MultiPlan—i.e., lowering out-of-network prices by using a

common pricing methodology and splitting the revenues generated by doing so. Each competing

payor has a strong motive to enter into the conspiracy because they know that without substantially

unanimous action, agreeing to unilaterally cut out-of-network prices would be economically self-

defeating. And, in the end, each payor agrees to the same course of conduct (cutting out-of-network

prices via MultiPlan’s pricing methodology), which constitutes an important departure from their

prior practice of using UCR or FAIR Health benchmarks to compete against one another on out-

of-network pricing.

       506.    There is no valid business reason for each of the payors to have entered into

agreements allowing MultiPlan to set and negotiate their out-of-network prices. Larger payors

could have created their own in-house pricing methodologies (and some came close to doing so).

Smaller payors could have used the FAIR Health benchmark to set out-of-network prices. The

only plausible explanation for every payor of any consequence agreeing to use MultiPlan’s out-

of-network pricing methodology instead of their own pricing discretion is that MultiPlan provided




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them with assurances that they could agree to do so with the common understanding that they

would all benefit from ending out-of-network pricing competition.

       507.    Each of the payors provides detailed and competitively sensitive pricing

information to MultiPlan with the knowledge that MultiPlan will use the information to set prices

for competing payors. MultiPlan pools and analyzes the petabytes of claims data it collects to

benefit all payors by finding the lowest price that providers will accept for their out-of-network

goods and services. Moreover, payors are aware that MultiPlan uses their competitively sensitive

claims data to benefit all competitors because MultiPlan makes detailed payment information

available on-demand through its PlanOptix service.

       508.    There is extensive circumstantial evidence that payors have agreed with each other

to use MultiPlan’s pricing methodology to set prices for out-of-network goods and services, thus

forming the rim of the hub-and-spoke conspiracy. This includes evidence that MultiPlan facilitated

a parallel transition among payors from a more competitive pricing regime to a coordinated pricing

regime, and a variety of plus factors, detailed above, that tend to exclude the possibility that the

parallel conduct was the result of independent and non-conspiratorial action.

       I.      Alternatively, MultiPlan Acted As An Agent, Facilitator, or Conduit of Each
               of The Other Members of the MultiPlan Cartel

       509.    Even if the MultiPlan Cartel was not a horizontal price-fixing agreement between

competitors, or a hub-and-spoke agreement, the MultiPlan Cartel would still violate Section 1 of

the Sherman Act because MultiPlan acted as an agent, facilitator, and conduit of the other members

of the MultiPlan Cartel and materially aided their anticompetitive goals.

       510.    MultiPlan had full knowledge that the other members of the MultiPlan Cartel were

seeking to use its pricing methodology as a common means to end out-of-network pricing

competition. MultiPlan intended to aid the other members of the MultiPlan Cartel in limiting out-



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of-network pricing competition because it knew that the more it underpaid doctors and hospitals,

the more money it would make.

       511.    MultiPlan materially contributed to the success of the MultiPlan Cartel in multiple

ways. In addition to setting each payor’s out-of-network prices, MultiPlan communicates the price

to the relevant provider, and disposes of any resulting “negotiation.” MultiPlan also serves as a

regular facilitator and conduit for passing information between the members of the MultiPlan

Cartel to help them suppress out-of-network prices.

       512.    MultiPlan also facilitates the success of the MultiPlan Cartel by informing payors

about the out-of-network prices set by their competitors and encouraging them to adopt similarly

low pricing. MultiPlan’s goal in distributing this confidential information within the MultiPlan

Cartel is to ensure that each payor’s out-of-network pricing remains in line with its competitors’

out-of-network pricing. MultiPlan also advances this goal by distributing whitepapers and

marketing materials to all cartel members extolling the value of outsourcing out-of-network

pricing responsibility to MultiPlan.

       513.    Aware that its conduct on behalf of the other members of the MultiPlan Cartel could

result in agency liability under the antitrust laws, MultiPlan has attempted to concoct contrary

evidence. After the initial complaint in this litigation was filed, MultiPlan edited the pricing

“offers” it sends to providers. In the most recent version of these pricing “offers,” MultiPlan has

inserted new language insisting that “MultiPlan is not a payor or an agent of any payor.” This non

sequitur has nothing to do with negotiating the payment of an out-of-network claim, and everything

to do with MultiPlan’s ongoing efforts to conceal its violations of the antitrust laws.




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VI.    Even if this Case Were Evaluated Under the Rule of Reason, the MultiPlan Cartel
       Has Market Power, Harms Competition Throughout the Relevant Market, and Has
       No Procompetitive Effects

       A.         The MultiPlan Cartel has Collective Market Power in the Relevant Market for
                  Out-of-Network Goods and Services

       514.       As an initial matter, defining the relevant market is unnecessary in this case. First,

because plaintiffs have pled a plausible claim under the per se rule of antitrust analysis, market

definition is unnecessary because it must be presumed at this stage that the restraint harmed

competition. Second, even if the Court analyzed plaintiffs’ claims under the rule of reason,

plaintiffs have offered abundant allegations of direct harm to competition including significant

market-wide underpayments to providers directly caused by the MultiPlan Cartel, obviating the

need to analyze a relevant market. Nonetheless, for the sake of completeness, DAPs plead the

following facts concerning the scope of the relevant market.

       515.       The relevant market at issue in this litigation is the market for out-of-network goods

and services sold to payors (“Out-of-Network Goods and Services Market”).

       516.       In this market, providers sell out-of-network goods and services, patients consume

the out-of-network goods and services, and payors like MultiPlan and its Co-Conspirators function

as buyers of those goods and services.

       517.       Because this case is about a buyer-side cartel, the relevant inquiry when defining

the relevant market for the providers’ claims is, “from whom can providers reasonably seek

payment for their out-of-network goods and services?” The inquiry focuses on which buyers of

out-of-network healthcare services are reasonably substitutable from the perspective of sellers of

those services.

       518.       The MultiPlan Cartel also expands and undergirds these commercial realities by

specifically prohibiting hospital-based providers from seeking payment from any source other than



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the relevant payor, as a condition of receiving any payment at all.

       519.    It is not practicable for providers to avoid seeking payment from commercial payors

by convincing patients to pay entirely out-of-pocket for out-of-network goods and services. In

most cases, patients are unable or unwilling to pay out-of-pocket for the entirety of their care,

which is why the vast majority of patients in the U.S. rely on a third-party payor.

       520.    It is also not practicable for providers to use prior authorizations to ensure that they

only provide care to in-network patients. In a prior authorization, a healthcare provider calls a

health plan to get approval from the health plan prior to providing out-of-network care to a patient.

       521.    With respect to emergency services, healthcare providers cannot use prior

authorizations to check whether a patient is in-network or out-of-network. Hospital emergency

departments must provide emergency healthcare to patients regardless of whether they are in-

network or out-of-network.

       522.    In theory, healthcare providers can refuse to provide services to out-of-network

patients for non-emergency care. In practice, that is not possible. The MultiPlan Cartel leaves

providers with effectively no option but to accept the prices imposed upon providers for out-of-

network goods and services. Since the MultiPlan Cartel sets the prices for an overwhelming

percentage of out-of-network goods and services, the cartel effectively offers healthcare providers

no choice but to accept MultiPlan’s prices for non-emergency out-of-network services. The

healthcare providers can either provide the out-of-network services and be severely underpaid for

them (but at least make some revenue) or provide no out-of-network services at all (and forgo all

revenue associated with those services). Because of the high fixed costs associated with operating

a medical practice (including capital equipment, support staff, licensure, insurance, and office

space), many providers are effectively forced to provide out-of-network goods and services despite




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knowing that they will be severely underpaid for them, just so that they can continue to receive the

reduced revenues associated with providing those out-of-network services. As a consequence,

healthcare providers who provide non-emergency services are forced to accept artificially

suppressed prices set by the MultiPlan Cartel.

       523.     In non-emergency contexts, MultiPlan and competing payors effectively dupe

providers into providing up-front goods and services to out-of-network patients by providing no

transparency into whether the price for those out-of-network goods and services will be set by

MultiPlan. Providers often do not know that when they are providing services to an out-of-network

patient that MultiPlan will set the price for those out-of-network goods and services. For instance,

a prior authorization will not reveal whether the payor has an agreement with MultiPlan or whether

MultiPlan will set the price for the out-of-network goods and services provided to that patient.

       524.     Once a provider has provided services to an out-of-network patient, that provider

cannot seek payment for its services from anyone other than the payor that has agreed to cover that

patient’s out-of-network goods and services. Indeed, as alleged above, when the MultiPlan Cartel

underpays providers, providers are unable to turn to patients to be made whole for the collusive

underpayment.

       525.     For emergency services, federal and state laws prohibit healthcare providers from

balance billing patients for the difference between the payments received from a payor for out-of-

network goods and services and the provider’s billed charges.

       526.     For non-emergency services, healthcare providers cannot, and do not, balance bill

patients for the difference between the payments received from a payor for out-of-network goods

and services and the provider’s billed charges. For example, as explained above, MultiPlan

prohibits providers from balance billing patients as a condition of receiving payments for out-of-




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network goods and services.

       527.    As a result, the only seller to which a provider can turn to for an out-of-network

claim is the payor associated with that claim.

       528.    Government-paid forms of insurance do not participate in the relevant market at

issue in this case. Providers do not seek payment for out-of-network goods and services from

government payors, and government payors are not buyers of such services.

       529.    Commercial payors recognize that government payors are not buyers of out-of-

network goods and services. For instance, an internal United document concerning initiatives to

suppress out-of-network payments explains that the initiatives do “not apply to Medicare or

Medicaid members” because “[f]ederal and state programs, like Medicare Advantage and

Medicaid plans, do not offer out-of-network coverage[.]”

       530.    A common method to determine the scope of a relevant antitrust market is to assess

whether a hypothetical monopolist could impose a small but significant non-transitory increase in

price (“SSNIP”) in the proposed market, typically 5%. In a case challenging a buyers’ cartel, such

as this one, the relevant test is whether a hypothetical monopsonist could impose a small but

significant reduction in purchase price (“SSRIPP”). In this case, a hypothetical monopsonist—

such as the MultiPlan Cartel—could impose a SSRIPP of 5% or more on out-of-network goods

and services without causing healthcare providers to switch to providing other types of goods and

services because hospitals are required by federal and state laws to provide emergency out-of-

network goods and services. A payor can impose an SSRIPP on out-of-network goods and services

because the negotiation of prices for those services occurs after the service is provided and the

healthcare provider is locked into negotiating with a single payor.

       531.    Moreover, MultiPlan’s imposition of an industry-wide pricing scheme for out-of-




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network goods and services provides a natural experiment to test the bounds of the relevant market.

Despite MultiPlan and its Co-Conspirators decreasing rates for out-of-network goods and services

substantially from the prior FAIR Health and UCR charges that existed in the pre-conspiracy

period, healthcare providers continued to provide out-of-network goods and services. When

MultiPlan imposed these lower prices for out-of-network goods and services, the amount of out-

of-network goods and services sold by providers did not change appreciably. In fact, the total

amount of out-of-network goods and services sold in the U.S. in 2023 was higher than before the

MultiPlan Cartel began, in or around 2015. This suggests that a SSRIPP would not result in a

sufficient number of healthcare providers switching to other forms of payment, such as services

for government payors or in-network services, to make the SSRIP profitable for the payors.

       532.    There are also special circumstances that make separate consideration of buyers of

out-of-network goods and services appropriate. A change in the price of in-network or

government-paid healthcare goods and services does not have an appreciable effect on the price of

out-of-network goods and services because those prices are calculated and negotiated in

fundamentally different ways. Put another way, the prices paid for in-network services and

government-paid services do not constrain the prices charged for out-of-network goods and

services because providers cannot switch between out-of-network payment and other forms of

payment.

       533.    A change in the price of in-network or government-paid healthcare goods and

services also does not have an appreciable effect on the amount of out-of-network healthcare

supplied by providers. Because patients and doctors make the decision about what goods and

services to utilize, and those decisions are made on the basis of medical necessity, changes in in-

network and government-paid prices for particular goods and services does not affect the supply




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of out-of-network goods and services.

        534.   Practical indicia and commercial realities support the inference that in-network

goods and services are distinct from the Out-of-Network Goods and Services Market at issue in

this case.

        535.   One such reality is the design of third-party payors’ coverage. Payors differentiate

between providers who are in-network and providers who are out-of-network. By design, third-

party payment plans offer different levels of coverage and financial incentives for in-network and

out-of-network goods and services. For example, third-party payment plans have different co-

insurance and out-of-pocket costs associated with in-network and out-of-network goods and

services.

        536.   In addition, at the urging of several of the Defendants and Co-Conspirators in this

case, courts have also found that statutes governing healthcare providers apply differently to in-

network and out-of-network providers. See, e.g., Emerus Hosp. v. Healthcare Serv. Corp., 2020

WL 1675665, at *3-4 (N.D. Ill. 2020) (finding that Texas law concerning prompt payments to

healthcare providers did not apply to out-of-network services); Tex. Medicine Res., LLP v. Molina

Healthcare of Tx., Inc., 620 S.W.3d 458, 469-70 (Tex. App. – Dallas 2021), aff’d, 659 S.W.3d 424

(Tex. 2023) (same).

        537.   Defendants recognize that prices for out-of-network goods and services are distinct

from in-network prices based on how they organize their businesses. Defendants have separate

employees in different departments that oversee issues related to payments to out-of-network

providers. Defendants also create shared savings programs and cost management programs

specific to out-of-network providers and track the cost of paying provider claims for out-of-

network goods and services separately from in-network goods and services.




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        538.    Similarly, MultiPlan views in-network and out-of-network prices as occupying

separate markets. MultiPlan has created pricing methodologies that target only the prices of out-

of-network goods and services. In fact, MultiPlan has chosen to focus a substantial portion of its

business on out-of-network pricing. For example, during a recent presentation at the 42nd Annual

J.P. Morgan Healthcare Conference, MultiPlan’s then-CEO, Dale White, explained “MultiPlan’s

focus over the past 40 years has been on out-of-network claims.”

        539.    Similarly, in a September 2024 interview on the DataFramed podcast, MultiPlan

President & CEO Travis Dalton expressed that “[t]here’s essentially two kinds of health insurance

in the U.S., so it’s government-funded, Medicare and Medicaid, and then there are commercial

insurance products.” He went on to say, “When someone . . . needs to see a provider . . ., they have

the choice to go in-network,. . . . Or, there are some out-of-network options that exist . . . and that’s

a very different path with a very different cost structure around it.”

        540.    MultiPlan’s own website markets its services in distinct “Commercial” and

“Government” “Markets.” In the same September 2024 interview, Dalton explained that in-

network, out-of-network, and government programs all offer different prices for the same services:

“The price for the same service can be different. So, if you’re going through a Medicare channel

it’s a price, if it’s in-network negotiated it’s a price, if it’s out-of-network it can be a price.”

        541.    Other competing payors also recognize that government payors are not buyers of

out-of-network goods and services. For instance, an internal United document concerning

initiatives to suppress out-of-network payments explains that the initiatives do “not apply to

Medicare or Medicaid members” because “[f]ederal and state programs, like Medicare Advantage

and Medicaid plans, do not offer out-of-network coverage[.]”

        542.    Persistent differences in claims volumes and claims pricing also demonstrate that




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commercial out-of-network pricing and in-network pricing constitute separate markets. If in-

network buyers and out-of-network buyers were a part of the same market for purchasing

healthcare goods and services, then the prices and sales volumes for those goods and services

would be similar because, if they were a part of the same market, buyers would see no difference

between the same service provided to an in-network patient and an out-of-network patient. That is

not the case. For decades, the prices paid for in-network and out-of-network goods and services

have varied significantly for the same services provided in the same geographic region.

       543.    Healthcare is not the only market in which goods and services can be sold in

different ways and occupy distinct markets. One analogy is to recognized differences between

futures markets and spot markets for the same goods or services. The market for out-of-network

goods and services is comparable to a spot market. In a spot market, goods or services are

exchanged for cash immediately, instead of at a future date. When a patient is treated by an out-

of-network healthcare provider, no preexisting agreement on prices or terms exists between the

provider and the payor. Instead, out-of-network adjudication and pricing occurs on individual

claims after healthcare goods and services have been provided to the patient. By contrast, the

market for in-network goods and services is comparable to a futures market. In a futures market,

delivery of underlying goods or services occurs on a future date at contractually governed prices

and terms. Likewise, when a provider agrees to be “in-network,” the provider contracts with a

third-party payor to accept pre-agreed network rates for medical goods and services that are less

than the providers’ customary charges for those goods and services, and to not bill in-network

patients for the difference between those in-network rates and the providers’ customary rates. Even

when the price of a spot market may influence the price of a futures market, they can remain two

different relevant product markets when their prices are not synonymous.




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       544.    While healthcare providers operate in other markets, besides the Out-of-Network

Goods and Services Market, that represent different phases of their operations, those markets are

not the market specifically targeted and restrained by the MultiPlan Cartel.

       545.    For example, in one phase of competition, providers compete with each other to

attract patients to their facilities based on numerous factors, such as reputation, expertise,

proximity, and range of services.

       546.    In another phase of competition, providers compete for inclusion in certain payors’

provider networks. In this phase, providers may engage in ex ante negotiations with certain

interested payors concerning how much they could expect to receive for in-network goods and

services provided to patients enrolled in a particular payor’s health insurance plan. For a multitude

of reasons, however, a particular provider will typically remain out-of-network for a significant

number of payors.

       547.    These different phases of competition, which may constitute separate antitrust

markets, are not at issue in this case. The relevant market in this case is limited to the payors that

providers can turn to when they provide out-of-network goods and services.

       548.    Even in these other phases of competition, government payors and commercial

payors are not reasonably interchangeable. Government-paid forms of insurance, like Medicare,

Medicaid, and Tricare, are not viable alternatives for commercial payments and do not compete

against commercial health insurance. These forms of government-paid insurance address

populations that are not typically served by commercial health insurance. For example, Medicare

and Medicaid have statutory age, income, or disability requirements. Similarly, Tricare is available

only to current and former members of the U.S. military. Patients in government payor programs

do not switch between commercial payor networks and government payor systems in sufficient




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numbers for government payors and commercial payors to compete against one another.

        549.    Moreover, government payors typically pay providers negotiated up-front rates that

are significantly lower than the up-front in-network rates negotiated by commercial payors. That

is because the government has significantly more purchasing power that it can use in these up-

front rate negotiations.

        550.    While it is true that payors do not market out-of-network coverage separately to

subscribers as a stand-alone product, that fact is immaterial to this litigation. This case is about the

range of buyers for healthcare goods and services, not the range of buyers for health plans. In other

words, this case concerns the choices that providers can make about to whom they will sell their

goods and services; it is not about the choices that subscribers make about from whom they will

purchase health coverage. At any rate, patients do consider out-of-network benefits when deciding

the health plans in which they will enroll. They weigh the amount that they will pay for common

and anticipated forms of in-network care, such as physicals and well-visits, against their exposure

for unplanned and catastrophic out-of-network care, such as what a patient would be financially

responsible for if they were involved in a serious car accident. Patients can, and often do, purchase

a health plan specifically because of its out-of-network provisions—either because of the financial

coverage offered for out-of-network care or because the out-of-network provisions of a health plan

allow a patient to continue seeing a trusted doctor.

        551.    In summary, the discrete product or service that can be purchased is the healthcare

goods and services offered by providers on an out-of-network basis. That discrete product or

service can be subject to price-fixing because providers cannot turn to other payors to purchase

their out-of-network goods or services. The goods and services have already been provided and

the third-party payor will purchase them, but the question is the price that they will pay for those




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out-of-network goods and services. Commercial payors formed the MultiPlan Cartel specifically

to exploit these market realities by suppressing prices for out-of-network goods and services.

       552.    At a minimum, it is clear that healthcare providers cannot substitute between out-

of-network goods and services and in-network goods and services with respect to emergency care.

       553.    Healthcare providers in hospital emergency rooms are prohibited from switching

between these types of buyers by federal and state laws. Enacted nearly 40 years ago, the

Emergency Medical Treatment and Labor Act (“EMTALA”), requires hospitals participating in

Medicare and Medicaid—which is effectively all hospitals in the U.S.—to “scree[n]” and

“stabilize” “any individual” who comes to a hospital emergency room with an “emergency medical

condition” that jeopardizes the patient’s “health.” 42 U.S.C. §§ 1395dd(a), (b)(1)(A), (e)(1)(A).

EMTALA bans hospitals from switching from providing healthcare goods and services to out-of-

network patients to providing those services to in-network patients. Therefore, if a patient who is

out-of-network comes to a hospital with an “emergency medical condition,” “the hospital must act

to stabilize the condition . . . before the patient can be transferred or released.” Thomas v. Christ

Hosp. & Med. Ctr., 328 F.3d 890, 894 (7th Cir. 2003).

       554.    For emergency care, state laws also require hospital emergency rooms to admit and

treat patients regardless of whether they are in-network or out-of-network, effectively prohibiting

hospitals from switching between in-network and out-of-network payors. See, e.g., Cal. Health &

Safety Code §§ 1317(a)-(b) (licensed hospitals must provide emergency services to all patients

and may not discriminate between patients based on their insurance status); Fla. Stat.

§§ 395.1041(3)(a), (f) (every hospital must provide emergency services to patients and may not

discriminate between patients seeking emergency services based on “insurance status, economic

status, or ability to pay for medical services”); La. Rev. Stat. § 2113.4(A) (any hospital that




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receives benefits or funds from the state of Louisiana “shall make its emergency services available

to all persons . . . regardless of whether the person is covered by private, federal Medicare or

Medicaid, or other insurance.”); N.Y. Pub. Health Stat. § 2805-b(1) (“Every hospital shall admit

any person who is in need of immediate hospitalization with all convenient speed and shall not

before admission question the patient or any member of his or her family concerning insurance,

credit or payment of charges”).

       555.      EMTALA and equivalent state laws require hospital-based providers to comply

with these admission and non-discrimination obligations at all times. Failure to comply with these

statutory requirements can result in severe penalties, including: (1) state criminal liability, (2)

substantial fines, (3) suspension of the hospital-based provider’s participation in Medicare and

Medicaid, and (4) civil lawsuits. No reasonable hospital-based provider would knowingly violate

these federal and state laws in order to switch from out-of-network patients to in-network patients

when providing emergency care. The severe financial penalties for doing so would cause a

hospital-based provider to lose substantial patient volume and sources of funding, causing

significant financial damages to the hospital as a whole. For that reason, hospital-based providers

do not switch between providing emergency services to in-network and out-of-network patients.

       556.      Outside of co-insurance and deductible obligations, a hospital-based provider

cannot seek payment from an out-of-network patient for emergency services. In many cases, such

as when providing emergency care, hospital-based providers are prohibited from seeking payment

for those services from patients (i.e., “balance billing”) by the No Surprises Act, see 42 U.S.C.

§ 300gg-111. Violations of the No Surprises Act can result in large civil penalties of up to $10,000

per violation.

       557.      In economic terms, EMTALA and the No Surprises Act are switching costs.




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Because no hospital-based provider would want to violate the law and expose themselves to

significant legal penalties in order to switch to other forms of out-of-network payment, such as

balance billing, or to switch between out-of-network and in-network payors, these large switching

costs lock a provider into seeking payment from only one payor for out-of-network goods and

services. If the costs of switching from one buyer to another are so prohibitive that no rational

seller would switch between them, then the relevant market is limited to only those buyers that a

seller can practically turn to in order to sell their goods and services. In this case, the only party to

whom a hospital-based provider can sell their out-of-network goods and services is the payor

associated with the patient that consumed the out-of-network goods and services.

        558.    The statutes and regulations that govern hospital-based providers also differentiate

between in-network and out-of-network goods and services. See, e.g., 28 U.S.C. § 9816 (No

Surprises Act); N.J. Stat. § 26:2SS-9(c); Conn. Gen. Stat. § 19a-904a; Mo. Stat. § 376.690; Il. Stat.

Comp. § 88/50; Tex. Ins. Code § 1305.006.

        559.    Within the market for out-of-network goods and services, there are submarkets for

out-of-network goods and services sold to each specific payor.

        560.    Once a provider has provided out-of-network goods and services to a patient, the

provider can turn to only one buyer to pay for those services—the patient’s third-party payor. The

provider cannot seek to sell those services to another buyer because no other payor has agreed to

cover those out-of-network goods and services.

        561.    This submarket is not defined according to any single method of payment, or the

preferred payment method of a provider. Instead, this market is defined by the commercial reality

that there are literally no other payment sources for a provider’s medical goods and services when

a provider has already provided those goods and services to an out-of-network patient.




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        562.    A payor can impose an SSRIPP on out-of-network goods and services because the

negotiation of prices for those services occurs after the service is provided and the hospital is

locked into negotiating with a single payor.14

        563.    The relevant geographic market is the United States. Providers in the U.S. cannot

practicably turn to payors in other countries, where private medical insurance is uncommon or

non-existent and nearly all medical care is administered as a part of a comprehensive government

program, for payment of out-of-network medical services. The U.S. healthcare industry, including

the market for payment of out-of-network goods and services, is universally recognized by

industry participants as distinct from healthcare industries in foreign countries, and is subject to a

variety of unique federal and state laws and regulations that apply only in the U.S. The relevant

geographic market is not smaller than the U.S. because healthcare providers can practicably turn

to commercial insurers located in other parts of the country for payment of out-of-network goods

and services.

        564.    MultiPlan and its Co-Conspirators, through their conspiratorial agreements,

collectively hold dominant power on the buyer side of the Out-of-Network Goods and Services

Market. Nearly every payor that participates in the relevant market has agreed to use MultiPlan’s

pricing methodology to set the prices for out-of-network goods and services, to fix the maximum

price for particular out-of-network goods and services, and to allow MultiPlan to negotiate the

price of out-of-network goods and services on behalf of other payors. The members of the

MultiPlan Cartel collectively control more than 90% of the relevant market as measured by number



14
   This is not to say that payors are free from competitive pressures when negotiating prices for out-of-
network healthcare services. As explained, in a competitive market, payors must avoid below-market
pricing to maintain the out-of-network provider’s willingness to provide out-of-network goods and services
to the payor’s enrollees in situations where the provider has discretion to refuse and avoid costly disputes.
The MultiPlan Cartel was created specifically to eliminate the need for this price competition.



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of covered patients.

       565.    MultiPlan claims that the entire nationwide market for out-of-network goods and

services is approximately $130 billion annually:




       566.    Out of that $130 billion, MultiPlan claims that it processed $106 billion in charges

in 2019:




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        567.    By claiming to process $106 billion in charges for out-of-network goods and

services out of a potential $130 billion, MultiPlan acknowledges that it processes approximately

81.5% of the out-of-network claims submitted in the U.S.15 Therefore, regardless of how the metes

and bounds of the relevant market are defined, the MultiPlan Cartel has market power over

commercial third-party payments for out-of-network goods and services. The cartel has a dominant

market share of both covered members and healthcare claims. The cartel also has a demonstrated

ability to collectively control the prices set for healthcare goods and services. In economic terms,

the members of the MultiPlan Cartel collectively hold monopsony power.

        568.    Since acquiring Data iSight in 2011, MultiPlan’s analytics business has grown

considerably. Revenues generated by Data iSight alone totaled $323.7 million in 2019. By 2020,

analytics-based services such as Data iSight made up more than 59% of MultiPlan’s annual



15
  As a technical matter, ASO subscribers can opt-out of using MultiPlan’s pricing for out-of-network goods
and services. While some do so, the 81.5% share of out-of-network claims processed by MultiPlan show
that, in reality, nearly all ASO plans’ out-of-network claims are priced by MultiPlan.



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revenues. In 2021, MultiPlan’s analytics-based services generated $709 million of its $1.1 billion

in total revenues. MultiPlan explained in 2023 that its analytics business typically earns profit

margins “in the mid to high 60% range.”

       569.    MultiPlan’s market power has continued to grow since 2019 as its largest clients

have gained market share and additional payors have begun using MultiPlan’s pricing

methodology to set prices for out-of-network goods and services.

       570.    The Out-of-Network Goods and Services Market is protected by high barriers to

entry. Payors operate in a highly concentrated industry, with a small number of large payors

collectively dominating the market. Indeed, during a trial, Rebecca Paradise, the Vice President of

Out-of-Network Payment Strategy at United Healthcare, agreed that MultiPlan’s out-of-network

pricing methodology “was widely used by our competitors.” Moreover, most of MultiPlan’s

contracts with customers are three years or longer in length, with “high renewal rates.” MultiPlan

has even touted the “stickiness” of its “long-term customer relationships.”

       571.    This high collective market concentration of the members of the MultiPlan Cartel

is probative circumstantial evidence of an agreement or agreements to conspire. This dominant

collective market power has allowed the MultiPlan Cartel to impose anticompetitive effects on the

entire relevant market.

       572.    In addition to this collectively dominant market power, when a healthcare provider

provides out-of-network goods and services to a patient, its only option for seeking payment for

those services is to submit a claim to the particular payor that administers the insurance plan in

which that patient is enrolled.

       573.    As a result, each payor has complete buyer-side power over the adjudication and

pricing of out-of-network goods and services provided to the patients to whom it provides




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coverage.

       B.      The MultiPlan Cartel Harmed Providers, Patients, and Subscribers

       574.    Harm to Providers. MultiPlan’s agreements with competing payors harm

competition and each of the DAPs.

       575.    In its investor presentations, MultiPlan openly touts the fact that it helps its

competitors systematically underpay healthcare providers. During a fall 2021 investor road show

presentation, MultiPlan explained to investors that, in an illustrative world “[w]ithout MultiPlan,”

a doctor could expect to make $800 on an out-of-network claim, but in an illustrative world with

MultiPlan, a doctor would make only $600 on the same out-of-network claim—a 25% difference.

In another presentation, MultiPlan claimed that its pricing methodology was even more effective,

writing that it provided “savings of 61%–81% off billed charges.”

       576.    MultiPlan’s provider remittance advice forms also provide direct evidence that the

MultiPlan Cartel results in healthcare providers being paid far less on each claim than they would

have under the more competitive regime that existed prior to the MultiPlan Cartel where out-of-

network claims prices were determined by the UCR/FAIR Health rate.

       577.    For one example of the MultiPlan Cartel’s pricing suppression, the claim below

shows that a patient was seen at the emergency department of Northeastern Nevada Regional

Hospital in Elko, Nevada. That patient had a particularly difficult case, which was coded using

CPT code 99285, which is reserved for the most severe and complex emergency medicine cases.

The provider submitted a claim for $1,360, roughly 70% of the FAIR Health price for that CPT

code in Elko, Nevada. Using MultiPlan’s pricing, United paid only $435.20 for the claim—22.5%

of the amount that FAIR Health determined was the appropriate out-of-network price for CPT

code 99285. As the table below shows, that is significantly less than the 70-80% of FAIR Health

pricing standard that applied to out-of-network claims prior to the MultiPlan Cartel.


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                                                                                  Difference
                       FAIR Health
                                                                                Between FAIR
    Submitted             Out-of-         70% of FAIR          MultiPlan
                                                                                   Health
     Amount            Network Cost         Health          Pricing/Payment
                                                                                 Benchmark
                         Estimate
                                                                                and MultiPlan

 $1,360                $1,888            $1,321.60          $432.50             $889.10


         578.    That same pattern has played out with other claims. The table below shows the

difference between FAIR Health out-of-network prices and the prices set using MultiPlan’s pricing

methodology for claims submitted to United in Elko, Nevada. In every case, the agreement

between United and MultiPlan to not compete on claims pricing results in providers being paid far

less than they would have under the prior more competitive out-of-network pricing regime.

                                                                                   Difference
                                   FAIR
                                                                                    Between
                                Health Out-      70% of
   CPT           Submitted                                       MultiPlan        FAIR Health
                                of-Network        FAIR
   Code           Amount                                      Pricing/Payment     Benchmark
                                   Cost          Health
                                                                                      and
                                 Estimate
                                                                                   MultiPlan

 99283          $463            $689          $482            $217.77             $264.23



         579.    According to an internal United document, prior to implementation of Data iSight,

United’s ASO clients paid 100% of billed charges. After implementation, they often paid less than

60% of billed charges.




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        580.    MultiPlan sends regular closure reports and performance reports to its Co-

Conspirators showing the amount that MultiPlan’s methodology underpriced each out-of-network

claim and the underpayment that the provider received as a result of MultiPlan’s agreement to stop

competing with its competitors on claims adjudication and pricing. In the case of United, MultiPlan

sent closure and performance reports to the dedicated email address. Later, MultiPlan sent the

performance reports and closure reports to United using a Secure File Transfer Protocol process.

        581.    MultiPlan also provides quarterly, weekly, and daily reports to its Co-Conspirators

concerning MultiPlan’s ability to slash the prices of out-of-network claims. These reports are

typically broken down into ASO and fully insured reports. For example, MultiPlan routinely sent

competing payors reports on provider appeals from MultiPlan’s out-of-network pricing, utilization

reports, state reports, situs reports, and specialty reports.

        582.    MultiPlan used the collective market power of the cartel to bully providers into

accepting extremely low prices for their out-of-network goods and services. In some cases,



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MultiPlan set the maximum price for out-of-network goods and services at 150% or 110% of

Medicare rates. Those prices are known to be unprofitable for providers and, if sustained, can drive

providers out of business.

       583.    The New York Times reporting confirmed the providers’ inability to negotiate with

MultiPlan. It wrote that “[d]ocuments and interviews revealed tactics meant to pressure medical

practices to accept low payments. Some offers came with all-caps admonitions and deadlines just

hours away. Accept and receive prompt payment; refuse and risk an even lower payout. Practices

and billing specialists said this often wasn’t an empty threat.”

       584.    MultiPlan also threatens to drop their payments if healthcare providers do not

accept their cut-rate offers. In a fax to a healthcare provider, MultiPlan gave the provider eight

days to respond to a low-ball offer. But the fax warned, “Please note that if you do not wish to sign

the attached proposal . . . this claim is subject to a payment as low as 110% of Medicare rates based

on the guidelines and limits on the plan for this patient.” In other words, if the provider disagrees

with MultiPlan’s offer, MultiPlan will lower the rate even further.

       585.    Similarly, in February of 2019, MultiPlan (through Viant) offered an “adjusted

price” to a provider of $3,328 on a bill for $9,284. When the provider tried to counter, Viant replied

that it could not accept the counter and that, if denied, the claim would be returned for processing

as low as 110% of Medicare and the payor would not allow any appeals.

       586.    In a recent trial in Oklahoma, an economic expert testified on behalf of certain

plaintiff entities that contract with TeamHealth. During his testimony, he was asked “[h]ave you

seen, in all the thousands of pieces of paper you’ve looked at, any connection between what

happens to the rates allowed to ER doctors once an insurance company starts to dance with that

shared savings and iSight?” He responded, simply, “[t]he reimbursement goes down.”




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        587.    As a result of these payment rate cuts, staffing agencies have been forced to cut

physician salaries and benefits due to the low prices set for out-of-network goods and services set

by the MultiPlan Cartel. This is not a case about providers seeking a windfall or to charge higher

prices for out-of-network healthcare. DAPs and providers only want the same thing that any seller

of goods and services want—to sell those goods and services in a market that is free from

collusion.16

        588.    Harm to Patients. In addition to suppressing payments to providers for out-of-

network claims, the MultiPlan Cartel also harms patients because those underpayments limit the

amount of revenue that healthcare providers can spend on improving care or offering charitable

care. Many hospitals are committed to providing charity care and making a positive impact on the

communities they serve. Because providers throughout the U.S. were systematically underpaid as

a result of the MultiPlan Cartel, they have less funds to devote to those charitable efforts.

        589.    Moreover, America’s hospitals are facing an economic crisis, with many struggling

to break even due to rising costs and insufficient payments. Over half of U.S. hospitals ended 2022

operating at a loss, a trend that continued into 2023. In addition, a 2023 survey from the American

Medical Group Association that collected data from over 15,000 providers found that “median loss

per physician for system-affiliated groups is now more than $249,000, as operating expense

increases outpace revenue gains.”

        590.    The MultiPlan Cartel’s underpayments have already caused some healthcare

providers to fail, thereby limiting the supply of healthcare goods and services available to


16
   While payors like to point to the fact that out-of-network prices tend to be higher than in-network and
Medicare prices, that is a misleading argument. Medicare and Medicaid prices tend to be unprofitable for
providers. Moreover, in-network prices are only profitable if a PPO network can steer a sufficient amount
of patient volume to a provider. Thus, providers rely on a payor mix in which out-of-network services cross-
subsidize unprofitable or low-margin services. Without that mix, providers do not have sufficient revenue
to invest in capital equipment, labor, and facilities in order to maintain their current lines of service.


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consumers. For example, in a separate lawsuit filed in San Francisco County Superior Court, VHS

Liquidating Trust alleged that Verity Health System went bankrupt as a result of the MultiPlan

Cartel. On August 31, 2018, Verity Health System filed for Chapter 11 bankruptcy. As a part of

that bankruptcy process, on January 6, 2020, Verity Health System announced the closure of the

St. Vincent Medical Center in Los Angeles, California.

       591.    Small and independent providers are especially susceptible to the price-fixing of

the MultiPlan Cartel. In the recent The New York Times exposé on MultiPlan, the reporter

interviewed healthcare providers about MultiPlan’s effect on their businesses. Kelsey Toney is a

behavioral therapist for children with autism in rural Virginia. She typically charges the rates that

Virginia pays for people on Medicaid. As reported by The New York Times, “last year, she said,

Meritain Health, an Aetna subsidiary, informed her that fair payment for her services was less than

half what Medicaid paid, based on calculations by MultiPlan.” She was then faced with the

prospect of turning her patients away: “I don’t want to say, ‘I’m sorry I can no longer accept you,’

especially when I’m the only provider within an hour,” she said. Toney told The New York Times

she “has not billed the parents of her two patients covered by Meritain, but going forward she will

not accept patients with similar insurance.”

       592.    On May 1, 2024, The New York Times further reported that “[o]ne provider reported

slashed payments from UnitedHealthcare, Cigna and an Aetna subsidiary after the insurers routed

claims to MultiPlan’s most aggressive pricing tool.”

       593.    This problem is particularly acute in the context of mental health and substance use

disorder (“MHSD”) treatment. MultiPlan’s pricing scheme often results in payments for MHSD

treatment claims that are less than 10–20% of the amount that would be expected for the same

services based on traditional methods of calculating rates (i.e., UCR). This massive underpayment




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of MHSD treatment pressures existing providers to close or reduce services and causes patients to

lose treatment access—a particularly problematic outcome given the lack of MHSD providers

across the country.

       594.    In addition, the MultiPlan Cartel’s effect of slashing out-of-network payments

suppresses revenue for rural hospitals that are in serious danger of failing—cutting off a key source

of healthcare goods and services for many communities. According to the Center for Healthcare

Quality and Payment Reform, between 2005 and 2019, over 150 rural hospitals closed. Another

39 rural hospitals closed between 2020 and 2024, despite the COVID-19 pandemic driving record

demand for hospital services. Many of the rural hospitals that are still operating are doing so on

shoestring budgets. More than 700 rural hospitals, representing nearly 30% of all rural hospitals

in the U.S., are at risk of closing. Over 350 rural hospitals are at immediate risk of closing because

they are losing money on patient services and have more debts than assets.

       595.    Since rural hospitals treat fewer patients than urban and suburban hospitals, they

have a higher cost of care per patient. As a result, many rural hospitals are at risk of closing because

they receive inadequate payments for their services. Therefore, the MultiPlan Cartel’s agreement

to suppress payment rates to all healthcare providers, including rural hospitals, threatens to

drastically cut the supply of healthcare services in several parts of the country. If rural hospitals

fail because of the MultiPlan Cartel, the cost of healthcare will increase throughout the U.S.

because patients in areas previously served by those hospitals will seek acute medical care only

when they are experiencing very severe symptoms, raising the cost of care.

       596.    In its May 1, 2024 report, The New York Times quoted one anonymous rural

healthcare provider as saying that MultiPlan “has decimated my life” and caused “the closing of

my business,” which “left patients having to travel 2.5 hrs for surgery.”




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        597.    Furthermore, the MultiPlan Cartel takes advantage of hospital emergency

departments that cannot lawfully avoid the cartel’s underpayment scheme. In essence, hospital

emergency rooms are sitting ducks. There is nothing that they can do to avoid the effects of the

MultiPlan Cartel, short of filing this lawsuit.

        598.    Emergency department utilization is extremely high throughout the U.S. According

to the U.S. Centers for Disease Control and Prevention, there were 131.2 million emergency

department visits in 2020, equating to 40.5 visits per 100 people. A total of 39.8 million emergency

department visits were covered by some form of commercial health insurance.

        599.    As of 2018, there were approximately 4,500 emergency departments at hospitals

throughout the U.S. staffed by approximately 45,000 physicians.

        600.    Demand for emergency department medical services is highly inelastic. Patients

often have little choice regarding to which hospital they are taken and are rarely able to avoid or

defer emergency medical treatment.

        601.    Emergency departments also play an increasing role in the provision of healthcare

services. From 1993 to the present, emergency department visits have grown faster than population

growth, and emergency departments have become the primary way that patients are admitted to

hospitals.

        602.    Although emergency departments face increasing and inelastic demand, hospitals

must serve all patients who come to the emergency department. As discussed above, under

EMTALA and analogous state laws, hospitals and physicians who staff emergency medical

departments must treat and stabilize all patients, without regard to their method of payment, and

hospitals are subject to civil liability for violating these laws.

        603.    Moreover, although commercial insurance networks typically require medical




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providers to seek preauthorization before providing certain medical services, hospitals do not need

to seek insurance preauthorization prior to providing emergency medical services. See 26 U.S.C.

§ 9816(a)(1)(A) (requiring that emergency services be covered “without the need for any prior

authorization determination”).

       604.    Because hospital emergency departments are required to treat all persons seeking

emergency medical treatment, they rely on commercial insurance networks like the MultiPlan

Cartel members to fairly compensate them for out-of-network charges at UCR rates.

       605.    Courts recognize that this statutory requirement to treat all persons seeking

emergency treatment is ripe for abuse by commercial health insurance networks. See, e.g., N.Y.

City Health & Hosps. Corp. v. Wellcare of N.Y., Inc., 937 N.Y.S. 2d 540, 545 (N.Y. Sup. Ct. 2011)

(“An insurance company is unjustly enriched if it fails to pay the hospital in full for the costs

incurred in rendering the necessary treatment of the insurer’s enrollees.”).

       606.    By colluding to underpay providers, and paying the minimum possible amount to

still maintain relationships with hospitals and emergency healthcare providers, the MultiPlan

Cartel has been systematically bleeding emergency rooms dry.

       607.    Providers certainly cannot turn to Medicare and Medicaid to make up for the losses

caused by the MultiPlan Cartel. Payments by Medicare and Medicaid have long failed to keep pace

with inflation. Although total hospital expenses increased by 17.5% between 2019 and 2022,

Medicare payments for inpatient care increased only 7.5% over the same period. As a result,

hospitals’ margin on care provided to Medicare patients sank to a historic low of -12%—meaning

that for every $100 a hospital spends to treat a recipient of Medicare, Medicare pays only $89.

       608.    This dynamic is only exacerbated in times of national public health crisis like the

COVID-19 pandemic. While hospital emergency departments generate a massive amount of out-




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of-network claims from saving patient lives, the MultiPlan Cartel generates massive profits for

MultiPlan and other cartel members by systematically underpaying those out-of-network claims.

       609.    As a result of the MultiPlan Cartel, payors typically pay 50% or less of the value of

emergency department out-of-network claims. According to an analysis of a sample of 10% of

Florida emergency department visits between 2014 and 2015, the average emergency physician

charge was $679. That charge is not exorbitant. FAIR Health, a database that contains publicly

available data based on billions of out-of-network claims, calculates the 80th percentile charge for

a high acuity emergency department visit in Florida to be $950. Despite that fact, payors’ average

out-of-network payment on those claims was $307. As a result, an emergency physician in Florida

provides an average of $138,000 in uncompensated care each year.

       610.    Private medical groups are also struggling to stay above water. On average, their

expenses are outpacing the payments that they receive for providing care. While revenue per

physician has increased by 9.1% since 2020, the median expense per physician has increased by

26.5%. Just like other providers, these medical groups cannot afford to be underpaid by the

MultiPlan Cartel. The MultiPlan Cartel puts wide swaths of providers at the edge of bankruptcy.

       611.    The MultiPlan Cartel leaves patients worse off. They have less access to care. They

have less choice. They too are harmed by the cartel.

       612.    Harm to Subscribers. The MultiPlan Cartel also harms subscribers. After entering

into agreements with MultiPlan to limit out-of-network pricing competition, competing payors

turn around and charge exorbitant fees to ASO subscribers in exchange for setting low out-of-

network prices. Those charges to subscribers can often dwarf the actual amount paid to the

provider. Theoretically, competing payors could pass along the “savings” generated by

underpaying out-of-network providers in the form of lower per member per month fees for




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providing administrative services. That is not happening. As explained below (see ¶¶ 629-660),

the sole beneficiaries of the MultiPlan Cartel are the cartel members—they reap the benefits of

massive profits, surpluses, executive compensation, and stock buy-backs, while the rest of the

healthcare system in the U.S. attempts to survive on the miniscule amounts that the cartel deigns

to pay for out-of-network goods and services. Therefore, as a result of the MultiPlan Cartel,

providing health insurance gets more expensive for employers and other health plan subscribers.

       613.    Many subscribers’ contracts with third-party payors are private and not disclosed

publicly. However, state and local government entities routinely make information about their

healthcare benefits available to the public.

       614.    An October 28, 2024 New York Times investigation concluded that the MultiPlan

Cartel is overcharging subscribers for the underpayments that the cartel makes to healthcare

providers.

       615.    The New York Times investigation concluded that members of the MultiPlan Cartel,

including Elevance, United, Aetna, and Cigna, force state and local government employers to

subscribe to health plans that include “shared savings” plans that allow the payors to charge

subscribers exorbitant sums for the underpayments that they make to providers.

       616.    These “shared savings” payments are calculated using a percentage of savings, or

PSAV, model. Under this PSAV model, the payor charges the subscriber a percentage of the

difference between an out-of-network healthcare provider’s billed charges and the amount that the

MultiPlan Cartel pays for those out-of-network goods and services.

       617.    In many cases, these “shared savings” payments are actually higher than the amount

of money that the MultiPlan Cartel pays the healthcare provider who actually did the work.

       618.    Subscribers know that these “shared savings” charges are a sham. There are no




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savings and there is nothing that they can do about it.

       619.    Referring to Elevance’s shaved savings program, a human resources officer for a

California county told The New York Times, “We don’t like it, but there’s not much we can do.”

       620.    A human resources officer for a local government told the New York Times that the

basic proposition of these “shared savings” programs is a lie. She explained, “What they’re trying

to say is, ‘Look how much it saved you,’ but that’s really not savings.”

       621.    A benefits manager for a small Midwestern town said of these “shared savings”

programs, “I don’t like it morally, conceptually.”

       622.    Subscribers are told that these “shared savings” programs are “not something you

can opt out of.”

       623.    Competing payors also tell subscribers that if they attempt to opt out of these

“shared savings” programs, the payors will raise other administrative fees associated with their

health plan, effectively punishing subscribers for attempting to forgo these massive charges.

       624.    Many competing payors also make it difficult to track the true cost of these “shared

savings” programs by burying the cost of the savings program in a flat monthly charge and not

providing a claim-specific breakdown of their “shared savings” charges. As one insurance broker

put it, “I’m sure many employers are out there paying this and not even aware that they’re paying

it.”

       625.    Members of the MultiPlan Cartel have long worried about the “optics” associated

with these shared savings programs while continuing to pocket massive profits from them. In a

2018 presentation, United acknowledged that it had generated “significant revenue” from its out-

of-network “savings” program, which totaled $1.1 billion in a single year.

       626.    The revenue generated from these massive shared savings payments incentivized




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competing payors to use the MultiPlan Cartel to pay providers even less for their out-of-network

goods and services. In a 2020 presentation, UMR, a subsidiary of United, wrote: “Strategy for

2021 is force clients to move to more aggressive [shared savings] programs.”

       627.    Thus, the MultiPlan Cartel creates a negative feedback loop that harms subscribers

and providers. Because competing payors benefit from colluding to pay healthcare providers even

less and charging subscribers even more for that “service,” payors are constantly working with

MultiPlan to find ways to pay healthcare providers even less for their out-of-network goods and

services.

       628.    The MultiPlan Cartel harms competition by systematically underpaying healthcare

providers, limiting the amount of revenue that healthcare providers can spend on improving and

expanding care, and putting at-risk healthcare providers closer to bankruptcy. The cartel harms

patients by leaving them with less access to care and less choice. The cartel harms subscribers by

charging them exorbitant fees as a result of the conspiracy.

       C.      There is No Procompetitive Justification for the MultiPlan Cartel

       629.    MultiPlan attempts to justify its behavior as intended to keep prices down for

healthcare consumers. MultiPlan likes to say that it is bending the curve on healthcare costs. That

is a lie. As an August 5, 2020 analysis explained: “Theoretically, MultiPlan’s harsh negotiation

tactics should be good for rising American health care costs; insurers are supposed to lower costs

by negotiating lower prices on behalf of the patient. But instead, MultiPlan acts like a mafia

enforcer for insurers, forcing doctors to accept low payments while insurance premiums for

patients . . . somehow continue to rise.”

       630.    Although MultiPlan claims that its out-of-network pricing methodology helped

decrease healthcare costs, the data shows otherwise. According to the Centers for Medicare &

Medicaid Services, in 2016, a year before several payors joined the MultiPlan Cartel, private health


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insurance expenditures in the U.S. were $1.03 trillion. By 2021, private health insurance

expenditures in the U.S. were $1.21 trillion. By 2025, private health insurance expenditures in the

U.S. are projected to be $1.53 trillion, a 48% increase over 2016.

       631.    MultiPlan’s argument that it generates savings also ignores who those purported

“savings” benefit—MultiPlan and the other members of the MultiPlan Cartel. As explained above,

through its PSAV payment model, MultiPlan makes more money when doctors, nurses, and

hospitals make less money. Moreover, MultiPlan’s Co-Conspirators have designed third-party

payment plans that include “shared savings programs” that entitle the Co-Conspirators to a

percentage of the “savings”—as high as 35%—generated by underpaying doctors and hospitals

for out-of-network goods and services. This often results in MultiPlan and its Co-Conspirators

being paid more than the provider when a provider provides out-of-network goods and services to

a patient. Consider, for example, an instance in which a provider bills $1,500 for an out-of-network

service and the MultiPlan Cartel pays only $150 for that service. If MultiPlan has a 15% PSAV

for that charge, it will make $202.50 on that claim ($50 more than the provider and 15% of the

$1,350 “savings”). If MultiPlan’s Co-Conspirator has a 35% shared saving program, it will make

$540 on the claim (40% of the $1,350 “savings”). In that scenario, MultiPlan and its Co-

Conspirator make nearly six times as much as the provider on that claim.

       632.    The remaining underpayment does not benefit subscribers or patients. Competing

payors use these underpayments to enrich themselves and funnel cash into eye-watering executive

compensation, stock buybacks, and massive surpluses.

       633.    In fact, while average Americans have seen their deductibles and premiums

increase every year, the members of the MultiPlan Cartel have been getting rich.

       634.    Between 2012 and 2022, a period in which the size and effectiveness of the




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MultiPlan Cartel increased substantially, the revenues of the seven largest payors (United,

Elevance, Aetna, Cigna, Centene, Humana, and Molina) increased by 300% growing from $412.9

billion in 2012 to $1.25 trillion in 2022, far faster than their revenues increased prior to the cartel.

        635.    During the same ten-year period, the profits of those seven companies increased by

287%, from $24 billion in 2012 to $69.3 billion in 2022.

        636.    For example, in 2009, the first year before it began doing business with MultiPlan,

United earned $7.35 billion in profits. In 2022, United made $31.85 billion in profits.

        637.    And, compared to FAIR Health, using Data iSight was incredibly lucrative: as a

United executive admitted under oath, the MultiPlan Cartel enabled the insurer to raise its margins

from $5 per member, per month when it was forced to use FAIR Health as a benchmark, to $30

per member, per month when it joined the MultiPlan Cartel—a 600% increase.

        638.    MultiPlan’s executives also continue to be compensated at astronomical levels. For

example, in MultiPlan’s 2024 Proxy Statement, MultiPlan’s then-CEO was reported to have made

$10.7 million in total compensation in 2022 and $7.6 million in 2023. Additional executives also

made over $1 million in 2023, such as Jim Head, MultiPlan’s former CFO, who made over $3

million in total compensation in 2023 before being replaced in 2024.

        639.    In 2023, the CEOs of the six largest payors (United, Elevance, Aetna, Cigna,

Centene, and Humana) earned a combined $122 million in total compensation.

        640.    Andrew Witty, the CEO of United, made $23.5 million in compensation in 2023—

352 times the median salary at United.

        641.    Gail Boudreaux, the CEO of Elevance Health, made $21.8 million in compensation

in 2023—389 times the median salary at Elevance.

        642.    Karen Lynch, the CEO of Aetna’s parent company, CVS Health, made $21.6




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million in compensation in 2023—392 times the median salary at CVS Health.

       643.    David Cordani, the CEO of Cigna, made $21.04 million in compensation in 2023—

279.9 times the median salary at Cigna.

       644.    Sarah London, the CEO of Centene, made $18.5 million in total compensation in

2023—234 times the median salary at Centene.

       645.    Bruce Broussard, the CEO of Humana, made $16.3 million in compensation in

2023—192 times the median salary at Humana.

       646.    The compensation paid to the CEOs of MultiPlan Cartel members are even more

stark when examined over time. The following chart shows the total compensation paid to the

seven largest payor’s CEOs between 2012 and 2022. The compensation paid to these CEOs

increased faster during the MultiPlan Cartel than it did prior to the cartel.

                      Payor                              Total CEO Compensation (2012-2022)

                      Cigna                                          $366.9 million

                      United                                         $349.4 million

                     Centene                                         $322.6 million

                      Aetna                                          $265.7 million

                    Elevance                                         $166.5 million

                     Molina                                          $122.1 million


       647.    Rather than passing the purported savings generated by the MultiPlan Cartel on to

patients, the members of the MultiPlan Cartel also spent billions of dollars on stock buybacks that

had no benefit for patients, but did serve to line the pockets of executives and strategic investors.

       648.    In less than a two-year period, between March 31, 2020 and December 31, 2022,

United, Elevance, Cigna, Aetna, Humana, Centene, and Molina collectively spent $47.4 billion on



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share buybacks. Between January 1, 2024 and July 31, 2024 alone, Cigna spent $5 billion buying

back its own shares. Similarly, in 2022 Aetna’s corporate parent, CVS Health, announced that it

would spend $10 billion on stock buy-backs.

        649.    If that were not enough, while the MultiPlan Cartel has paid doctors and hospitals

less and less, the members of the MultiPlan Cartel have engaged in increasingly extravagant

internal spending. In 2022, a few days after posting earnings that beat Wall Street expectations,

Aetna executives flew to Walt Disney World—with some executives using private jets—for a

private concert with John Legend.

        650.    In addition to funneling cartel-generated profits to their C-suites, members of the

MultiPlan Cartel also stashed those profits in their capital reserves. Members of the MultiPlan

Cartel also have capital and statutory surpluses that are far more than is necessary to satisfy

requirements of state insurance commissioners and independent ratings agencies. For instance, as

of December 31, 2023, United had to keep a capital surplus of $18.3 billion to meet regulatory

requirements. However, the company had a capital surplus of $38.5 billion—over $20 billion more

than it needed to keep in order to satisfy state regulators. Similarly, as of December 31, 2023,

Cigna had to keep a capital surplus of $4.3 billion to meet regulatory requirements. However, the

company had a capital surplus of $14.9 billion—$10 billion more than it needed in order satisfy

state regulators.

        651.    While some members of the MultiPlan Cartel are purportedly non-profit entities,

they have funneled the gains from their participation in the cartel into excessive executive

compensation, extravagant executive fringe benefits, and surpluses far in excess of requirements

of state regulators and ratings agencies. For example, although Highmark is purportedly a non-

profit entity, in its Form 990 filing with the Internal Revenue Service, it reported $708 million in




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assets and $227 million in liabilities, leaving the purportedly non-profit company with $480

million in net assets. Highmark’s executives made out like bandits too. David Holmberg, the CEO

and President of Highmark, made $8.5 million in total compensation in 2021. According to the

same 2021 Form 990 tax return, Holmberg received significant fringe benefits including private

jet flights for himself and a companion, first class air travel, and a country club membership.

Although members of the MultiPlan Cartel that are purportedly non-profits typically retain

independent executive compensation consultants to advise them on the proper amount of

compensation and benefits to pay to their executives, these consultants compare compensation

between members of the MultiPlan Cartel. This makes the overpayment of executives in the

MultiPlan Cartel a self-fulfilling prophecy.

       652.    Similarly, while Central States claims to be a non-profit, it made over $5.1 billion

in revenue in 2022 according to IRS records. After deducting claims expenses and overhead,

Central States made a net income of $1.1 billion in 2022—a significant increase from the $933

million in net income that Central States made in 2021. Central States also has a surplus that is far

larger than what is necessary to pay its anticipated annual claims. In 2022, Central States had plan

assets of $7.7 billion. Central States paid over $203 million to administrative costs, including

employee compensation, in 2022.

       653.    In theory, medical loss ratios, or MLRs, prescribed by federal regulations should

prevent insurers from spending less and less of subscribers’ premiums on paying healthcare claims.

But, in practice, competing payors manipulate MLRs through conduct that one former payor

executive has called a “magician’s trick” that involves “figur[ing] out clever ways to shuffle costs

around, reclassify expenses, and game the system, so they can rake in massive profits while

technically staying within the MLR limits[.]” As that former executive explained, “[i]n a fair




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world[,] . . . if insurers spent less on your care, you’d get some money back or pay lower premiums.

But in this world, they keep finding ways to keep those extra dollars and you’re wondering why

your premiums keep rising even though you barely go to the doctor.”

       654.    To put all of this in plain English, the members of the MultiPlan Cartel like to justify

their conduct as generating “savings” or “bending the cost curve.” That is not happening. Each

year regular Americans pay more out-of-pocket before their health insurance even kicks in and

pay more for having insurance coverage even if they do not use it. At the same time, unknown to

patients, MultiPlan and its competing payors are often making more money than their doctor when

they see an out-of-network physician. While the MultiPlan Cartel makes billions of dollars from

underpaying doctors and hospitals, patients do not see that money.

       655.    While MultiPlan and its Co-Conspirators attempt to justify the MultiPlan Cartel as

tackling exorbitant fees charged by hospitals, they tell a different story when they are testifying

under oath. During a trial, John Haben, the former Vice President of Networks at United, testified

that despite United’s public position that emergency department charges are “egregious,”

emergency department bills are actually “not a lot of money” when “you put it in the perspective

of saving somebody’s life.” When Haben was informed that an emergency department had charged

$1,428 for a patient’s medical care and that United, using MultiPlan, had offered to pay only $254

for that claim, Haben testified that “$1,400 is not a lot of money,” the emergency department bill

was “reasonable,” and United’s MultiPlan-induced offer to pay $254 for that out-of-network

service was “low.”

       656.    Haben is right: emergency care is highly valuable and can lower total medical

spending for acutely ill patients. As Dr. Laura Burke, an emergency physician at Beth Israel

Deaconess Medical Center, explained: “Too often discussion of the cost of emergency care fail[s]




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to consider the bigger picture—that spending on emergency care can save lives, alleviate suffering

and in some instances avoid the need for more expensive hospitalization. . . . Emergency

physicians treat anyone, anytime and serve as the safety net for the nation’s acute care system.”

        657.    In Adventist Health System Sunbelt Healthcare Corporation v. MultiPlan, Inc., No.

1:23-cv-07031 (S.D.N.Y.), MultiPlan attempted to suggest that its pricing methodology is

procompetitive because of “the patient’s own interest in having their portion of the ultimate

payment to AHS for OON services reduced.” But that has not happened. Patients’ cost of care has

not been reduced by MultiPlan. Co-insurance, deductible, and other out-of-pocket costs for health

plans have continued to increase each year under the MultiPlan Cartel.

        658.    The MultiPlan Cartel also charges exorbitant “shared savings” fees to employer

groups, increasing the cost of self-insured employers offering healthcare coverage. The benefits of

the MultiPlan Cartel flow one way—to the cartelists, their executives, and their investors.

        659.    Therefore, MultiPlan cannot justify its conduct. MultiPlan does not contain costs.

Its cartel has taken advantage of a rapidly growing healthcare sector to enrich itself at the expense

of doctors, nurses, and patients. And the life-saving care provided by healthcare providers is not

“exorbitant” as the cartel likes to claim (until they are sworn to tell the truth).

        660.    Even if there were some real savings associated with the MultiPlan Cartel, that

savings could be achieved by less restrictive means that do not harm providers and patients, such

as each payor using FAIR Health and its independent business judgment as the basis for pricing

and negotiating claims for out-of-network goods and services.

VII.    DAPs Have Suffered Antitrust Injury and Have Antitrust Standing

        661.    Regardless of whether the MultiPlan Cartel agreement is characterized as an

agreement between horizontal competitors, a hub-and-spoke agreement, or a vertical agreement,

the DAPs have antitrust standing to bring claims against MultiPlan and have suffered a classic


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antitrust injury.17

        662.    DAPs have suffered direct damages to their business and property as a result of the

MultiPlan Cartel agreement. The MultiPlan Cartel has caused massive damages to each healthcare

provider by collectively setting prices for out-of-network goods and services far below what they

would have been but for the cartel. Each member of the MultiPlan Cartel uses MultiPlan’s common

pricing methodology to massively underpay doctors and hospitals for out-of-network goods and

services.

        663.    For example, between May 2019 and December 2021, four DAPs—Emergency

Physicians of Mid-America, P.C.; Emergency Services of Oklahoma, P.C.; Oklahoma Emergency

Services, P.C.; and South Central Emergency Services, P.C.—submitted 22,623 bills for out-of-

network services to United. In those bills, the four DAPs sought payments of $23,848,730. The

average bill they submitted was for $1,054. However, using MultiPlan’s common pricing

methodology, United paid only $6,093,373 on those bills—an underpayment of 74.4%. The prices

that United set for those out-of-network goods and services using MultiPlan’s common pricing

methodology were well below the prices that would have been set for those goods and services

absent the cartel. The prices were substantially lower than both UCR and FAIR Health prices for

those goods and services.

        664.    Thus, DAPs have sustained, and continue to sustain, significant economic losses

from underpayments made by members of the MultiPlan Cartel and directly caused by the

MultiPlan Cartel agreement. DAPs will calculate the full amount of such underpayment damages

after discovery and upon proof at trial. Unless the conduct of MultiPlan and other members of the


17
   In the case of the associational DAPs that have sued with respect to the interests of their healthcare
provider members, the healthcare provider members have suffered the injuries to their business and property
alleged in this section.



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MultiPlan Cartel is stopped, DAPs will incur future damages via those underpayments.18

       665.    As noted above (see, e.g., ¶¶ 14, 19-20, 22, 28, 45, 128, 382, 392-393, 412, 449,

497, 506, 510), the MultiPlan Cartel eliminates pricing competition. Prior to the formation of the

MultiPlan Cartel, third-party payors competed with one another to set prices for out-of-network

goods and services. If a third-party payor did not compensate a provider fairly for out-of-network

goods and services, the provider had the ability to bargain fairly for a proper payment for their

services by pointing to the prices that other payors were willing to pay for the same service. The

MultiPlan Cartel destroyed that pricing competition.

       666.    There is direct evidence that the MultiPlan Cartel caused anticompetitive harm to

the DAPs. MultiPlan provides monthly “savings reports” that calculate the exact amount of money

that MultiPlan has caused specific members of the MultiPlan Cartel to underpay healthcare

providers. These savings reports show the amount of charges billed by providers, the prices set by

the MultiPlan’s pricing methodology, and the portion of the underpayment that MultiPlan

attributes to its claims suppression methodology. Each of these savings reports is direct evidence

of the anticompetitive harm caused by MultiPlan’s agreements with its Co-Conspirators.

       667.    MultiPlan’s own filings with the SEC illustrate the harm that the MultiPlan Cartel

has caused to providers. According to the May 10, 2023 Quarterly Report that MultiPlan filed with

the SEC, MultiPlan processed $18.4 billion in charges from commercial health plans in the first

three months of 2023. MultiPlan estimates that its agreed-upon pricing methodology resulted in a

61–81% underpayment to providers. These underpayment percentages and the billions of dollars

in underpayments generated by the MultiPlan Cartel each year indicate that the MultiPlan Cartel



18
  DAPs are not seeking damages for claims that they submitted to MultiPlan’s PPO primary or wrap
networks and that MultiPlan set prices for as in-network claims.



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has caused massive harm to providers, competition, and the DAPs.

        668.   Because of the revenues that they lost due to the MultiPlan Cartel, DAPs and other

healthcare providers had to cut back on other expenses, including physician compensation and

benefits, capital equipment purchases and leases, and hiring additional staff. For example, in a

March 13, 2020 email, the TeamHealth DAPs19 noted that due to massive underpayments that the

TeamHealth DAPs were receiving from United for out-of-network goods and services,

TeamHealth had made cuts to compensation and benefits for physicians and advanced practice

clinicians.

        669.   Even if DAPs were able to negotiate with MultiPlan over these out-of-network

prices, the best they can hope for is being forced to accept a massive underpayment. The

underpayments that MultiPlan negotiates on behalf of its competitors do not differ materially from

the initial price set by MultiPlan. For example, David Steinfeld, the Vice President of Clinical and

Consumerism Solutions at United, explained in a July 30, 2018 email that even when a provider

appealed a price set by MultiPlan, United assumed that the provider would still accept 97.4% of

that underpayment.

        670.   What makes this even more galling is that United executives privately admitted that

they could and would pay providers 100% of their billed charges for out-of-network goods and

services, if necessary. In a separate July 30, 2018 email, Steinfeld stated, “If it came down to it

UHC would pay billed charges[.]” Sarah R. Peterson, the Director of Network Programs at United,

responded to Steinfeld’s email on July 31, 2018, explaining that United was secretly willing to pay

100% of billed charges because, “UHC is not taking on legal risk” for using MultiPlan.



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 The “TeamHealth DAPs” are the plaintiffs in Hill Country Emergency Medical Associates, et al. v.
MultiPlan, Inc., et al., No. 1:24-cv-11234 (N.D. Ill.).



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       671.    In other words, although United realized that there was a legal risk in using

MultiPlan and that the company was secretly willing to pay 100% of billed charges to avoid taking

on legal risks associated with using MultiPlan, United continued to use MultiPlan’s out-of-network

pricing suppression methodology to underpay providers billions of dollars and force providers to

accept those underpayments.

       672.    Rather than competing with other payors to offer reasonable payments for out-of-

network goods and services, the members of the MultiPlan Cartel cut their payments to providers

with impunity, knowing that they could do so because other payors had agreed to underpay

providers as a part of the MultiPlan Cartel. For example, Dan Schumacher, the President and Chief

Operating Officer of United, told one provider that United would cut payments to that provider for

out-of-network goods and services by as much as 50%. When the provider asked Schumacher why

United was cutting the payments to that provider for out-of-network goods and services so

drastically, Schumacher replied, “because we can.”

       673.    MultiPlan’s pricing methodology generates significant underpayments when

compared to non-collusive methods of setting prices for out-of-network goods and services.

       674.    DAPs’ injuries are of the type that the antitrust statutes were intended to forestall.

Namely, DAPs were harmed because they were underpaid by members of the MultiPlan Cartel

because MultiPlan and other members of the cartel agreed to suppress payments to healthcare

providers for out-of-network claims.

       675.    There are no more direct victims of the MultiPlan Cartel than DAPs. DAPs

provided medical goods and services to patients at DAPs’ facilities. DAPs submitted bills directly

to members of the MultiPlan Cartel. Acting on direction from MultiPlan and pursuant to their

anticompetitive agreement, members of the MultiPlan Cartel systematically underpaid DAPs for




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those claims. Were it not for the MultiPlan Cartel agreement, DAPs would have been compensated

fairly and at a more competitive level for those claims.

       676.    There is no potential for speculative damages, duplicative recovery, or complex

apportionment of damages. Each claim that DAPs submitted to members of the MultiPlan Cartel

for out-of-network goods and services was underpaid compared to the amount that DAPs would

have been paid but for the cartel agreement.

       677.    Nor is there any other proximate or intervening cause of the DAPs’ losses due to

MultiPlan’s underpayments. For the reasons stated above, when the MultiPlan Cartel

systematically underpays DAPs for their out-of-network goods and services, DAPs did not have

the ability to obtain the balance of those charges from the patient or any other payor.

       678.    While the No Surprises Act (“NSA”) contains an independent dispute resolution

mechanism for disputed out-of-network claims subject to the No Suprises Act, DAPs cannot avoid

the effects of the MultiPlan Cartel using that process. By artificially depressing prices for out-of-

network claims across such a wide range of payors, and then categorically refusing to negotiate in

most instances, MultiPlan makes the cost of disputing its cartel’s underpayments too high to be

worthwhile.

       679.    MultiPlan admits that: (1) a small fraction of claims go into arbitration, and (2) once

there, the independent dispute resolution process is “clunky” and “inefficient.” During the 42nd

Annual J.P. Morgan Healthcare Conference, former MultiPlan CEO Dale White said about the

NSA: “The process itself is relatively efficient and smooth, except for when it gets to the IDR

stage. When it gets to the IDR stage, which is the smallest percentage of claims, of our no-surprises

claims, the ones that end up in arbitration is a fraction of their overall NSA claim volume. Once it

gets there, it’s very clunky, very inefficient, and we’ve had to invest in it. We had to dedicate some




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expenses in ’22 and ’23, in support of just that IDR component. We’ll continue to do so. We think

there’s opportunity for us. It’s a complex process. As I said earlier, we’ve invested in it.”

       680.    MultiPlan counts on the sheer breadth of its cartel and the crushing volume of

pricing notices that it sends to payors to overwhelm the No Suprises Act’s independent dispute

resolution process. MultiPlan sends some providers multiple pricing notices each day, leading to

a queue of underpayments on out-of-network claims that the provider has no effective means to

push back on. The MultiPlan Cartel underpays providers for their out-of-network goods and

services tens of thousands of times each day. Providers must challenge each of those

underpayments individually in the independent dispute resolution process. In many cases, the cost

of pursing independent dispute resolution quickly outstrips the loss caused by the underpayment

on a particular claim. Thus, there is no way for a provider to effectively use the independent dispute

resolution process to reverse the effects of the MultiPlan Cartel’s underpayments.

       681.    Government data confirms the futility of pursuing independent dispute resolution.

According to a joint report from the U.S. Department of Health and Human Services, U.S.

Department of Labor, and U.S. Department of Treasury, during the fourth quarter of 2022, only

11,443 disputes concerning MultiPlan’s payments for out-of-network goods and services were

contested in the independent dispute resolution process during that period. Those 11,443 dispute

claims represent less than 0.1% of all underpayments from the MultiPlan Cartel during that period.

       682.    For all out-of-network goods and services, MultiPlan “erect[s] a bureaucratic layer

so thick and complicated that few can navigate it” when pushing back on MultiPlan’s pricing.

MultiPlan relies on the fact that providers overseeing a massive flow of out-of-network claims will

not have the time to fight back on individual claims. MultiPlan prices nearly every out-of-network

claim, giving medical billers less than 10 days to respond to those prices. When a provider asks




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the competing payor how MultiPlan set the prices for its out-of-network claims, the payor claims

that it is not responsible for MultiPlan’s pricing. When the provider tries to negotiate with

MultiPlan, MultiPlan often redirects the provider to the competing payor in order to play a days-

long game of telephone instead of actually negotiating the out-of-network price set by MultiPlan.

       683.    In short, while there are procedures for providers to dispute payment amounts

through arbitration, the sheer volume of claims that are underpaid by the MultiPlan Cartel make

arbitrating each individual claim practically and financially impossible.

       684.    DAPs suffered antitrust injury as a result of the MultiPlan Cartel. As explained

above, the actions of MultiPlan and the MultiPlan Cartel have directly harmed DAPs. For decades,

federal courts have recognized that agreements between competitors to underpay providers for

goods and services are illegal per se because buyers’ cartels are so pernicious that they will almost

always harm competition.

       685.    DAPs are the most efficient enforcer of the antitrust laws with respect to the

MultiPlan Cartel. DAPs were directly injured when they were underpaid for submitted out-of-

network claims due to the cartel agreement. The damages that DAPs suffered are not contingent,

speculative, or complex. Due to the MultiPlan Cartel’s conduct, and as a practical and legal matter,

DAPs cannot seek payment for these charges from any other source.




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VIII. DAPs’ Claims are Not Arbitrable

        686.    DAPs’ claims are not subject to an arbitration clause in any contract that they may

have with MultiPlan or any other payor concerning in-network rates.20

        687.    DAPs’ claims for damages, injunctive relief, and declaratory relief relate solely to

the prices MultiPlan and Co-Conspirators set for claims that were entirely out-of-network and were

not subject to any prior contractual agreement between DAPs and a payor. DAPs are not seeking

relief for any in-network claims pricing or prices set for claims on MultiPlan’s complementary

network. DAPs’ claims against Defendants do not pertain to, arise out of, or relate in any way to

the contractual in-network rates set in their contracts (if any) with Defendants.

        688.    Defendants all recognize that out-of-network claims are not governed by contracts

and have publicly stated as much. For example:

           “Our Analytics-Based Services reduce the per-unit cost of claims using data-driven

            negotiation and/or reference-based pricing methodologies. These services can be used

            standalone but often are used in a solution hierarchy after MultiPlan’s network services

            to reduce claims with no available network contract.” – MultiPlan

           “[W]e do not have contracts with all providers that render services to our members and,

            as a result, may not have a pre-established agreement about the amount of

            compensation those out-of-network providers will accept for the services they render.”

            – Elevance

           “If a provider isn’t under contract with your plan, they are known as an ‘out-of-

            network provider.’” – United


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  Each DAP shall make a good faith effort in their Short Form Complaint to identify and assert claims only
against those Defendants from which they have been paid solely on an out-of-network basis or otherwise
have no agreement to arbitrate disputes concerning the prices of out-of-network goods and services.



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          “Out-of-network providers do not have contracts with Humana.” – Humana

          “If a doctor or facility has no contract with your health plan, they’re considered out-of-

           network[.]” – Cigna

          An out-of-network doctor “has not agreed to a contract price for the covered service.”

           – Aetna

          “An out-of-network provider is a physician, hospital or other health care provider who

           has not signed an agreement to provide services through our PPO network.” – Blue

           Cross Blue Shield of Michigan

          “Providers and facilities that do not have a contract with a health insurer are considered

           out-of-network.” – Highmark Health

          “Out-of-network [] [t]ypically refers to physicians, hospitals or other health care

           providers who do not contract with an insurance plan to provide services to its

           members.” – Consociate Health

          “Out-of-network describes providers and facilities that haven’t signed a contract with

           your health plan.” – Healthcare Highways

          “Out-of-network describes providers and facilities that haven’t signed a contract with

           your health plan.” – Team Care

       689.    Defendants’ agreements with MultiPlan also explicitly contemplate that

MultiPlan’s proprietary pricing methodologies will be used to set prices only for healthcare claims

that are not subject to any form of written contract. In its contract with Cigna, MultiPlan agreed to

apply its proprietary pricing methodologies to “claims of providers [that] do not participate in

[Cigna’s] network.” Likewise, in its contract with MultiPlan, Aetna agreed to send MultiPlan “only

out-of-network, non-contracted claims” to be priced according to MultiPlan’s proprietary pricing




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methodology. Finally, in its contract with MultiPlan, United agrees to route only out-of-network

and non-contracted claims to MultiPlan in order to set prices for those claims.

       690.    For the entire time period relevant to this complaint, no DAP had an in-network

agreement or any other form of contract with any Defendant named in its short form complaint

that requires any DAP to arbitrate disputes concerning out-of-network pricing.

       691.    For example, in 2019, United terminated its in-network agreements with the

TeamHealth DAPs. As a result, each of those DAPs are currently out-of-network with United and

have not reached any agreement to arbitrate their claims against United. Those DAPs have not

reached an agreement or meeting of the minds with United concerning the arbitration of any

disputes between them and United concerning out-of-network claims adjudication and pricing.

And, for purposes of clarity, this dispute does not arise under any of those DAPs’ now-terminated

out-of-network agreements with United. For purposes of clarity, the TeamHealth DAPs seek

damages, injunctive relief, and declaratory relief only for the period after United terminated its

agreement with those DAPs.

       692.    Even if there were, somehow, an enforceable arbitration clause that applied to the

DAPs’ claims against Defendants (and there is no such clause), many Defendants have waived the

right to enforce those clauses. For example, MultiPlan has litigated motions to dismiss against

DAP Adventist Health System in the U.S. District Court for the Southern District of New York

and did not file a motion to compel arbitration in those proceedings. Moreover, MultiPlan’s

counsel has told this Court that it will not be filing a motion to compel arbitration in this action.

       693.    The contracts that MultiPlan and its Co-Conspirators entered into with DAPs

regarding in-network goods and services confer no benefits on non-contracting parties and cannot

serve as the basis to compel arbitration between the DAPs and a third-party. Many of those




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contracts contain clauses that expressly state that the contract confers no benefits on any third-

party and that no entity is a third-party beneficiary of the contract.

IX.    The Defendants Also Use Deceptive and Unfair Tactics to Further Their Unlawful
       Scheme

       694.      Defendants also have created a web of deceit, and use strongarm tactics to carry out

their common purpose of paying DAPs and other providers at rates far below the rates paid in a

more competitive market absent collusion. In doing so, Defendants enriched themselves through

fees and the benefit of underpaying for DAPs’ out-of-network goods and services. Among other

things, the Defendants routinely misrepresent to providers in “verification of benefits”

communications before services are provided that the payor pays for such services at competitive

market rates—and fails to tell providers that, in fact, prices will be determined using MultiPlan’s

common pricing methodology. And none of the cartel members tell providers that the pricing is

being determined through collusion and the use of commingled data, as opposed to each payor

independently determining what price it will pay. Defendants couple their bait-and-switch pricing

with strong-arm tactics, obfuscation, and a bureaucratic maze designed to leave providers with no

practical choice but to take the Defendants’ low-ball payments.

       695.      One of the main reasons PPO plans generally cost more is because plan members

can choose to receive out-of-network goods and services. The willingness of providers (including

DAPs) to provide services to a PPO plan’s members on an out-of-network basis is thus material to

the value and appeal of a PPO plan. In turn, when employers select a PPO plan to offer to their

employees—and when employees opt to enroll in a PPO plan from among the different types of

plans an employer may offer—accessibility to providers on an out-of-network basis is a material

consideration.

       696.      In furtherance of their common plan, Defendants routinely and falsely represent



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that they allegedly provide reasonable, competitive, and negotiated rates to out-of-network

providers. For example, United represents that it “reimburses at competitive rates” when a patient

exercises their choice to use an out-of-network provider and engages in “negotiation” with

providers over such rates. Aetna similarly represents that it uses MultiPlan to set prices “based on

typical competitive charges and/or payments for a service.” Cigna represents that it offers out-of-

network providers “an amount based on a market-based rate,” or UCR amounts. There is no

disclosure that MultiPlan is using the cartel’s commingled data, that the other payors have

substituted MultiPlan Cartel pricing of out-of-network goods and services for their own

independent decisions on pricing, or that pricing is suppressed through a series of caps

(“overrides”) that MutiPlan coordinates so that the cartel members remain in alignment in pushing

out-of-network prices lower and lower.

       697.    Except in the case of emergency services that are covered by EMTALA or similar

state laws, before providing out-of-network goods and services, a DAP typically contacts the

patient’s insurer (or agent of the insurer) for a verification of benefits and, if needed, pre-

authorization for the services. This allows the DAP to confirm that the treatment will be paid for

even though the provider is not in-network for that patient’s plan. Such confirmation is a standard

practice in the healthcare industry that induces DAPs to provide services and facilities to patients

on an out-of-network basis.

       698.    Defendants are aware that DAPs and other out-of-network providers seek out and

routinely rely on such pre-treatment verifications. Defendants take advantage of this dynamic to

victimize the DAPs. Throughout the relevant period, agents and representatives of each Defendant

regularly and routinely represented to DAPs that the competing payors would pay for out-of-

network goods and services and facilities, for example, a UCR rate or a specified multiple of




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Medicare rates—only to have MultiPlan come back after the goods and services are provided with

cartel pricing that is far below what was indicated in the pre-service communications. MultiPlan

presents its low-ball, non-market rates on a take-it-or-leave-it basis—often with deadlines of 24

hours or less and with threats that any push back from the provider will just result in a lower

payment rate.

       699.     The MultiPlan employees making these communications are instructed and

incentivized to pay DAPs low rates—which rates are then communicated to other MultiPlan

employees in a race to the bottom. Moreover, the rates paid to DAPs often are tied to pre-

determined price “caps” set in a coordinated manner as part of Defendants’ scheme.

       700.     Defendants know these tactics work because DAPs are under the misimpression

(deliberately generated through Defendants’ misrepresentations and half-truths) that the rates

MultiPlan is communicating to them are market based and determined independently by each

payor. DAPs do not have the data, resources, or time to understand that the rates being paid are

the product of collusion.

X.     The Statute of Limitations Should be Tolled Under the Fraudulent Concealment and
       Continuing Violation Doctrines

       A.       Fraudulent Concealment

       701.     From at least January 1, 2015 through the present, MultiPlan and members of the

MultiPlan Cartel have affirmatively and fraudulently concealed the existence of the MultiPlan

Cartel from DAPs by various means and methods.

       702.     MultiPlan colludes with competing payors by entering into horizontal agreements

to end pricing competition for out-of-network goods and services. The DAPs are not a party to

those agreements. Due to non-disclosure and confidentiality clauses in the contracts, DAPs did not

access, and could not have reasonably accessed, the underlying terms that would have alerted



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DAPs of a potential antitrust claim.

       703.     MultiPlan has also taken steps to maintain the secrecy of its agreements with

competing payors. For instance, its Network Rental Agreement with United requires United to

take steps “to preserve the confidential and proprietary nature of [MultiPlan’s] repricing

information.”

       704.     The same Network Rental Agreement between MultiPlan and United requires

United and MultiPlan to conceal their agreement from the public. The agreement states, “neither

party will make any public announcement of this Agreement,” and that United and MultiPlan will

“restrict knowledge of the terms and conditions of this Agreement to those who need to know.”

       705.     Moreover, MultiPlan publicly disseminates misleading and false information to

cover up the fact that it is a payor, thereby hiding the fact that it was colluding with its competitors

(other payors) to suppress payments to providers.

       706.     The landing page of MultiPlan’s website currently states prominently at the top of

the page: “We are not an insurance company” (original emphasis). MultiPlan’s website also

states: “MultiPlan is not a health insurance company and does not sell insurance directly or

indirectly through agents or brokers.”

       707.     In the “About MultiPlan” section of its press releases, MultiPlan also

(mis)characterizes itself as merely a “partner” to health insurance companies and describes those

companies only as MultiPlan’s “clients[].” MultiPlan does not mention that it is actually a payor.

       708.     MultiPlan submits to providers through its Negotiation Services Portal pricing

offers which state falsely that “MultiPlan is not a payor or an agent of any payor.” In fact,

MultiPlan is both a payor and an agent of competing payors, who enter into agreements authorizing

MultiPlan to make pricing offers and negotiate out-of-network claims on their behalf.




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       709.    These statements are highly misleading at best, if not entirely inaccurate. MultiPlan

is a payor. MultiPlan has one of the oldest and largest PPO networks in the U.S. MultiPlan prices

and pays out-of-network claims in its primary PPO networks. MultiPlan’s claims that it is “not a

health insurance company” are irrelevant and incorrect. Like many payors, MultiPlan is not an

insurer. But MultiPlan still competes against other payors by adjudicating and pricing claims.

       710.    MultiPlan’s statements made to DAPs and the public that MultiPlan is “not an

insurance company” were misleading, and MultiPlan intended for DAPs, other healthcare

providers, and the public to rely upon them.

       711.    Likewise, MultiPlan’s Co-Conspirators made statements to the public that were

designed to obscure the difference between the out-of-network price set by the MultiPlan Cartel

and the UCR rates for out-of-network goods and services that existed prior to the MultiPlan Cartel.

For example, in a certificate of coverage for United’s Student Injury and Sickness Insurance Plan

for enrolled students at the University of Mississippi, United claimed that it “uses data from . . .

Data iSight to determine Usual and Customary Charges.” United failed to explain that there is a

vast difference between prices set by MultiPlan’s pricing methodology and UCR rates.

       712.    On information and belief, MultiPlan’s Co-Conspirators have also submitted false

payment communications intended to trick providers into accepting MultiPlan’s artificially low

payments for out-of-network services. Federal regulation requires that when a payor pays a

medical claim at a different rate than the billed amount, the payor must explain the reason for the

discrepancy to the provider. When these communications, which are commonly referred to as

explanations of benefits (or “EOBs”), are submitted electronically, they are subject to federal

regulations governing the form and content of electronic healthcare transactions. These regulations

require that EOBs use a standardized set of claim adjustment reason codes (“X12 Codes”) to




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explain why a claim was paid differently than the billed amount.

       713.    Payors use the X12 Code “CO” (short for “Contractual Obligation”) to indicate that

a claim was paid pursuant to a contractual agreement between the payor and the provider, or a

government-sponsored plan like Medicare, which has pre-set rates. For instance, a payor is

supposed to submit an EOB using the code CO when the payor has paid a claim pursuant to a

network contract with the healthcare provider, under which the payor and provider have agreed to

a lower rate than the charged amount. The X12 Code “PR” (short for “Patient Responsibility”)

means that the patient is responsible for a portion of the submitted charge. When a payor pays an

out-of-network claim—which is not subject to a preexisting agreement with the provider—below

the billed amount, the payor is supposed to send the provider an EOB using the “PR” reason code.

       714.    MultiPlan’s Co-Conspirators sometimes submit electronic EOBs using the code

“CO” for out-of-network claims priced by MultiPlan, even though the rates determined by

MultiPlan are not subject to any contract between the provider and payor, and the EOBs should

therefore use the code “PR.” MultiPlan’s Co-Conspirators do this because they believe that

healthcare providers and their billing service providers are less likely to carefully review and

appeal claims paid below the charged amount when the payment rate is set by a preexisting

contract. It is common practice for medical billing service contractors to automatically accept

payments accompanied by the code CO, because they assume that the payment amount has already

been negotiated and agreed to by the provider and payor (or set by the government). Conversely,

MultiPlan’s Co-Conspirators believe that healthcare providers and their medical billing service

contractors will be more likely to scrutinize and potentially appeal payments using the code PR,

which are not set by contract.

       715.    The competing payors’ statements to DAPs and other healthcare providers that out-




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of-network claims priced by MultiPlan were paid pursuant to a “contractual obligation” were false,

and the Co-Conspirators intended for DAPs and other healthcare providers to rely upon them. The

Co-Conspirators’ false and misleading billing practices caused DAPs and other healthcare

providers to accept unreasonably low prices for out-of-network claims set by MultiPlan, which

they may have appealed if the payors had submitted EOBs using accurate X12 Codes.

       716.    While MultiPlan was attempting to hide its role in the cartel by claiming that it did

not compete against other payors, the members of the MultiPlan Cartel were busy trying to deflect

attention from the cartel by blaming physicians for allegedly charging too much for out-of-network

goods and services. They did that using false comparisons, invented numbers, and laundered

academic research.

       717.    In a December 4, 2018 email exchange between Lambert van der Wade, Dan

Schumacher, Jon Wander, and Jeff Lucht of United, they discussed a draft United research paper

entitled, “Inflated Charge by Out-of-Network Emergency Physicians Total $8 Billion Each Year.”

However, they acknowledged that this headline number was built on a false comparison. Lucht

pushed for the article to compare billed out-of-network charges to Medicare payment amounts,

stating: “It seems we could tell a similar story by just showing non-par billed amounts as a

percentage of Medicare – they look ludicrously high and should make our point.” Wade responded

that while that comparison was “a viable option,” “to be clear, using invented Medicare rate

benchmarks, rather than real numbers, will adversely affect the deliverable.” Wade went on to

explain that the figures in the report were “invented” and not “real,” because “100% Medicare is

too low. Policy makers know and appreciate the fact that commercial rates are higher than public

program rates, and believe this should remain the case, in part to cross subsidize (and lower the

direct cost to government of) public programs.” In the end, Wade agreed to use “Medicare rates”




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because “the OON charges . . . will indeed look high, allowing us to make our intended point[.]”

       718.    United secretly laundered its viewpoint through seemingly neutral academic

writing from Professor Zack Cooper, an Associate Professor of Public Health and Associate

Professor of Economics at Yale University’s School of Public Health. United executives reviewed

Professor Cooper’s academic writing on out-of-network pricing prior to its publication and edited

the writing to better fit with United’s chosen narrative concerning out-of-network pricing.

Professor Cooper published his academic work on out-of-network pricing without fully disclosing

the degree to which United executives had been involved in reviewing and editing his work.

       719.    Professor Cooper’s research was not just slanted. It was wrong. In reality,

emergency medicine was not generating the surprise out-of-network bills that Professor Cooper

claimed. In 2019, on average, the TeamHealth DAPs billed $150 per patient encounter in hospital

emergency departments.

       720.    MultiPlan also took steps designed to make it more difficult for the cartel to be

detected. MultiPlan and other competing payors kept their meetings off-the-record. They

exchanged their most sensitive information via telephone conversations and text messages and not

on corporate email servers. They also took steps to prevent providers from balance billing when

MultiPlan set out-of-network prices, making it less likely that patients would begin complaining

about “surprise” medical bills.

       721.    Given the MultiPlan Cartel’s massive effort at misdirection and blame-shifting,

DAPs exercised reasonable diligence at all times since January 1, 2015, but had no reason to

suspect the existence of the MultiPlan Cartel until recently. The concerted nature of the

Defendants’ wrongdoing only began to come to light at all—and even then, incompletely—in (1)

a September 8, 2021 California-law antitrust claim filed against MultiPlan by the VHS Liquidating




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Trust filed in San Francisco County Superior Court, and (2) a March 7, 2022 article raised

questions regarding MultiPlan’s antitrust compliance. See MultiPlan: Company’s Information

Sharing, Meetings Practices Could Raise Antitrust Concerns, Experts Say, CAP. F. (March 7,

2022), https://thecapitolforum.com/multiplan-companys-information-sharing-meetings-practices-

could-raise-antitrust-concerns-experts-say. DAPs could not have discovered the MultiPlan Cartel

at an earlier date by the exercise of reasonable diligence because of the deceptive practices and

techniques described above, including MultiPlan’s multiple misleading statements that it is not a

health insurance company, to conceal the existence of the cartel.

       722.    Other lawsuits against MultiPlan did not alert DAPs to any federal antitrust claims,

as none revealed the true nature of MultiPlan’s relationship with other payors. For example, Plastic

Surgery Center, P.A. v. Cigna, et al., No. 3:17-cv-2055 (FLW) (DEA) (D.N.J.), made claims

related to in-network claims—not out-of-network claims—and did not allege antitrust violations.

Hott v. MultiPlan, Inc., No. 21 Civ. 02421 (LLS) (S.D.N.Y.), and LD v. United Behavioral Health,

No. 4:20-cv-02254-YGR (N.D. Cal.), both raised grievances concerning MultiPlan’s out-of-

network rates to healthcare providers, but did not allege that the reason for the low rates was that

MultiPlan had entered into agreements with its competitors to suppress payments. Pacific

Recovery Solutions v. United Behavioral Health, No. 4:20-cv-02249 (YGR) (N.D. Cal.), alleged

antitrust violations related to out-of-network payments, but based on an inability to collect unpaid

balances from patients rather than collusion between competitors to tamp down payments to

providers.

       B.      Continuing Violation

       723.    MultiPlan’s conduct has also resulted in a continuing violation against DAPs.

       724.    Following its initial combination with its Co-Conspirators, MultiPlan has

committed overt acts, each of which constitutes part of the ongoing violation.


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       725.    Members of the MultiPlan Cartel met frequently to refine their cartel agreement

and to ensure that the agreement was effective in suppressing out-of-network payments to

healthcare providers. Members of the MultiPlan Cartel met during Client Advisory Board meetings

to discuss the effectiveness of MultiPlan’s products in cutting out-of-network payments to

healthcare providers. MultiPlan representatives also met weekly or daily with executives at United

concerning out-of-network payments.

       726.    Members of the MultiPlan Cartel took steps to maintain and adjust their

anticompetitive agreement by renewing contracts with MultiPlan for out-of-network claim

suppression and changing the agreed-upon methodology that MultiPlan would use to suppress out-

of-network payments. Indeed, MultiPlan told investors in May 2023 that, in the short period

between Q3 2022 and Q1 2023 alone, MultiPlan “renewed multiyear contracts with 3 of our larger

customers.” According to MultiPlan, “those 3 contracts accounted for more than 50% of

[MultiPlan’s] revenue.” These new agreements solidify and perpetuate the MultiPlan Cartel and

are continuing violations of the antitrust laws.

       727.    MultiPlan Cartel members also imposed shared savings agreements on employee

benefit plans to ensure that the cartelists would generate profits by cutting out-of-network

payments.

       728.    MultiPlan’s overt actions and the overt actions of its fellow cartelists were new acts

beyond the initial cartel agreement that were necessary to perpetuate the conspiracy. Those overt

acts continued from at least January 1, 2015 through the present. By constantly renewing and

refining their agreement to suppress out-of-network reimbursement payments, the members of the

MultiPlan Cartel inflicted new and accumulating injury on the DAPs.




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XI.       Causes of Action

                                  FIRST CLAIM FOR RELIEF

                 HORIZONTAL AGREEMENTS IN RESTRAINT OF TRADE

                          (Section 1 of the Sherman Act, 15 U.S.C. § 1)

          729.   DAPs reincorporate and reallege by reference the preceding paragraphs as though

fully set forth herein.

          730.   Beginning at least as early as January 1, 2015, and through the present, MultiPlan

engaged in a continuing contract, combination, or conspiracy with the other members of the

MultiPlan Cartel to unreasonably restrain interstate trade and commerce in violation of Section 1

of the Sherman Act, 15 U.S.C. § 1.

          731.   MultiPlan is a horizontal competitor with other payors in the Out-of-Network

Goods and Services Market.

          732.   MultiPlan’s PPO networks compete against other payors to set prices for out-of-

network goods and services. By entering into the MultiPlan Cartel agreement, MultiPlan and its

Co-Conspirators removed this form of rivalry amongst themselves by illegally coordinating the

prices that they set for out-of-network goods and services. But for the MultiPlan Cartel agreement,

payors would have exercised their independent business judgment when setting and negotiating

prices for out-of-network goods and services.

          733.   MultiPlan and its horizontal competitors in the MultiPlan Cartel reached

agreements to stop competing against one another by setting their own prices for out-of-network

goods and services. Instead, they agreed to: (1) use MultiPlan’s pricing methodology to set prices

for out-of-network goods and services, (2) fix maximum prices that they would pay for particular

out-of-network goods and services, and (3) use MultiPlan as the sole negotiator of out-of-network

prices.


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        734.    In this manner, the MultiPlan Cartel had a conscious commitment to this common

scheme concerning fixing prices among competitors in the Out-of-Network Goods and Services

Market.

        735.    Providers, including DAPs, were directly and proximately harmed by the horizontal

price-fixing of the MultiPlan Cartel. DAPs submitted billed charges for out-of-network goods and

services to members of the MultiPlan Cartel, and MultiPlan and its Co-Conspirators conspired to

systematically underpay DAPs for their out-of-network goods and services. These conspiratorial

underpayments caused a direct, foreseeable, concrete, and redressable injury to the DAPs.

        736.    The injuries suffered by DAPs as a result of the MultiPlan Cartel are of a type that

the antitrust laws are intended to prevent. Economic losses caused by an agreement among

competitors to restrain trade are a classic example of injuries that the antitrust laws are intended to

prevent.

        737.    DAPs’ injuries flow from MultiPlan’s illegal agreements with the members of the

MultiPlan Cartel. Were it not for those agreements, DAPs would have received higher payments

for out-of-network medical services.

        738.    DAPs suffered compensable damages as a result of the MultiPlan Cartel. The exact

calculation and amount of those damages will be disclosed in DAPs’ expert reports and expert

testimony at trial.

        739.    DAPs continue to be harmed by the MultiPlan Cartel’s ongoing horizontal price-

fixing conspiracy.

        740.    DAPs exercised reasonable diligence in attempting to ascertain the existence of the

MultiPlan Cartel’s illegal horizontal price-fixing.

        741.    The MultiPlan Cartel fraudulently concealed its horizontal price-fixing from DAPs




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and the public such that the illegal nature of the scheme only became ascertainable after certain

lawsuits and regulatory filings made relevant information accessible to the public.

        742.    The MultiPlan Cartel’s horizontal price-fixing is a per se violation of Section 1 of

the Sherman Act.

        743.    In the alternative, the MultiPlan Cartel’s horizontal price-fixing violates the rule of

reason under either a quick look or more fulsome analysis because MultiPlan and its competitors

entered into agreements that restrained trade in a properly defined relevant market and there is no

procompetitive justification for the MultiPlan Cartel.

        744.    Even if MultiPlan is not a payor, it is still liable for a per se violation of Section 1

of the Sherman Act because it was a potential competitor of the cartel members.

                                  SECOND CLAIM FOR RELIEF

               HUB-AND-SPOKE AGREEMENT IN RESTRAINT OF TRADE

                           (Section 1 of the Sherman Act, 15 U.S.C. § 1)

                          (Plead in the Alternative to Claims 1, 3, and 4)

        745.    DAPs reincorporate and reallege by reference the preceding paragraphs as though

fully set forth herein.

        746.    In the alternative to the DAPs’ first cause of action, from at least as early as January

1, 2015 through the present, MultiPlan entered into an illegal “hub-and-spoke” agreement with the

other members of the MultiPlan Cartel to unreasonably restrain interstate trade and commerce in

violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

        747.    MultiPlan is the “hub” of the hub-and-spoke conspiracy. It initiated the conspiracy,

induced the Co-Conspirators to join, facilitates the price-fixing undertaken by the conspiracy, and

profits from that facilitation.




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       748.    MultiPlan’s agreements with competing payors to participate in the MultiPlan

Cartel constitute the various “spokes” of the conspiracy. As stated above, MultiPlan and the

competing payors reached agreements to stop competing against one another by setting their own

prices for out-of-network goods and services. Instead, they agreed to (1) use MultiPlan’s pricing

methodology to set prices for out-of-network goods and services, (2) fix maximum prices that they

would pay for particular out-of-network goods and services, and (3) use MultiPlan as the sole

negotiator of out-of-network prices.

       749.    The “rim” of the hub-and-spoke conspiracy is formed by the agreements between

and among payors to adopt MultiPlan’s pricing methodology for out-of-network goods and

services. Voluminous circumstantial evidence supports the existence of these “rim” agreements,

including parallel conduct among members of the MultiPlan Cartel and “plus factors” indicating

that this conduct was the result of an anticompetitive agreement (i.e., high market concentration,

barriers to market entry, ample motive, opportunities to conspire, previous collusion, actions

against self-interest, exchange of competitively sensitive information, monitoring and enforcement

structures, customary patterns and leadership, and sweetheart deals to retain cartel members).

       750.    The injuries suffered by the DAPs as a result of the MultiPlan Cartel are of a type

that the antitrust laws are intended to prevent. Economic losses caused by an agreement among

competitors to restrain trade are a classic example of injuries that the antitrust laws are intended to

prevent.

       751.    DAPs suffered compensable damages as a result of the hub-and-spoke conspiracy

formed by the MultiPlan Cartel. The exact calculation and amount of those damages will be

disclosed in DAPs’ expert reports and expert testimony at trial.

       752.    DAPs’ injuries flow from the MultiPlan Cartel’s illegal hub-and-spoke conspiracy.




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Were it not for the conspiracy, DAPs would have received higher payments for out-of-network

goods and services.

       753.    DAPs continue to be harmed by the MultiPlan Cartel’s ongoing hub-and-spoke

conspiracy.

       754.    DAPs exercised reasonable diligence in attempting to ascertain the existence of the

MultiPlan Cartel’s illegal hub-and-spoke conspiracy. The MultiPlan Cartel fraudulently concealed

its hub-and-spoke conspiracy from DAPs and the public such that the illegal nature of the scheme

only became ascertainable after certain lawsuits and regulatory filings made relevant information

accessible to the public.

       755.    The MultiPlan Cartel’s hub-and-spoke conspiracy constitutes a per se violation of

Section 1 of the Sherman Act.

       756.    In the alternative, even if no “rim” agreement is present, the MultiPlan Cartel is still

a hub-and-spoke agreement that violates the rule of reason because MultiPlan and the competing

payors have agreed to unreasonably restrain trade in the Out-of-Network Goods and Services

Market and there is no procompetitive justification for their conduct. Even if such a procompetitive

justification did exist (and it were not a pretext), the alleged procompetitive benefits of the

MultiPlan Cartel could still be obtained by less restrictive means, such as using FAIR Health to

determine out-of-network prices.




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                                 THIRD CLAIM FOR RELIEF

           PRINCIPAL-AGENT COMBINATIONS IN RESTRAINT OF TRADE

                          (Section 1 of the Sherman Act, 15 U.S.C. § 1)

                          (Plead in the Alternative to Claims 1, 2, and 4)

        757.    DAPs reincorporate and reallege by reference the preceding paragraphs as though

fully set forth herein.

        758.    In the alternative to DAPs’ first, second, and fourth causes of action, from at least

as early as January 1, 2015 through the present, MultiPlan acted as an agent, facilitator, or conduit

of each of the other members of the MultiPlan Cartel to unreasonably restrain interstate trade and

commerce in violation of Section 1 of the Sherman Act.

        759.    MultiPlan operated as the agent of competing payors that were engaged in a per se

illegal conspiracy to restrain trade by suppressing competition for out-of-network payments to

healthcare providers. MultiPlan was aware of the competing payors’ intent to suppress competition

by using a common methodology for setting prices out-of-network goods and services and using

a common agent for negotiating those prices. MultiPlan facilitated the payors’ efforts to suppress

competition among themselves concerning payments for out-of-network goods and services.

MultiPlan intended to facilitate this per se violation of Section 1 of the Sherman Act because it

had a financial stake in doing so—MultiPlan was paid more if it assisted the competing payors in

paying less to healthcare providers for out-of-network goods and services. MultiPlan also

contributed materially to the competing payors’ restraint of trade. It provided each of the payors

with access to its common pricing methodology, which the competing payors could not have

recreated on their own, and served as a conduit for the members of the MultiPlan Cartel to

indirectly communicate with each other about their pricing of out-of-network payments.




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       760.    The MultiPlan Cartel has dominant collective market power in the Out-of-Network

Goods and Services Market. It also has complete power in each relevant submarket, where

healthcare providers have no choice but to submit their billed charges to the specific payor

operating the health plan in which the patient is enrolled and cannot turn to another buyer for

payment of those out-of-network charges.

       761.    MultiPlan and each of the other payors entered into anticompetitive agreements

that harmed competition in the Out-of-Network Goods and Services Market and its submarkets by

intentionally suppressing the prices paid to out-of-network healthcare providers, including DAPs.

       762.    The MultiPlan Cartel’s price-fixing agreements are each an unreasonable restraint

on trade in violation of Section 1 of the Sherman Act. MultiPlan and its Co-Conspirators entered

into agreements that used their combined market power to restrain trade in the relevant market and

relevant submarkets without any procompetitive justification. Even if there were valid

procompetitive justifications, such justifications could have been reasonably achieved through

means less restrictive of competition.

       763.    DAPs’ injuries flow from MultiPlan’s illegal agreements with each member of the

MultiPlan Cartel. Were it not for those agreements, DAPs would have received higher payments

for out-of-network medical services.

       764.    DAPs suffered compensable damages as a result of the MultiPlan Cartel. The exact

calculation and amount of those damages will be disclosed in DAPs’ expert reports and expert

testimony at trial. DAPs continue to be harmed by the MultiPlan Cartel’s ongoing combination or

conspiracy.




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                                FOURTH CLAIM FOR RELIEF

                AGREEMENTS TO UNREASONABLY RESTRAIN TRADE

                          (Section 1 of the Sherman Act, 15 U.S.C. § 1)

                          (Plead in the Alternative to Claims 1, 2, and 3)

        765.    DAPs reincorporate and reallege by reference the preceding paragraphs as though

fully set forth herein.

        766.    In the alternative to DAPs’ first, second, and third causes of action, from at least as

early as January 1, 2015 through the present, MultiPlan engaged in a continuing agreement with

each of the other members of the MultiPlan Cartel to unreasonably restrain interstate trade and

commerce in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

        767.    The MultiPlan Cartel has dominant collective market power in the Out-of-Network

Goods and Services Market. It also has complete power in each relevant submarket, where

healthcare providers have no choice but to submit their billed charges for out-of-network goods

and services to the specific payor operating the health plan in which the patient is enrolled and

cannot turn to another buyer for payment of those out-of-network charges.

        768.     MultiPlan and each of the other payors entered into anticompetitive agreements

that harmed competition in the Out-of-Network Goods and Services Market and its submarkets by

agreeing to: (1) use MultiPlan’s pricing methodology to set prices for out-of-network goods and

services, (2) fix maximum prices that they would pay for particular out-of-network goods and

services, and (3) use MultiPlan as the sole negotiator of out-of-network prices.

        769.    The MultiPlan Cartel’s price-fixing agreements are each an unreasonable restraint

on trade in violation of Section 1 of the Sherman Act. MultiPlan and its Co-Conspirators entered

into agreements that used their combined market power to restrain trade in the relevant market and




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relevant submarkets without any procompetitive justification. Even if there were valid

procompetitive justifications, such justifications could have been reasonably achieved through

means less restrictive of competition.

        770.    DAPs’ injuries flow from MultiPlan’s illegal agreements with each member of the

MultiPlan Cartel. Were it not for those agreements, Defendants would have competed with one

another to independently set and negotiate prices for out-of-network goods and services, resulting

in higher payments for out-of-network goods and services.

        771.    DAPs suffered compensable damages as a result of the MultiPlan Cartel. The exact

calculation and amount of those damages will be disclosed in DAPs’ expert reports and expert

testimony at trial. DAPs continue to be harmed by the MultiPlan Cartel’s ongoing vertical price-

fixing conspiracy.

                                 FIFTH CLAIM FOR RELIEF

                     ANTICOMPETITIVE INFORMATION EXCHANGE

                          (Section 1 of the Sherman Act, 15 U.S.C. § 1)

        772.    DAPs reincorporate and reallege by reference the preceding paragraphs as though

fully set forth herein.

        773.    From at least as early as January 1, 2015 through the present, MultiPlan engaged in

a continuing arrangement with each of the other members of the MultiPlan Cartel to unreasonably

restrain interstate trade and commerce in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1,

through an anticompetitive information exchange.

        774.    Because DAPs rely on evidence of information sharing (see supra Section V.C.),

the elements of a Section 1 violation can be satisfied by showing either an anticompetitive

agreement to fix prices, where information sharing supports the inference of such an agreement,




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or an anticompetitive agreement to share information. The First and Second Causes of Action

relate to the former. This Cause of Action relates to the latter.

       775.    MultiPlan and the other members of the MultiPlan Cartel engaged in concerted

action by entering into an anticompetitive arrangement to regularly exchange detailed, current,

competitively sensitive, and non-public information about the prices that they set and negotiated

for out-of-network goods and services.

       776.    The information being exchanged among the MultiPlan Cartel consists primarily of

critical and sensitive pricing information.

       777.    The information being exchanged among the MultiPlan Cartel is increasingly

granular. The information consists of detailed, non-aggregated, and intimate details about the cartel

member’s competitive affairs.

       778.    The information being exchanged among the MultiPlan Cartel is not publicly

available, and is not disseminated to healthcare providers, healthcare consumers, or other market

participants. Instead, it is shared only with members of the MultiPlan Cartel.

       779.    The information being exchanged among the MultiPlan Cartel reflects recent,

present, and planned future conditions. Advancements in MultiPlan’s technology allows cartel

members’ current and future prices and plans to be shared quickly and frequently.

       780.    The purpose and effect of this arrangement to exchange information is to stifle

pricing competition for out-of-network goods and services and to depress payments to healthcare

providers, including DAPs, for out-of-network goods and services.

       781.    The MultiPlan Cartel has dominant collective market power in the Out-of-Network

Goods and Services Market. It also has complete power in each relevant submarket, where

healthcare providers have no choice but to submit their billed charges to the specific payor




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operating the health plan in which the patient is enrolled and cannot turn to another buyer for

payment of those out-of-network charges.

        782.    This information exchange harms competition in the Out-of-Network Goods and

Services Market and its submarkets because the suppressed payments to healthcare providers are

lower than they would have been had those companies competed with one another to set prices

independently without exchanging vast amount of information of current pricing information in

order to bring their out-of-network pricing into alignment. The information exchange also harms

consumers of healthcare services because the underpayments limit healthcare providers’

investments on improving care.

        783.    There is no procompetitive justification for the anticompetitive information

exchange among the MultiPlan Cartel. Even if there were valid procompetitive justifications, such

justifications could have been reasonably achieved through means less restrictive of competition,

such as utilizing FAIR Health pricing information.

                                 SIXTH CLAIM FOR RELIEF

                VIOLATION OF STATE AND D.C. ANTITRUST STATUTES

                            (Plead in the Alternative to Claims 1-5)

        784.    DAPs reincorporate and reallege by reference the preceding paragraphs as though

fully set forth herein.

        785.    Defendants are engaged in a continuing contract, combination, or conspiracy and/or

exchange of information that has operated from at least as early as January 1, 2015 through the

present with respect to the prices paid for out-of-network goods and services in unreasonable

restraint of trade in commerce, in violation of the various state antitrust and consumer protection

statutes set forth below.




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       786.    Defendants’ acts and combinations in furtherance of the conspiracy have caused

unreasonable restraints in the market for Out-of-Network Goods and Services Market and relevant

submarkets.

       787.    DAPs’ injuries flow from Defendants’ illegal agreements and conduct in

furtherance of the MultiPlan Cartel. Were it not for those agreements and conduct, Defendants

would have competed with one another to independently set and negotiate prices for out-of-

network goods and services, resulting in higher payments for out-of-network goods and services.

       788.    As a result of Defendants’ unlawful conduct, each DAP has been injured by being

paid for their Out-of-Network Goods and Services at prices lower than they would have been paid

if Defendants competed with one another to independently price out-of-network goods and

services.

       789.    DAPs suffered compensable damages as a result of Defendants’ unlawful

agreements and conduct. The exact calculation and amount of those damages will be disclosed in

DAPs’ expert reports and expert testimony at trial.

       790.    By engaging in the foregoing conduct, Defendants intentionally and wrongfully

engaged in a contract, combination, or conspiracy in restraint of trade in violation of the following

state antitrust laws pleaded below.

       791.    Arizona: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Ariz. Rev. Stat. § 44-1402, et seq., with respect to pricing of out-of-network goods

and services provided in Arizona by one or more DAPs.

            a. Defendants’ combination or conspiracy had the following effects:

               1.      Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Arizona;




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                2.     Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Arizona;

                3.     DAPs were deprived of free and open competition; and

                4.     DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected Arizona commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of Ariz. Rev.

Stat. § 44-1401, et seq.

           e. Accordingly, DAPs seek all forms of relief available under Ariz. Rev. Stat. § 44-

1402, et seq.

       792.     California: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Cal. Bus. Prof. Code § 16720, et seq., with respect to pricing of out-of-

network goods and services provided in California by one or more DAPs.

           a. Defendants entered into and engaged in a continuing unlawful trust in restraint of

the trade and commerce described above in violation of Cal. Bus. Prof. Code § 16720. Defendants,

each of them, have acted in violation of Cal. Bus. Prof. Code § 16720 to fix, suppress, and maintain

prices of out-of-network goods and services at sub-competitive levels and to unlawfully exchange

pricing information.

           b. The aforesaid violations of Cal. Bus. Prof. Code § 16720, consisted, without

limitation, of a continuing unlawful trust and concert of action among Defendants, the substantial

terms of which were to fix, suppress, and maintain prices of out-of-network goods and services at




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sub-competitive levels and unlawfully exchange pricing information.

           c. For the purpose of forming and effectuating the unlawful trust, Defendants have

done those things which they combined and conspired to do, including but not limited to the acts,

practices and course of conduct set forth above and the following: fixing, suppressing, and

maintaining prices of out-of-network goods and services at sub-competitive levels and unlawfully

exchanging pricing information for out-of-network goods and services.

           d. Defendants’ combination or conspiracy had the following effects:

               1.      Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout California;

               2.      Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout California;

               3.      DAPs were deprived of free and open competition; and

               4.      DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           f. Defendants’ illegal conduct substantially affected California commerce.

           g. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           h. Defendants entered into agreements in restraint of trade in violation of Cal. Bus.

Prof. Code § 16720, et seq.

           i. As a result of Defendants’ violation of Cal. Bus. Prof. Code § 16720, DAPs seek

all forms of relief available under Cal. Bus. Prof. Code § 16750(a), including treble damages and

their cost of suit, including a reasonable attorney’s fee.

       793.    Connecticut: Defendants have entered into an unlawful agreement in restraint of




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trade in violation of Conn. Gen. Stat. Ann. § 35-26, et seq., with respect to pricing of out-of-

network goods and services provided in Connecticut by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

               1.      Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Connecticut;

               2.      Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Connecticut;

               3.      DAPs were deprived of free and open competition; and

               4.      DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected Connecticut commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of Conn. Gen.

Stat. Ann. § 35-26, et seq.

           e. Accordingly, DAPs seek all forms of relief available under Conn. Gen. Stat. Ann.

§ 35-26, et seq.

       794.    District of Columbia: Defendants have entered into an unlawful agreement in

restraint of trade in violation of D.C. Code Ann. § 28-4502, et seq., with respect to pricing of out-

of-network goods and services provided in the District of Columbia by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

               1.      Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout the District of Columbia;




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                2.     Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout the District of Columbia;

                3.     DAPs were deprived of free and open competition; and

                4.     DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected District of Columbia commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of D.C. Code

Ann. § 28-4502, et seq.

           e. Accordingly, DAPs seek all forms of relief available under D.C. Code Ann. § 28-

4502, et seq.

       795.     Hawaii: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Haw. Rev. Stat. § 480-1, et seq., with respect to pricing of out-of-network goods

and services provided in Hawaii by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

                1.     Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Hawaii;

                2.     Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Hawaii;

                3.     DAPs were deprived of free and open competition; and

                4.     DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.




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             b. Defendants’ illegal conduct substantially affected Hawaii commerce.

             c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

             d. Defendants entered into agreements in restraint of trade in violation of Haw. Rev.

Stat. § 480-1, et seq.

             e. Accordingly, DAPs seek all forms of relief available under Haw. Rev. Stat. § 480-

1, et seq.

        796.    Illinois: Defendants have entered into an unlawful agreement in restraint of trade

in violation of 740 Ill. Comp. Stat. Ann. § 10/1, et seq., with respect to pricing of out-of-network

goods and services provided in Illinois by one or more DAPs.

             a. Defendants’ combination or conspiracy had the following effects:

                1.       Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Illinois;

                2.       Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Illinois;

                3.       DAPs were deprived of free and open competition; and

                4.       DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

             b. Defendants’ illegal conduct substantially affected Illinois commerce.

             c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

             d. Defendants entered into agreements in restraint of trade in violation of 740 Ill.

Comp. Stat. Ann. § 10/1, et seq.




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           e. Accordingly, DAPs seek all forms of relief available under 740 Ill. Comp. Stat.

Ann. § 10/1, et seq.

       797.    Iowa: Defendants have entered into an unlawful agreement in restraint of trade in

violation of Iowa Code § 553.4, et seq., with respect to pricing of out-of-network goods and

services provided in Iowa by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

               1.      Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Iowa;

               2.      Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Iowa;

               3.      DAPs were deprived of free and open competition; and

               4.      DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected Iowa commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of Iowa Code

§ 553.4, et seq.

           e. Accordingly, DAPs seek all forms of relief available under Iowa Code § 553.4, et

seq.

       798.    Kansas: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Kansas Stat. Ann. § 50-101, et seq., with respect to pricing of out-of-network

goods and services provided in Kansas by one or more DAPs.




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           a. Defendants’ combination or conspiracy had the following effects:

               1.        Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Kansas;

               2.        Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Kansas;

               3.        DAPs were deprived of free and open competition; and

               4.        DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected Kansas commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of Kansas Stat.

Ann. § 50-101, et seq.

           e. Accordingly, DAPs seek all forms of relief available under Kansas Stat. Ann.

§ 50-101, et seq.

       799.    Maine: Defendants have entered into an unlawful agreement in restraint of trade in

violation of Me. Rev. Stat. Ann. tit. 10 § 1101, et seq., with respect to pricing of out-of-network

goods and services provided in Maine by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

               1.        Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Maine;

               2.        Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Maine;




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                3.        DAPs were deprived of free and open competition; and

                4.        DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

            b. Defendants’ illegal conduct substantially affected Maine commerce.

            c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

            d. Defendants entered into agreements in restraint of trade in violation of Me. Rev.

Stat. Ann. tit. 10 § 1101, et seq.

            e. Accordingly, DAPs seek all forms of relief available under Me. Rev. Stat. Ann.

tit. 10 § 1101, et seq.

        800.    Michigan: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Mich. Comp. Laws Ann. § 445.772, et seq., with respect to pricing of out-of-

network goods and services provided in Michigan by one or more DAPs.

            a. Defendants’ combination or conspiracy had the following effects:

                1.        Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Michigan;

                2.        Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Michigan;

                3.        DAPs were deprived of free and open competition; and

                4.        DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

            b. Defendants’ illegal conduct substantially affected Michigan commerce.

            c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been




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injured in their business and property and are threatened with further injury.

             d. Defendants entered into agreements in restraint of trade in violation of Mich.

Comp. Laws Ann. § 445.772, et seq.

             e. Accordingly, DAPs seek all forms of relief available under Mich. Comp. Laws

Ann. § 445.772, et seq.

          801.   Minnesota: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Minn. Stat. § 325D.51, et seq., with respect to pricing of out-of-network

goods and services provided in Minnesota by one or more DAPs.

             a. Defendants’ combination or conspiracy had the following effects:

                 1.     Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Minnesota;

                 2.     Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Minnesota;

                 3.     DAPs were deprived of free and open competition; and

                 4.     DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

             b. Defendants’ illegal conduct substantially affected Minnesota commerce.

             c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

             d. Defendants entered into agreements in restraint of trade in violation of Minn. Stat.

§ 325D.51, et seq.

             e. Accordingly, DAPs seek all forms of relief available under Minn. Stat. § 325D.51,

et seq.




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       802.     Mississippi: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Miss. Code Ann. § 75-21-3, et seq., with respect to pricing of out-of-network

goods and services provided in Mississippi by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

                1.     Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Mississippi;

                2.     Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Mississippi;

                3.     DAPs were deprived of free and open competition; and

                4.     DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected Mississippi commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of Miss. Code

Ann. § 75-21-3, et seq.

           e. Accordingly, DAPs seek all forms of relief available under Miss. Code Ann. § 75-

21-3, et seq.

       803.     Nebraska: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Neb. Rev. Stat. § 59-801, et seq., with respect to pricing of out-of-network goods

and services provided in Nebraska by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

                1.     Price competition for out-of-network goods and services was restrained,




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suppressed, and eliminated throughout Nebraska;

               2.         Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Nebraska;

               3.         DAPs were deprived of free and open competition; and

               4.         DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected Nebraska commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of Neb. Rev.

Stat. § 59-801, et seq.

           e. Accordingly, DAPs seek all forms of relief available under Neb. Rev. Stat. § 59-

801, et seq.

       804.    Nevada: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Nev. Rev. Stat. Ann. § 598A.060, et seq., with respect to pricing of out-of-network

goods and services provided in Nevada by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

               1.         Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Nevada;

               2.         Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Nevada;

               3.         DAPs were deprived of free and open competition; and

               4.         DAPs were paid prices for out-of-network goods and services that were




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artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected Nevada commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of Nev. Rev.

Stat. Ann. § 598A.060, et seq.

           e. Accordingly, DAPs seek all forms of relief available under Nev. Rev. Stat. Ann.

§ 598A.060, et seq.

       805.    New Hampshire: Defendants have entered into an unlawful agreement in restraint

of trade in violation of N.H. Rev. Stat. Ann. § 356.2, et seq., with respect to pricing of out-of-

network goods and services provided in New Hampshire by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

               1.      Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout New Hampshire;

               2.      Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout New Hampshire;

               3.      DAPs were deprived of free and open competition; and

               4.      DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected New Hampshire commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of N.H. Rev.




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Stat. Ann. § 356.2, et seq.

               e. Accordingly, DAPs seek all forms of relief available under N.H. Rev. Stat. Ann.

§ 356.2, et seq.

        806.      New Mexico: Defendants have entered into an unlawful agreement in restraint of

trade in violation of N.M. Stat. Ann. § 57-1-1, et seq., with respect to pricing of out-of-network

goods and services provided in New Mexico by one or more DAPs.

               a. Defendants’ combination or conspiracy had the following effects:

                  1.      Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout New Mexico;

                  2.      Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout New Mexico;

                  3.      DAPs were deprived of free and open competition; and

                  4.      DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

               b. Defendants’ illegal conduct substantially affected New Mexico commerce.

               c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

               d. Defendants entered into agreements in restraint of trade in violation of N.M. Stat.

Ann. § 57-1-1, et seq.

               e. Accordingly, DAPs seek all forms of relief available under N.M. Stat. Ann. § 57-

1-1, et seq.

        807.      New York: Defendants have entered into an unlawful agreement in restraint of

trade in violation of N.Y. Gen. Bus. L. § 340, et seq., with respect to pricing of out-of-network




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goods and services provided in New York by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

                 1.     Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout New York;

                 2.     Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout New York;

                 3.     DAPs were deprived of free and open competition; and

                 4.     DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected New York commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of N.Y. Gen.

Bus. L. § 340, et seq., including a per se violation.

           e. Accordingly, DAPs seek all forms of relief available under N.Y. Gen. Bus. L.

§ 340, et seq.

       808.      North Carolina: Defendants have entered into an unlawful agreement in restraint

of trade in violation of N.C. Gen. Stat. § 75-1, et seq., with respect to pricing of out-of-network

goods and services provided in North Carolina by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

                 1.     Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout North Carolina;

                 2.     Out-of-network goods and services prices were suppressed, fixed,




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maintained and stabilized at artificially low levels throughout North Carolina;

                3.      DAPs were deprived of free and open competition; and

                4.      DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

             b. Defendants’ illegal conduct substantially affected North Carolina commerce.

             c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

             d. Defendants entered into agreements in restraint of trade in violation of N.C. Gen.

Stat. § 75-1, et seq.

             e. Accordingly, DAPs seek all forms of relief available under N.C. Gen. Stat. § 75-

1, et seq.

        809.    North Dakota: Defendants have entered into an unlawful agreement in restraint of

trade in violation of N.D. Cent. Code § 51-08.1-01, et seq., with respect to pricing of out-of-

network goods and services provided in North Dakota by one or more DAPs.

             a. Defendants’ combination or conspiracy had the following effects:

                1.      Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout North Dakota;

                2.      Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout North Dakota;

                3.      DAPs were deprived of free and open competition; and

                4.      DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

             b. Defendants’ illegal conduct substantially affected North Dakota commerce.




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           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of N.D. Cent.

Code § 51-08.1-01, et seq.

           e. Accordingly, DAPs seek all forms of relief available under N.D. Cent. Code § 51-

08.1-01, et seq.

       810.    Rhode Island: Defendants have entered into an unlawful agreement in restraint of

trade in violation of R.I. Gen. Laws § 6- 36-4, et seq., with respect to pricing of out-of-network

goods and services provided in Rhode Island by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

               1.      Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Rhode Island;

               2.      Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Rhode Island;

               3.      DAPs were deprived of free and open competition; and

               4.      DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected Rhode Island commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of R.I. Gen.

Laws § 6- 36-4, et seq.

           e. Accordingly, DAPs seek all forms of relief available under R.I. Gen. Laws § 6-




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36-4, et seq.

       811.       South Dakota: Defendants have entered into an unlawful agreement in restraint of

trade in violation of S.D. Codified Laws § 37-1, et seq., with respect to pricing of out-of-network

goods and services provided in South Dakota by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

                  1.     Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout South Dakota;

                  2.     Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout South Dakota;

                  3.     DAPs were deprived of free and open competition; and

                  4.     DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected South Dakota commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of S.D.

Codified Laws § 37-1, et seq.

           e. Accordingly, DAPs seek all forms of relief available under S.D. Codified Laws

§ 37-1, et seq.

       812.       Tennessee: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Tenn. Code Ann. § 47-25-101, et seq., with respect to pricing of out-of-

network goods and services provided in Tennessee by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:




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                  1.     Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Tennessee;

                  2.     Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Tennessee;

                  3.     DAPs were deprived of free and open competition; and

                  4.     DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected Tennessee commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of Tenn. Code

Ann. § 47-25-101, et seq.

           e. Accordingly, DAPs seek all forms of relief available under Tenn. Code Ann. § 47-

25-101, et seq.

       813.       Utah: Defendants have entered into an unlawful agreement in restraint of trade in

violation of Utah Code Ann. § 76-10-3101, et seq., with respect to pricing of out-of-network

goods and services provided in Utah by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

                  1.     Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Utah;

                  2.     Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Utah;

                  3.     DAPs were deprived of free and open competition; and




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               4.      DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected Utah commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

           d. Defendants entered into agreements in restraint of trade in violation of Utah Code

Ann. § 76-10-3101, et seq.

           e. Accordingly, DAPs seek all forms of relief available under Utah Code Ann. § 76-

10-3101, et seq.

       814.    Vermont: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Vt. Stat. Ann. tit. 9 § 2453, et seq., with respect to pricing of out-of-network goods

and services provided in Vermont by one or more DAPs.

           a. Defendants’ combination or conspiracy had the following effects:

               1.      Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Vermont;

               2.      Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Vermont;

               3.      DAPs were deprived of free and open competition; and

               4.      DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

           b. Defendants’ illegal conduct substantially affected Vermont commerce.

           c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.




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             d. Defendants entered into agreements in restraint of trade in violation of Vt. Stat.

Ann. tit. 9 § 2453, et seq.

             e. Accordingly, DAPs seek all forms of relief available under Vt. Stat. Ann. tit. 9

§ 2453, et seq.

        815.      West Virginia: Defendants have entered into an unlawful agreement in restraint of

trade in violation of W. Va. Code § 47-18-4, et seq., with respect to pricing of out-of-network

goods and services provided in West Virginia by one or more DAPs.

             a. Defendants’ combination or conspiracy had the following effects:

                  1.     Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout West Virginia;

                  2.     Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout West Virginia;

                  3.     DAPs were deprived of free and open competition; and

                  4.     DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

             b. Defendants’ illegal conduct substantially affected West Virginia commerce.

             c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

             d. Defendants entered into agreements in restraint of trade in violation of W. Va.

Code § 47-18-4, et seq.

             e. Accordingly, DAPs seek all forms of relief available under W. Va. Code § 47-18-

4, et seq.

        816.      Wisconsin: Defendants have entered into an unlawful agreement in restraint of




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trade in violation of Wis. Stat. § 133.01, et seq., with respect to pricing of out-of-network goods

and services provided in Wisconsin by one or more DAPs.

            a. Defendants’ combination or conspiracy had the following effects:

                1.        Price competition for out-of-network goods and services was restrained,

suppressed, and eliminated throughout Wisconsin;

                2.        Out-of-network goods and services prices were suppressed, fixed,

maintained and stabilized at artificially low levels throughout Wisconsin;

                3.        DAPs were deprived of free and open competition; and

                4.        DAPs were paid prices for out-of-network goods and services that were

artificially suppressed below competitive levels.

            b. Defendants’ illegal conduct substantially affected Wisconsin commerce.

            c. As a direct and proximate result of Defendants’ unlawful conduct, DAPs have been

injured in their business and property and are threatened with further injury.

            d. Defendants entered into agreements in restraint of trade in violation of Wis. Stat.

§ 133.01, et seq.

            e. Accordingly, DAPs seek all forms of relief available under Wis. Stat. § 133.01, et

seq.

                                 SEVENTH CLAIM FOR RELIEF

                VIOLATION OF STATE CONSUMER PROTECTION LAWS

        817.    DAPs reincorporate and reallege by reference the preceding paragraphs as though

fully set forth herein.

        818.    To the extent required, this claim is pleaded in the alternative to the other claims in

this Master Complaint.




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        819.   Defendants have engaged in unfair or deceptive acts or practices from at least as early

as January 1, 2015 through the present with respect to the prices paid for out-of-network goods

and services in violation of the state deceptive trade practices and consumer protection laws set

forth below.

        820.   Defendants worked together to fix, suppress, and maintain prices of out-of-network

goods and services at sub-competitive levels, and to unlawfully exchange pricing information.

        821.   To the extent such proof may be required under the law of any individual state:

               a.     Defendants’ conduct causes widespread and substantial harm to consumers

of out-of-network goods and services, including because Defendants’ widespread scheme to

suppress and pay sub-market and/or sub-UCR rates for out-of-network goods and services: (1)

exposes consumers to potential liability for the difference between the suppressed rates Defendants

pay and the UCR rates and (2) results in eventual denial of services by and/or closure of certain

providers (particularly in rural areas), thereby suppressing consumer choice of out-of-network

goods and services; and

               b.     Defendants’ scheme is immoral, unethical, oppressive, and unscrupulous

and the severe harm it inflicts on the DAPs is not outweighed by any supposed utility to the

healthcare system. The severe, sub-market rates Defendants force on the DAPs put the availability

of a robust choice of healthcare providers at risk for millions of patients as some DAPs will no

longer be able to provide services on an out-of-network basis given the financial constraints—and

some (especially in already underserved rural areas) may go out of business altogether.

        822.   Defendants also used deceptive and high-pressure communications and tactics to

carry out their scheme, on which DAPs and others reasonably relied and/or had no practical choice

but to rely.




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       823.    Were it not for Defendants’ unfair or deceptive acts or practices, Defendants would

have made higher payments to each DAP for their respective out-of-network goods and services.

       824.    Each DAP has been injured by Defendants’ unfair or deceptive acts or practices in

that DAP’s business or profession.

       825.    Each DAP’s injuries flow from Defendants’ unfair or deceptive acts or practices.

       826.    Each DAP has suffered an ascertainable, pecuniary loss or money loss as a result

of Defendants’ unfair or deceptive acts or practices.

       827.    Each DAP has suffered compensable damages as a result of Defendants’ unlawful

agreements and conduct. The exact calculation and amount of those damages will be disclosed in

DAPs’ expert reports and expert testimony at trial.

       828.    The conduct of each Defendant, as described above, individually and/or

collectively was intentional, fraudulent, willful, wanton, reckless, malicious, oppressive, extreme,

and outrageous, and displayed an entire want of care and a conscious and depraved indifference to

the consequences of its conduct, including to the health, safety, and welfare of plan members, and

warrants an award of punitive damages in an amount sufficient to punish each Defendant and deter

others from like conduct.

       829.    Arizona: Defendants have engaged in unfair or deceptive acts or practices in

violation of Ariz. Rev. Stat. §§ 44.1521, et seq., with respect to pricing of out-of-network goods

and services provided in Arizona by DAPs and/or to Arizona residents.

               a)   Defendants’ illegal conduct had a substantial effect on Arizona commerce.

               b)   As a direct and proximate cause of Defendants’ unlawful conduct, one or more

DAP has been injured in their business and property and are threatened with further injury.

               c)   By reason of the foregoing, Defendants have engaged in unfair or deceptive




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acts of practices in violation of Ariz. Rev. Stat. §§ 44.1521, et seq.

               d)   Accordingly, one or more DAP is entitled to all relief available under Ariz.

Rev. Stat. §§ 44.1521, et seq.

       830.    California: Defendants have engaged in unfair or deceptive acts or practices in

violation of Cal. Bus. & Prof. Code § 17200, et seq. with respect to pricing of out-of-network

goods and services provided in California by DAPs and/or to California residents.

               a)   Defendants’ illegal conduct had a substantial effect on California commerce.

               b)   As a direct and proximate cause of Defendants’ unlawful conduct, one or more

DAP has been injured in their business and property and are threatened with further injury.

               c)   By reason of the foregoing, Defendants have engaged in unfair or deceptive

acts of practices in violation of Cal. Bus. & Prof. Code § 17200, et seq.

               d)   Accordingly, one or more DAP is entitled to all relief available under Cal.

Bus. & Prof. Code § 17200, et seq.

       831.    Colorado: Defendants have engaged in unfair or deceptive acts or practices in

violation of Colo. Rev. Stat. §§ 6-1-101, et seq. with respect to pricing of out-of-network goods

and services provided in Colorado by DAPs and/or to Colorado residents.

               a)   Defendants’ illegal conduct had a substantial effect on Colorado commerce.

               b)   As a direct and proximate cause of Defendants’ unlawful conduct, one or more

DAP has been injured in their business and property and are threatened with further injury.

               c)   By reason of the foregoing, Defendants have engaged in unfair or deceptive

acts of practices in violation of Colo. Rev. Stat. §§ 6-1-101, et seq.

               d)   Accordingly, one or more DAP is entitled to all relief available under Colo.

Rev. Stat. §§ 6-1-101, et seq.




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       832.    Connecticut: Defendants have engaged in unfair or deceptive acts or practices in

violation of Conn. Gen. Stat. §§ 41-110a, et seq. with respect to pricing of out-of-network goods

and services provided in Connecticut by DAPs and/or to Connecticut residents.

               a)   Defendants’ illegal conduct had a substantial effect on Connecticut commerce.

               b)   As a direct and proximate cause of Defendants’ unlawful conduct, one or more

DAP has been injured in their business and property and are threatened with further injury.

               c)   By reason of the foregoing, Defendants have engaged in unfair or deceptive

acts of practices in violation of Conn. Gen. Stat. §§ 41-110a, et seq.

               d)   Accordingly, one or more DAP is entitled to all relief available under Conn.

Gen. Stat. §§ 41-110a, et seq.

       833.    Minnesota: Defendants have engaged in unfair or deceptive acts or practices in

violation of Minn. Stat. § 325F.68, et seq. with respect to pricing of out-of-network goods and

services provided in Minnesota by DAPs and/or to Minnesota residents.

               a)   Defendants’ illegal conduct had a substantial effect on Minnesota commerce.

               b)   As a direct and proximate cause of Defendants’ unlawful conduct, one or more

DAP has been injured in their business and property and are threatened with further injury.

               c)   By reason of the foregoing, Defendants have engaged in unfair or deceptive

acts of practices in violation of Minn. Stat. § 325F.68, et seq.

               d)   Accordingly, one or more DAP is entitled to all relief available under Minn.

Stat. § 325F.68, et seq.

       834.    New Mexico: Defendants have engaged in unfair or deceptive acts or practices in

violation of N.M. Stat. Ann. § 57-12-3, et seq. with respect to pricing of out-of-network goods

and services provided in New Mexico by DAPs and/or to New Mexico residents.




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               a)   Defendants’ illegal conduct had a substantial effect on New Mexico

commerce.

               b)   As a direct and proximate cause of Defendants’ unlawful conduct, one or more

DAP has been injured in their business and property and are threatened with further injury.

               c)   By reason of the foregoing, Defendants have engaged in unfair or deceptive

acts of practices in violation of N.M. Stat. Ann. § 57-12-3, et seq.

               d)   Accordingly, one or more DAP is entitled to all relief available under N.M.

Stat. Ann. § 57-12-3, et seq.

       835.    North Carolina: Defendants have engaged in unfair or deceptive acts or practices

in violation of N.C. Gen. Stat. § 75-1.1, et seq. with respect to pricing of out-of-network goods

and services provided in North Carolina by DAPs and/or to North Carolina residents.

               a)   Defendants’ illegal conduct had a substantial effect on North Carolina

commerce.

               b)   As a direct and proximate cause of Defendants’ unlawful conduct, one or more

DAP has been injured in their business and property and are threatened with further injury.

               c)   By reason of the foregoing, Defendants have engaged in unfair or deceptive

acts of practices in violation of N.C. Gen. Stat. § 75-1.1, et seq.

               d)   Accordingly, one or more DAP is entitled to all relief available under N.C.

Gen. Stat. § 75-1.1, et seq.

       836.    South Carolina: Defendants have engaged in unfair or deceptive acts or practices

in violation of S.C. Code Ann. § 39-5-10, et seq. with respect to pricing of out-of-network goods

and services provided in South Carolina by DAPs and/or to South Carolina residents.

               a)   Defendants’ illegal conduct had a substantial effect on South Carolina




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commerce.

               b)   As a direct and proximate cause of Defendants’ unlawful conduct, one or more

DAP has been injured in their business and property and are threatened with further injury.

               c)   By reason of the foregoing, Defendants have engaged in unfair or deceptive

acts of practices in violation of S.C. Code Ann. § 39-5-10, et seq.

               d)   Accordingly, one or more DAP is entitled to all relief available under S.C.

Code Ann. § 39-5-10, et seq.

       837.    Tennessee: Defendants have engaged in unfair or deceptive acts or practices in

violation of Tenn. Code Ann. §§ 47-18-191, et seq. with respect to pricing of out-of-network

goods and services provided in Tennessee by DAPs and/or to Tennessee residents.

               a)   Defendants’ illegal conduct had a substantial effect on Tennessee commerce.

               b)   As a direct and proximate cause of Defendants’ unlawful conduct, one or more

DAP has been injured in their business and property and are threatened with further injury.

               c)   By reason of the foregoing, Defendants have engaged in unfair or deceptive

acts of practices in violation of Tenn. Code Ann. §§ 47-18-191, et seq.

               d)   Accordingly, one or more DAP is entitled to all relief available under Tenn.

Code Ann. §§ 47-18-191, et seq.

                                 EIGHTH CLAIM FOR RELIEF

                                   UNJUST ENRICHMENT

                    (Plead in the Alternative to All Other Causes of Action)

       838.    DAPs incorporate and reallege by reference all of the preceding paragraphs, as

though fully set forth herein.

       839.    To the extent required, this claim is pleaded in the alternative to the other claims in




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this Master Complaint.

       840.    This claim for relief is alleged under the laws of the following States and territory:

Arkansas, Arizona, California, Connecticut, District of Columbia, Florida, Hawaii, Illinois, Iowa,

Kansas, Maine, Michigan, Minnesota, Mississippi, Missouri, Nebraska, Nevada, New Hampshire,

New Jersey, New Mexico, New York, North Carolina, North Dakota, Oregon, Rhode Island, South

Carolina, South Dakota, Tennessee, Utah, Vermont, West Virginia, and Wisconsin.

       841.    As a result of their unlawful conduct described above, Defendants have and will

continue to be unjustly enriched by, at a minimum:

               a)   The receipt of fees tied to payments to DAPs for out-of-network goods and

services at rates that were suppressed by the Defendants’ unlawful, deceptive, and unfair conduct;

               b)   The value of the out-of-network goods and services provided by DAPs to

members of Defendants’ plans for which Defendants have not paid a UCR price; and/or

               c)   Higher premiums paid by patients for access to out-of-network goods and

services.

       842.    By underpaying the DAPs for the out-of-network goods and services they provided

to members of Defendants’ plans, Defendants have redirected payment that should have been paid,

in whole or in part, to the DAPs to instead pay themselves. Defendants have thus received and

retained the benefit of the DAPs providing out-of-network goods and services to Defendants’ plan

members for which the DAPs remain grossly underpaid.

       843.    Defendants have been unjustly enriched by the receipt and use of funds that earned

interest or otherwise contributed to their businesses when such funds should have been used to pay

the DAPs in a timely and appropriate manner.

       844.    Defendants have benefitted from their unlawful acts and it would be inequitable for




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Defendants to be permitted to retain any of the ill-gotten gains resulting from the suppression of

the rates of payments to DAPs for out-of-network goods and services.

       845.    Each DAP is entitled to the amount of Defendants’ ill-gotten gains resulting from

their unlawful, unjust, and inequitable conduct.

       846.    The DAPs are further entitled to the establishment of a constructive trust consisting

of all Defendants’ ill-gotten gains from which each DAP may make claims on a pro rata basis.

       847.    Pursuit of any remedies against the plan sponsors or members with respect to

payments for out-of-network goods and services subject to Defendants’ scheme would have been

futile, given that those firms did not take part in Defendants’ scheme or conspiracy.

XII.   Prayer for Relief

       WHEREFORE, DAPs demand that judgment be entered in their favor and against

Defendants, including for the treble damages, injunctive relief, and declaratory judgment outlined

below. Specifically, DAPs seek an order and judgment from the Court that:

       a)      Defendants pay damages to DAPs for underpayments made to DAPs, lost profits

and revenues of DAPs, and other economic harm to DAPs as a result of the MultiPlan Cartel in an

amount to be determined at trial and that may be trebled by operation of law;

       b)      Defendants pay punitive damages as required by state law and common law;

       c)      Defendants pay pre-judgment and post-judgment interest on such monetary relief;

       d)      Defendants disgorge all proceeds that any of them unlawfully or inequitably

received;

       e)      Defendants pay DAPs’ costs of bringing this lawsuit, including DAPs’ reasonable

attorneys’ fees;

       f)      Defendants are permanently enjoined from continuing to operate and participate in

the MultiPlan Cartel;


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       g)      A declaratory judgment that Defendants have violated Section 1 of the Sherman

Act and have violated state unfair competition and antitrust laws; and

       h)      All other relief to which DAPs may be entitled at law or equity.

XIII. Jury Demand

       DAPs respectfully request a jury trial on all causes of action so triable.




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